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         Exhibit A
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         Exhibit B
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         Exhibit C
           Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 13 of 387
From:
Sent:
To:


This message has been archived. View the original item
Can you book me flight to LA. If commercial, needs to be about 6: 30 Friday and return at 2pm on Sat. If
not possible: NetJets, can do LA Friday at 5:30 and return Sat at 1pm. Please book us a table on the roof
of Waldorf for dinner, and ask for heater. If you have to, go through-    s office.


Bill McGlashan
Founder & Managing Partner I TPG Growth
Co-Founder & CEO I The Rise Fund
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 N E TJ E TS "                          .         .
                                     Flight Itinerary
                                                                                        RF>~F>nt::itinn·
                                                                                                       ·
                                                                                                                 Departing·
                                                                                                                 Friday Dec 08, 2017


Tarrant NJ LLC
  REQUEST#-


    SAN FRANCISCO INTL                                    SANTA MONICA MUN
    SAN FRANCISCO, CA                                     SANTA MONICA, CA


    KSFO                                                  KSMO
    Friday Dec 08, 2017                                   Friday Dec 08, 2017
                                                                                                                   11111111
                                                                                                                   Other
    17:30 (5:30 PM)                                       18:30 (6:30 PM)
                                                                                                                   Phenom 300


                                                                                                                   Phenom 300




  DISTANCE 332 SM       EST. TRAVEL 1 HOM                 FLIGHT RULE PART 135




  PASSENGER MANIFEST                                                                                                              TOTAL PASSENGERS: 2



 1.    William McGlashan



2.


 Prior to boarding, each adult passenger must present a government-issued identification such as a current passport or driver's license. This is required by the
 Transportation Security Administration.




  DEPARTURE SERVICES                                                                                                  AIRPORT: SAN FRANCISCO INTL



Catering:        ti
2               Wall Street Journal (Not Available on Sundays)
                New York Times



Ground: ~

 Please let us know if we may assist you with any ground transportation.




Report Created On: Thursday, 07 Dec 2017 18:05 Z                                                                                                           1 of 2

                                                                                                                                             TPG-MA-00006684
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 ARRIVAL SERVICES                                                                                                        AIRPORT: SANTA MONICA MUN



Ground:        ~


 Please let us know if we may assist you with any ground transportation.



 COMMENTS


Request Instructions:
 Code:-

 Contract T a i l : -




 ADVISORY NOTES

 Security The Transportation Security Administration prohibits carriage of certain items on commercial aircraft. The list of such items can be found at
 www.tsa.gov.

 Hazardous Materials Federal law prohibits carriage of hazardous materials aboard the aircraft (whether in luggage or on person). Violation of these laws may
 result in five-year imprisonment and penalties of $250,000 or more.

 Restricted hazardous materials include any quantity of explosives, flammable liquids or solids, compressed gases, oxidizers, poisons, corrosives, and
 radioactive substances.

 Spare lithium batteries for electronic devices may be carried on person, but not in luggage that is placed in designated baggage or cargo compartments.
 However, devices with installed batteries may be carried in luggage placed in designated baggage or cargo compartments. Furthermore, e-cigarettes and
 vaping devices may be carried on person, but not in luggage placed in designated baggage or cargo compartments.

 Oxygen Federal law prohibits carriage of compressed oxygen cylinders aboard the aircraft. However, Portable Oxygen Concentrators (POC) may be used
 during flight. The device must bear a label on the exterior, with the following statement in red lettering: "The manufacturer of this POC has determined this
 device conforms to all applicable FAA acceptance criteria for POC carriage and use on board aircraft." This label is not required on certain concentrators that
 had been previously approved by the FAA, for carriage.

 If you have any doubt regarding an item you intend to carry aboard the aircraft, please contact your Owner Services Team, or advise the Captain, prior to
 boarding the aircraft.


 The U.S. Department of Transportation (DOT), with the Federal Aviation Administration (FAA) and the Pipeline and Hazardous Materials Safety Administration
 (PHMSA), has issued an emergency order to ban all Samsung Galaxy Note? smartphone devices from air transportation in the United States. Effective
 Saturday, October 15, 2016, the Samsung Galaxy Note? device may no longer be transported on one's person, in carry-on baggage, or in checked baggage
 on flights to, from, or within the United States. This prohibition includes all Samsung Galaxy Note? devices.




SUMMARY OF RESERVATION NO. -

                     Dec 08, 2017             Phenom 300                 KSFO          KSMO           17:30 -18:30 PST                18:30 - 19:30 PST
                                              Signature


MedAire: Medical and travel support for NetJets Owners and Marquis Jet Card Owners worldwide
In the event of a medical incident while traveling, NetJets Owners ancf Marquis Jet Card Owners can call MedAire a t - f o r
immediate, detailed, expert medical information and assistance anywhere in the world, 24 hours per day. For more information about
MedAire services, please contact your Owner Services Team.




Report Created On: Thursday, 07 Dec 2017 18:05 Z                                                                                                             2 of 2

                                                                                                                                               TPG-MA-00006685
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From:          NetJets
on behalf of   NetJets
Sent:          12/9/2017 1:21:38 P
To:
CC:
Subject:       NetJets itinerary: Sat Dec 09, 2017 - KBUR to KSFO - Reservatio


This message has been archived. View the original item
Hello a g a i n -

I have added - t o the flight home for today and have attached an updated itinerary. Please let me
know if there is anything more I can do.




Tarrant NJ LLC



Reservation:-



Saturday Dec 09, 2017

Request:11111111


BURBANK
KBUR


SAN FRANCISCO
KSFO

2:45 PM



3:57 PM




                                                                                       TPG-MA-00005948
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2520Clybourn-2520Aven ue-2520Bu rba n k-2C-2520CA-
252091 SOS&d = DwMCaQ&c=Qbua pHRvbnOJdC8vTVkPHg&r= DZSf3A2Hmlh HYI Rr2RpnTQzcoYv6LPhq LSWFu
sAdEoO&m=o-
qVMdHifgFVOGP8tbVa6yhPocgl3ISLfb2MNAJNpB4&s=5qTjLLZ1gzLI5v57t5K33z_KyLo_g8XDQIR09x80L9g&
e=>

~   • I   .!.




-upport

~//www.netjets.com/Resources/img/itinerary/email-map-
icon. png] < https ://urldefense. proof poi nt.com/v2/url?u = http-3A_ma ps.goog le.com_ -3Fq-3D 1052-
2520North-2520Access-2520Road-2520Sa n-2520Fra ncisco-2C-2520CA-
252094128&d = DwMCaQ&c=Qbua pHRvbnOJdC8vTVkPHg&r= DZSf3A2Hmlh HYI Rr2RpnTQzcoYv6LPhq LSWFu
sAdEoO&m=o-
qVMd Hifg FVOGP8tbVa6yh Pocg I3ISLfb2M NAJ NpB4&s= LHWSFxbTiIOJJ PmjjQK25C_Sn8j i k_rfg-
vf7Dl b708&e= >




Travel Details




Travel Time: 1H 12M

Requested Aircraft: Citation Excel/XLS *



* This Citation Excel/XLS upgrade is subject to availability on the day of your departure. The Citation
Excel/XLS is guaranteed for this flight.



Passenger Info



2




                                                                                               TPG-MA-00005949
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Lead Passenger: William McGlashan

Contact Person: William McGlashan

Phone#:




Inflight Catering / Ground Transportation




[https://www.netjets.com/Resources/i mg/itinerary/ catering_off. png]   No Catering R
Attachments:
Tarrant NJ LLC            df                                                       (27 KB)

- K B U R to KSFO.ics                                                              (1 KB)

ATT00001.txt                                                                       (1 KB)




                                                                                             TPG-MA-00005950
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From:
on behalf of
Sent:
To:
CC:
Subject:        NetJets Flight Status Notification


This message has been archived. View the original item
NetJets Flight Status Notification

To ensure delivery, add                                          to your contacts.


[NetJets] < https ://u rldefense. proof poi nt.com/v2/url?u = https-
3A_www.netjets.com&d = DwMCaQ&c=Qbua pHRvbnOJdC8vTVkPHg&r= DZSf3A2Hmih HYI Rr2RpnTQzcoYv6
LPhqLSWFusAdEoO&m=2dfK1iktVaCUeJRSY55JdOzdILg38jqSc5W24E159qs&s=A8pie4NOTZGsGymihjll_ES
pRimB_UFX8dKU~>
     Request#: . . . . .



        Dear

Tail numbe-has departed from BURBANK, CA.




     ACTUAL DEPARTURE
Saturday Dec 9, 2017
3:21 PM local




     EN ROUTE TO [http://image.e.netjets.com/lib/fe9613727563027c77/m/1/ ArrowGrey.png]
SAN FRANCISCO, CA
KSFO




     ARRIVAL
Saturday Dec 9, 2017
4:33 PM estimated
3:57 PM requested



           ..    -    . ...



                                                                                     TPG-MA-00005938
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         Exhibit D
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          Exhibit E
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          Exhibit F
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         Exhibit G
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         Exhibit H
     Case 1:19-cr-10080-NMG
        Case                 Document
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                                Document     Filed04/26/19
                                         23 Filed  04/08/20 Page
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                                                                   of of
                                                                      24387
                                                                              1



 1                   IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF MASSACHUSETTS

 3

 4
        * * * * * * * * * * * * *            19CR10074-NMG
 5      UNITED STATES OF AMERICA *
                                 *
 6      VS.                      *           APRIL 12, 2019
                                 *           2:38 P.M.
 7      MARK RIDDELL             *
                                 *
 8      * * * * * * * * * * * * *            BOSTON, MA

 9

10                BEFORE THE HONORABLE NATHANIEL M. GORTON

11                                 DISTRICT JUDGE

12                               (Rule 11 Hearing)

13

14      APPEARANCES:

15
        FOR THE GOVERNMENT:           ERIC S. ROSEN, AUSA
16                                    JUSTIN D. O'CONNELL, AUSA
                                      LESLIE WRIGHT, AUSA
17                                    United States Attorney's Office
                                      1 Courthouse Way
18                                    Suite 9200
                                      Boston, MA 02210
19
        FOR THE DEFENDANT:            BENJAMIN STECHSCHULTE, ESQ.
20                                    Stechschulte Nell, PL
                                      1105 W. Swann Ave.
21                                    Tampa, FL 33601

22      Court Reporter:               Debra D. Lajoie, RPR-FCRR-CRI-RMR
                                      1 Courthouse Way
23                                    Boston, MA 02210

24

25                   Proceeding reported and produced
                      by computer-aided stenography
     Case 1:19-cr-10080-NMG
       Case  1:19-cr-10074-NMGDocument 1066-1
                                Document      Filed04/26/19
                                         23 Filed   04/08/20 Page
                                                              Page1734ofof24387
                                                                                  17



 1      answers on the SAT.          After the exam, Elizabeth

 2      Henriquez picked up Riddell and her daughter, and they

 3      celebrated their successful cheating in the car ride to

 4      Riddell's hotel.         These scores helped the Henriquezes'

 5      daughter gain admission to and enrollment at Georgetown

 6      University.

 7                The cheating scheme then evolved.                Singer

 8      bribed test administrators at two testing sites,

 9      one in Los Angeles and one in Houston, Texas,

10      charged Defendants Igor Dvorskiy in Los Angeles and

11      Niki Williams in Houston.             Essentially, the scheme

12      worked as follows:          Riddell would fly to Los Angeles or

13      Houston, proctor the students' exams, and then after

14      the student had left, Riddell would correct the

15      students' answers.          Riddell was paid approximately

16      $10,000 each time.

17                As an example, in December of 2017, Riddell flew

18      to Los Angeles where he proctored the ACT exam of the

19      son of charged Defendant Bill McGlashan.                   Riddell

20      corrected the student's exam answers after the ACT

21      test, earning the student a 34, which is a score in the

22      top one or two percent in the nation.                  These scores

23      were then sent to a variety of colleges as part of the

24      admissions process, including Northeastern.

25                As another example, in February, 2019, Riddell
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           Exhibit I
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           Exhibit J
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07/30/2018 15:04:47 Incoming Call, Rick Singer and                      (Bill
MCGLASHAN)
[Session 4146]


SINGER            Bill.
MCGLASHAN         Hey Rick, how are you?
SINGER            Great, how about yourself?
MCGLASHAN         I'm good. How go the wars?
SINGER            Uh, things are good. We are all we got rid of a couple of the
                  ideas and companies.
MCGLASHAN         [Laughter]
SINGER            And, we are, we made some amazing traction in some areas
                  we never thought, um, of doing, and it impacts more people
                  than anybody on the planet.
MCGLASHAN         Wow.
SINGER            Um, we're involved in this now. We signed a deal with
                             and uh, we created a platform called the recovery
                  platform.
MCGLASHAN         Mmmm.
SINGER            And now we're doing a whole, we create, I took, I hired six
                  addicts, and we created seven month mobile app for addiction
                  after they leave rehab.
MCGLASHAN         Wow.
SINGER            And then the state of North Carolina hired us, so they were
                  the first state to do the opioid program. Every state has it,
                  which is to take on all of the um, opioid abusers through the
                  courts.
MCGLASHAN         That's awesome. As a, as an attempt to keep them off opioids
                  [OV] and,
SINGER            Yes, they're going to force them into doing... you know, they
                  got to go get their testing, and then here's their seven month
                  program. It's online. That we created a counseling program
                  for them. For a group of individuals [UI] on a daily basis
                  and, then we're all the silver living homes all over. We've
                  already started in Sacramento and Orange County to test it.
                  It's pretty amazing because this issue is huge in not only
                  opioids, but alcohol, drugs, everything.
MCGLASHAN         No, it's uh, it's uh, it's uh, a devastating problem for society. I
                  mean it's incredible.
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SINGER          But yeah, and we got the, you know, we got the
                partnership, and we've got the first state partnerships [IA]
                ability. Um, now we just got to get everybody enrolled and
                then get started.
MCGLASHAN       That is so cool, Rick. That's a, that's a, that's a fairly dramatic
                pivot from what you've been doing.
SINGER          Well that's one of them, yeah. And then the                , so
                that's          . And then the job business is actually
                changed too, because that became a talent aggregation. I
                bought a company called                    . Which they have all
                the PhDs coming out of the 80 top colleges in America, and
                none of those People can get academic jobs, so right away
                they've got to get a real job.
MCGLASHAN       Mmm.
SINGER          And they don't even know what the hell to do. They have no
                idea. So, we got a subscription with all these universities,
                and then we go after individually helping these people, and
                they pair, so now I just created a virtual grad school, because
                the masters population is three times as big as the PhD
                population.
MCGLASHAN       Mmm.
SINGER          So when I met with the            people, I said, how about if I
                can give you a list of all the masters candidates from these
                schools and here's their stats. Here's the behavior. Here's
                your skill. Here's the PhD candidates. I got 'em all. What do
                you say? They're like, well shit, then we don't have to go find
                them?
MCGLASHAN       Gotta love that.
SINGER          Right, and I got all the...
MCGLASHAN       They'll pay them very big origination fee on that.
SINGER          Right, so I figured, that's the best way to get them. Just own
                the talent.
MCGLASHAN       Mmhmm.
SINGER          So that business is going well. And then               business to
                getting into colleges, just about ready to launch the beta test,
                so we're ready to start there. So you know, I learn a lot. I get
                my ass kicked a lot. But that's okay.
MCGLASHAN       You keep entrepreneuring. I love it.
SINGER          [Laughs]
MCGLASHAN       It's awesome. Did you, have you followed all the education
                                      2
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               stuff we've done at this point.
SINGER         No I haven't, no.
MCGLASHAN      So we're now the largest education investor in the world at
               Rise.
SINGER         Okay.
MCGLASHAN      From a zero start, as you know.
SINGER         Right.
MCGLASHAN      A year and a half ago. Um, so it, it ranges from, you know K
               through 12 tools. We just bought... It'll be public as of, I
               think, I think the press is tomorrow, but um,                 which
               is the company that, um math, math company run by this
               woman,          that does um, uh, completely customized, uses
               algorithms to completely customize the math learning journey
               for students.
SINGER         Okay, that's cool.
MCGLASHAN      Amazing outcomes, you know data behind it.
               was the original investor in it.
SINGER         Okay.
MCGLASHAN      And it's become a big company, um, and by far the most, um,
               interesting on the spectrum of , of um, you know tools that
               allow you to deliver. You know, it's a little like a
                           except that...
SINGER         Right.
MCGLASHAN             doesn't actually give you a customized path, it just
               responds. It just allows you to sort of create your own path.
SINGER         Right.
MCGLASHAN      Um, there, it's used in the schools instead of as an adjunct
               um, program. We bought                   .
SINGER         Okay.
MCGLASHAN      Um, um, with                 We and they partnered to buy the
               company. We just closed that deal.
SINGER         Okay.
MCGLASHAN      Um, obviously you already knew about                       and
               what we're...
SINGER         Yup.
MCGLASHAN      Our sorry, if we ever find what we're doing there. Um, we
               bought, funded                  , which is a, um, a company
               that's leading technical coding platform in Latin America.
SINGER         That's great.
MCGLASHAN      Um, which is really cool, because, it's, it, uh, it's sort of
                                     3
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                partnered with all the big, uh, employers, uh to get these folks
                trained up, 'cause they need 'em, in that, in that environment.
                Um, we did                  with India, which is a, school in a
                box solution, focused on creating affordable private schools
                in India. We're actually doing a platform in, in uh, Africa.
                Which buying eight schools to start with in Nigeria, but doing
                it with a blended finance model with philanthropy.
SINGER          That's great.
MCGLASHAN       [OV] to make economics work.
SINGER          That's great.
MCGLASHAN       And then, we're, we, finally got agreement from           . I don't
                know if you know                   over at       ?
SINGER          Yeah, we, uh, uh, he's actually after me really hard, because
                we're opening 24 universities in China.
MCGLASHAN       Oh, interesting.
SINGER          And, so, uh,                   called me from
                             . He wants to be our partner there. Because you
                can't put university [IA], a family that has the, um, that has
                the license.
MCGLASHAN       Mmm.
SINGER          So I need, I have to have an American partner that can give
                me... I don't need a degree, I need to create a certificate
                program.
MCGLASHAN       Mmmhmm.
SINGER          So that the Chinese can actually do it in hospitality, digital
                media, um, and then service oriented stuff, like nursing. And
                there's between five and twenty million people in each part of
                the second and third tier cities in China, right?
MCGLASHAN       Mmhmm.
SINGER          And our partner in China is                   And            is
                one of the biggest companies in China, so they're going to be
                all the real estate stuff, and it's all online. So, we may end
                up...
MCGLASHAN       I love it.
SINGER          Going, to, we may end up going to                   with
                               from          . Because you know, they won a
                public battle with the           .
MCGLASHAN       Mmhmm.
SINGER          But,                          quite a guy. He's got a [OV]
MCGLASHAN       Yeah, he is.
                                      4
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SINGER              He's got a, he's done an amazing job.
MCGLASHAN           Well, so what, so what he's done with us, is you know the
                    program, the four year degree program, that he, that you
                    know is the               program.
SINGER              Yup.
MCGLASHAN That's, again this is just between you and me, for now, but
                    that's, we're privatizing that, and we're the shareholder,
                    alongside        . Um, we've gotten his commitment that we
                    bring four, three other universities in, so they're four to start
                    with, um,                   ...
SINGER              Okay.
MCGLASHAN ...is one. Um, there's one in Australia. Leading program in
                    Australia, I forget the name of it. But anyway, it's a platform
                    of universities. Um, we're way down the track with
                    and a few others now as well, to launch the same program,
                    you know as an employee benefit offer [OV] as a four year
                    degree. 15
13                  07 to 15
13                  11 [IA]
MCGLASHAN Rick
15: 13: 11 to 15:13:15 [IA]
SINGER                          program that you guys are doing. There's 70,000
                    kids behind.
MCGLASHAN Mmhmm.
SINGER              So he asked me if we could do this across the country for
                    them, so that we could get to the number they want to get to.
                    So, I know they're not getting to the numbers, um...
MCGLASHAN No, they're not.
SINGER              [UI] made of steel. And so they asked.
MCGLASHAN That's right.
SINGER              They asked me to go, I help them with that. So...
MCGLASHAN All this, all this sort of says, we've got to get, you, me and
                              together in a room. And probably, you know,
                             , um, and just have a conversation together. We
                    should just air out, here's exactly where we are, and what
                    we're doing.
SINGER              Yup.
MCGLASHAN You should do the same, and just figure out how we get
                    aligned here.
SINGER              I would love to do that. That would be great, because all
                                          5
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               these things, we, like, maybe some of your colleges could be
               the ones we use in China.
MCGLASHAN      Yup, totally.
SINGER         Right, right, because.
MCGLASHAN      Totally.
SINGER         I got, I got to have this cheap way of approaching this
               certificate program which does not affect their cert... their
               accreditation, that's what makes it so great.
MCGLASHAN      Mmhmm.
SINGER         They can pretty much do whatever they want because I'm
               partnering with, the hospitality, I got is the certificates going
               to be called the intercontinental certificate. So that in China,
               now you feel like you got...because the American university
               doesn't mean diddly to them.
MCGLASHAN      Yeah.
SINGER         And those right, and those places.
MCGLASHAN      That's right.
SINGER         Yeah, we should do that, absolutely.
MCGLASHAN      I love it. I love it. Um, jumping, so I'll have Jess coordinate
               for us to do the meeting.
SINGER         Okay, okay. What's going with              ?
MCGLASHAN      It's very timely, because the momentum couldn't be better.
SINGER         Absolutely.
MCGLASHAN      So just quick on           . He feels really good.
SINGER         Good.
MCGLASHAN      I mean he's, he's, you've probably saw his grades have been
               sort of dramatically improving.
SINGER         Yeah, yes.
MCGLASHAN      I mean, he's actually working, which is sort of amazing how
               boys. It just takes them a while I think to...
SINGER         Yup.
MCGLASHAN      Clue in.
SINGER         And he's got the confidence, he's got a score, he's got
               confidence.
MCGLASHAN      Yup, totally. I mean it's sort of miraculous. He's engaging.
               His internships have been brilliant. You know, he was at
                                     you know for the first two weeks.
SINGER         Right.
MCGLASHAN      And then              went really well. That was his second
               round at            . They love him. Um, and then um, and
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               then he's now down at                 you know, working. Um I,
               I've set up through the, you know friends of mine who are
               involved there this lunch on Friday with...
SINGER         Yup.
MCGLASHAN      Um, the dean of the, of the Iovine and Young [PH] Academy.
SINGER         Right.
MCGLASHAN      Um, he's already met the, the number two dean, the vice
               dean,
SINGER         Okay.
MCGLASHAN      This dean asked if, if, we could have lunch, uh, or a meeting.
               And I sort of thought, shit, I don't have the time, but I figured,
               you know, lunch is a better...
SINGER         Absolutely.
MCGLASHAN      ...engagement model, right. Uh [OV] you had said to me
               before, do a meal, get to know these people.
SINGER         Always.
MCGLASHAN      So, yeah, so we're, well we'll have lunch on Friday, and then
               she'll give us a tour, a couple hours with her. Um, what they
               ask, I went through a buddy of mine on the board there. I've
               got a number of friends, quite a few friends that are of the
               board. Um, and I, basically said the following, I wanted to
               run this by you and get your instinct on it. But I said, look,
               the issue is with early admission, with these schools like a
               Brown, the only way I can really lean on my friends there, et
               cetera, is if he applies early.
SINGER         Correct, and applies...
MCGLASHAN      Um, yeah, so it's bind... The problem is it's binding. And all
               else being equal, if he were to get into Iovine and Young, he
               would go to SC over Brown.
SINGER         Right.
MCGLASHAN      The clear sense I'm getting. You should have your own
               discussion with him.
SINGER         He, that's the way it felt last time I was with him.
MCGLASHAN      Yeah, so, what I said to          and he's the guy that helped me.
                                on the board there. Is I said, and he's not had
               this explicit conversation with her, but he said, um, I would
               need, you know, he's basically the manage of we need to
               know that            is going to get in. In other words, other
               wise he's better off applying to Brown. It's not that you need
               to contractually agree or anything, but basically, he's getting
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                   in. So, that's that's what I'm trying to angle for, is that after,
                   she has his, his uh, [OV], self cores and, uh, and his grades.
SINGER             Right.
MCGLASHAN Already.                  get, sent them over to her. And so she wanted
                   those, because she said I need to know if he's going to get
                   into SC. I, I said to       , look, I really have a hard time
                   imagining he can't get into SC, generically.
SINGER             Now his grades are not good enough to get into SC.
MCGLASHAN Is that right?
SINGER             Oh yeah, oh yeah.
MCGLASHAN That's amazing. Wow, okay.
SINGER             [OV] Because the issue is not [UI] that his grades aren't good
                   enough. The number of kids applying from schools that are
                   stronger than him.
MCGLASHAN Yup.
SINGER             [IA] That [UI] the issue. So, she's, that's why she's, she's so,
                   she's probably going to tell you, is, think about this. Here's
                   some strategies.
MCGLASHAN Yup.
SINGER             The department, each department has a VIP list.
MCGLASHAN Mmhmm.
SINGER             And, essentially what they do, is they can walk a kid through
                   admissions with Tim, and say we want this family. The
                   problem occurs...
15:18: 16 to 15:18:20 [IA]
MCGLASHAN Rick, you're breaking up.
SINGER             Oh, sorry.
MCGLASHAN Yup...
SINGER             [IA]
MCGLASHAN You said the problem occurs and I lost you.
SINGER             Yup, so let me... I'm going to go to a different place, one
                   second. So what happens is they have a VIP list. Each
                   department, each dean, has their own VIP list. And
                   essentially at some point they get the opportunity to go to
                   Tim, and say, here's my list. This is what I want. That's how
                   they... that may not happen until January, February.
MCGLASHAN Mmhmm.
SINGER             They may give us a nod, saying, hey, it looks good. It looks
                   good. But, you haven't really, you haven't really sat in front
                   of Tim and said, it's done.
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MCGLASHAN      Yup.
SINGER         Okay. So, I was thinking about this for you. I don't know
               how you want to handle it. I would just give you some.
               Here's some approaches maybe. Okay.
MCGLASHAN      Yup.
SINGER         I don't know if this makes sense. So, one is to go just down
               that path, and my guess is you'll get accepted, and it'll
               happen, but you won't know, until you know, mid-spring,
               and/or right before they get the admissions letter right before
               March 25th. Which is not a good...
MCGLASHAN      Yup. Yup.
SINGER         Not a good, not a good feeling for you guys, not knowing.
MCGLASHAN      Yup.
SINGER         Right, 'cause they're going to say, it's looking good, it's
               looking good, well, how about like let's get it done.
MCGLASHAN      Yeah.
SINGER         Okay, so, another way some people have done it, is, I told
               you I have a side door there. There is a financial thing in
               there, but what happens is we get them accepted in the fall,
               earlier. Latest is first week of February, or January because
               they want to see first semester grades. But let's just say it
               happens in the fall, then what would have to happen, would
               make it much easier, is your department says, we'll take that
               kid, because, what will happen is, when we apply like that,
               they're going to say, yeah, we'll admit him, but we can't say
               he's getting into that program. But if the program already
               said we'll take him.
MCGLASHAN      That's great.
SINGER         Right. So you would go...
MCGLASHAN      That's great.
SINGER         You would go through athletics.
MCGLASHAN      The, the, the, the interesting thing is the side door at, that
               is working at the Iovine and Young academy is, which
               doesn't apply to overall admissions to your point. But even
               here, I'm going to have to play games. They're saying,
               said, look, you've got to be willing to join the board of Iveen
               and Young, you personally. [OV] And, you know, I told her
               you'll write, a one to three million dollar check. And, and uh,
               that's, you know, I said, wow, okay. The only awkward thing
               for me is I don't want... I said if I, even if I agree to do that, I
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                would want to join the board a year after               gets in or
                something, so I don't create a weird dynamic for him, you
                know.
SINGER          Sure, so, so, in this path, you'd pay 250, you'd get accepted.
                Uh, let me get his stuff and I'll take it to them. If they can
                accept him in the fall.
MCGLASHAN       Yup.
SINGER          He may be... It may be before he even applies.
MCGLASHAN       See that would be great.
SINGER          Right.
MCGLASHAN       I would do that in a heartbeat.
SINGER          Right, and then you get this unofficial, official letter.
MCGLASHAN       Now does he, here's the only question, does he know? Is
                there a way to do it in a way that he doesn't know that
                happened?
SINGER          Oh yeah. Oh he...
MCGLASHAN       Great.
SINGER          What he would know is, that I'm going to take his stuff, and
                I'm going to get him some help, okay.
MCGLASHAN       So that, that he would have no issue with. You lobbying for
                him. You helping use your network. No issue.
SINGER          That letter, that letter comes to you.
MCGLASHAN       Yup.
SINGER          So, my families want to know this is done.
MCGLASHAN       Yup.
SINGER          Right, so they want this letter to come to them, so I have
                them, I have admissions, and that's why I extend the letter to
                you, you hold it.
MCGLASHAN       Right.
SINGER          You don't have to tell him a thing.
MCGLASHAN       Yup.
SINGER          At that, at that point, that, as soon as you get that letter, then
                they expect just a $50,000 check, and it goes to Women's
                Athletics.
MCGLASHAN       Great.
SINGER          And then the other 200 comes in March after you get your
                official, official letter, but the letter you're actually getting is
                the same letter you're getting in March.
MCGLASHAN       I love it.
SINGER          Right, and they just do it that way.
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MCGLASHAN       But again, he wouldn't, he wouldn't, have to see any of these
                letters.
SINGER          He wouldn't see any of them.
MCGLASHAN       Correct, what he would know...
SINGER          None of them.
MCGLASHAN       ...is Rick would say, hey, I had a great conversation,          ,
                things are looking great. You know.
SINGER          Correct.
MCGLASHAN       Keep your grades up, work hard, but things are looking great.
                That kind of thing.
SINGER          Correct. I have to keep, I have to do a profile for him in a
                sport, which is fine, I'll create it. You know, I just need him...
                I'll pick a sport and we'll do a picture of him, or he can, we'll
                put his face on the picture whatever. Just so that he plays
                whatever. I've already done that a million times. So...
MCGLASHAN       Well we have images of him in Lacrosse. I don't know if that
                matters.
SINGER          They don't have a lacrosse team. [OV] But as long as I can
                see him doing something, that would be fine.
MCGLASHAN       Yeah.
SINGER          And then what happens is then what you have to do, because
                this would be a specialty program, is that you have to then
                talk to the department and say, hey listen, can you take him in
                the department, we've gotten him accepted into the university.
MCGLASHAN       Yup. Well I can handle, I think I, I mean I'll know after this
                lunch. I think I can handle them at Iovine and Young.
SINGER          Right.
MCGLASHAN       Yeah. Which is where he really wants to go.
SINGER          Right. So you're saying, hey listen, I think I can get him into
                this school.
MCGLASHAN       Yup.
SINGER          Now, now, can you, 'cause they're going to come to you and
                say, this is selective program, would you want this kid? And
                he's quote an athlete who's coming to you. In fact, would you
                take him? And the department says yes.
MCGLASHAN       Now would she see that, 'cause, that, he's going to be fairly
                well seen at the school, because half the board knows me, and
                I'm going to be sort of calling in and asking people to help,
                you know                                           all those guys.
SINGER          But, so, so, what I would suggest is have you called them?
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               Any of them yet?
MCGLASHAN      No
SINGER         Good, don't.
MCGLASHAN      Okay.
SINGER         Because you don't need, because when this, the way this, the
               quieter it, the quieter this is, the better it's so, people don't say
               well, okay, this guy, why are all these people calling us. The
               kid's already been accepted. He's coming here as an athlete.
               He's already in. What you just want, is the person you're
               meeting with on Friday to say, you know what we want this
               kid.
MCGLASHAN      So she doesn't have to know how he got in. Is that the case?
SINGER         What I would say to her, if you want to have that discussion
               now with            there, that we have friends in Athletics they
               are going to help us, because             is an athlete, and they're
               going to help us. From the...
MCGLASHAN      But I can't say that in front of          , 'cause he knows he's
               not.
SINGER         No, no, right.
MCGLASHAN      Yeah.
SINGER         And just say, you know what, we're going to get, we're going
               to get some, we're going to get people to help us.
MCGLASHAN      Why wouldn't, why wouldn't I say look, leave it to me to
               worry about getting him in, 'cause I have a lot of friends
               involved in the school.
SINGER         Perfect, perfect.
MCGLASHAN      And, I feel confident, I can figure out a way to get the school
               to help us.                                          board's a friend.
SINGER         Correct.
MCGLASHAN      And, uh.
SINGER         Correct.
MCGLASHAN      You know what I mean.
SINGER         Correct, right, so you could you, what is going to happen
               when they see his application, he'll be flagged as an athlete.
MCGLASHAN      Okay.
SINGER         But once he gets, once he gets here, he just goes, he doesn't
               go to the athletic orientation. He goes to the regular
               orientation like all my other kids just did. They all got home,
               and everything's fine. The issue is the specialty program.
               And he could do...
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MCGLASHAN       So how does he... just as a, just as a, just as this plays out, my
                worry on this is,           starts getting letters at home from
                the athletics program and...
SINGER          He won't.
MCGLASHAN       Okay.
SINGER          He won't. What he will get in the summer, is a letter saying
                come to the athletic orientation. Okay, but here's what I
                would...
MCGLASHAN       What, yeah, what do we do about that.
SINGER          Here's what I would do. I would just tell him. I would tell
                him, listen I got lots of friends in athletics. You're an athlete
                kind of guy, and my friends in athletics are going to help you.
                So I'm letting you know. They're going to help you get in.
                Because they have the easiest way in. And, [OV] all the
                coaches, I'm friends with all the coaches. So, they're going to
                help you get in. And, um, but maybe here's a better idea.
                Maybe this is a better idea. We go this path. You work with
                the dean, but, but, how, how would you feel about, if you
                already know that he's going to get into the program, but we
                apply to letters and sciences as a regular student.
MCGLASHAN       Yup.
SINGER          Once he's there, when he goes to orientation, you, they, you
                switch him. Because the department's already said it's okay,
                you can switch him. Then...
MCGLASHAN       So what am I... I'm switching him from what to what?
SINGER          From letters and sciences, undeclared, to the program.
MCGLASHAN       To the Iovine and Young?
SINGER          Yes.
MCGLASHAN       But what if he's able to get into the Iovine and Young
                program out of the gates?
SINGER          Well if he gets into the program out of the gate, [OV]
MCGLASHAN       I think you have to... Don't you have to get in anyway to one
                of the other...
SINGER          You do, but you are all have a relationship with these people,
                and they're already know that he's one of the spots. All I'm
                trying to do is cut away any other people looking in.
MCGLASHAN       Yeah, yeah. So I guess, what I'm wondering, I think normally
                the way it works is you have to apply to the school period.
SINGER          Correct, correct.
MCGLASHAN       And then you separately apply to Iovine and Young. So they
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                expect you to get admitted to both places right.
SINGER          No, what happens is, when they see you, he's applying to
                Iovine and Young now, but you have to first be admitted to
                USC before Iovine and Young can take you.
MCGLASHAN       Right.
SINGER          But his application will actually say, and he'll write his essays
                to fit Iovine and Young.
MCGLASHAN       Okay.
SINGER          Does that make sense?
MCGLASHAN       Yeah, but they have a separate, what they have is a...
SINGER          A supplement.
MCGLASHAN       A, well it's a, it's his pitch he has to do. To come down and
                present to                          and everybody for this idea
                that he has.
SINGER          Correct, it's a sup... it's their supplement. It's that
                department's supplement.
MCGLASHAN       Yup.
SINGER          Yup, so let me do, my own, I'll do... Let me take some of this
                week and do my own research.
MCGLASHAN       Yup.
SINGER          As to what is the best way that it keeps him, nobody knows,
                he doesn't know anything, and it can flow much easier.
MCGLASHAN       Perfect.
SINGER          Let me do that, and then that way, hopefully by Friday I'll
                have some answers so that you can at least be poised to um,
                have a discussion after that, with them.
MCGLASHAN       Exactly, exactly, that's perfect. That Friday, the focus of
                Friday'll be you know...
SINGER          Intro.
MCGLASHAN       You know, intro, tell us about the school, vision,
SINGER          Yes.
MCGLASHAN       You know, where you going with this. Um...
SINGER          Yes.
MCGLASHAN       Yeah, perfect. Um, that's great. And then I guess the part
                that was new news to me is that in order to use the, the uh,
                athletic sort of, you know, department side door if you will,
                he has to actually apply to letters and arts, he can't be
                applying to Iovine and Young?
SINGER          No, that's not true. I just was trying to figure out the easiest
                way.
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MCGLASHAN      Got it.
SINGER         That, because it's a guarantees in letters and sciences. To get
               into Iovine and Young you need them to take him.
MCGLASHAN      What's, what's interesting, with the, friends of ours that went
               into the, that applied to film school, uh, that's friends with
               their [UI] daughter applied. She did not get in, but then she
               was pushed over to a generic, you know get into SC. So she
               got into SC, but she didn't get into the film school.
SINGER         [UI]
MCGLASHAN      What, where would she have gotten in? Was it, would it have
               been like letters and sciences or something? Where would
               they put her?
SINGER         Yeah, yeah, in letters and sciences. Absolutely.
MCGLASHAN      Got it. Got it.
SINGER         Because that's the big school. That's anthropology, the
               zoology, biology, economics, everything. The whole planet is
               in there. And that's where normally people start.
MCGLASHAN      Yup.
SINGER         Because they're not sure what they want to do.
MCGLASHAN      And then you go onto a new more, yup.
SINGER         Yes.
MCGLASHAN      Got it, yeah, because they have people transfer into Iovine
               and Young their sophomore year, but they make them start
               over and take the full...
SINGER         Sure.
MCGLASHAN      ...program, even including the freshman courses.
SINGER         Sure.
MCGLASHAN      That are required at Iovine and Young. They want them to
               have the full four year...
SINGER         Sure.
MCGLASHAN      ...program. Which is, which is, whatever it is, you know 60%
               of your course work, 'cause it covers so many different
               departments.
SINGER         Correct.
MCGLASHAN      In that, in that program. Okay, well, so you'll, you'll, you'll
               give me a heads up [OV] and then one other, just family
               question, with           now entering his sophomore year, and
               sort of, the process is beginning, we have him on time and a
               half. I told        yesterday, and         by the way, who is
               the, who I think is the one who needs the most time, has no
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                extra time currently. And,          's talking to the doctor that
                assessed them, to get her to ask, to request time for          . I
                told her she should be requesting double time for all of them.
SINGER          100% multiple days. No matter what, multiple days. So,
                even if it's 50% time and a half, multiple days.
MCGLASHAN       So is that a different ask to get multiple days versus...
SINGER          Well the 100%.
MCGLASHAN       [OV] And if they get time and a half, can they use your
                facility to take the test?
SINGER          No, not unless it's multiple days.
MCGLASHAN       So as long as it's multiple days, we're in.
SINGER          Correct, correct. Like it could be [OV]
MCGLASHAN       And they, that's a separate filing?
SINGER          Overall it's the same. Well, so, you're saying            's got a,
                time and a half.
MCGLASHAN       Yeah.
SINGER          So, what has to happen, is there has to be an appeal to get the
                multiple days. The doc's got to come up with stuff
                discrepancies to show why he needs multiple days. That he
                can't sit six and a half hours taking one test.
MCGLASHAN       Perfect.
SINGER          And so if he gets multiple days, then I can control the center.
MCGLASHAN       Thank you.
SINGER          Yes.
MCGLASHAN       And then what about... If you get a, if you get double time,
                you automatically get multiple days?
SINGER          Automatically, yes.
MCGLASHAN       Oh, so it's either multiple days with 1.5 or um, double, 2X
                time.
SINGER          Correct.
MCGLASHAN       Got it, okay, I'll make sure         goes to work.
SINGER          And we don't care if it's SAT or ACT.
MCGLASHAN       Yup, yup.
SINGER          Because, we're just going to take it one time and be done
                anyway.
MCGLASHAN       Yup, exactly. The           is going through the stress of her
                SSATs, which is totally cute and sad to watch. But it's like
                Jesus Christ. This whole testing thing is such a nightmare for
                kids.
SINGER          It is.
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MCGLASHAN      It's awful. It really is.
SINGER         Agreed.
MCGLASHAN      Awful. Yeah. Alright, my brother.
SINGER         [OV] Okay, I'll talk to you [UI]
MCGLASHAN      My follow ups are to get us together with the group. And
               then you're going to let me know what the right plan of action
               would be. And I'm totally open to that if that's the right, uh,
               what the right approach is.
SINGER         Exactly, yeah, let me find out.
MCGLASHAN      Awesome.
SINGER         You got it.
MCGLASHAN      Okay.
SINGER         Take care.
MCGLASHAN      Thanks a lot.
SINGER         Yup, take care, buh bye.




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         Exhibit K
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08/22/2018 19:38:16 Outgoing Call, William MCGLASHAN and Rick SINGER
[Session 6574]


Voicemail    Hello this is Bill McGlashan, leave a message at the tone.
RS           Hey Bill, so we're gonna um met with SC, um, because the school does
            not have a football team um, I'm gonna make him a kicker/punter and uh
            they're gonna walk him through with football and I'll get picture and
            figure out how to photoshop and stuff so it looks like it and um, the guy
            who runs the biggest kicking camp is a good friend, so we'll put a bunch
            of stuff about that uh, on his profile and we should be uh in pretty good
            shape to get that uh done uh, it's just a matter of when I get the profile
            done, get it to them and figure out when they're gonna have a sub-
            committee meeting, so I'll let you know. Stanford said no, um too tough,
            grades too low um just don't want to uh make that an exception right now
            um for him, so I wanted you to know that as well and then I think I'm
            seeing you next Tuesday so if there's anything you need from me just let
            me know, see ya, buh-bye.
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          Exhibit L
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08/22/2018 19:46:25 Outgoing call from Rick SINGER (RS) to William MCGLASHAN (WM)
[Session 6577]

WM                                        Rick.
RS                                        Hey so you got an NFL punter huh?
WM                                        You there Rick?
RS                                        Yes.
WM                                        Oh there you are, perfect. Lost ya.
RS                                        You got an NFL punter.
WM                                        I I did. That's just totally hilarious. So
                                         he...so this is for, so, the one part you
                                         were garbled at the beginning is the
                                         school doesn't have a football team,
                                         meaning, obv- obviously SC does. What
                                         does that mean?
RS                                        Your high school.
WM                                        Oh the high school. yes of course. Got it.
RS                                        So they asked me what sport could we
                                         put him through. And I said well, I don't
                                         want, you know, cause your school
                                         doesn't have football it's easy because I
                                         can say, because they have all these
                                         kicking camps and these kickers always
                                         get picked up outside of the school...
WM                                        Yeah perfect. perfect.
RS                                        So I'm gonna make him a kicker. Um...
WM                                        (laughs) He does have really strong legs.
RS                                        (laughs) Well, this will be for...this will be
                                         good for one of the...
WM                                        Maybe he'll...maybe he'll become a
                                         kicker. You never know.
RS                                        Yeah! Absolutely.
WM                                        You could inspire him Rick. You may
                                         actually turn him into something. I love it.
RS                                        I know. Well I had a boy last year, I made
                                         him a a long snapper. And
WM                                        I love it
RS                                        He was 145 pounds. Long snapper. So.
WM                                        I love it. I love it. That is so funny. So so
                                         um, and then, just remind me again, we
                                         get all these done and the the the obvious
                                         deal you and I talked about the $50K and
                                         the $200K. And...and then uh, do we
                                         know he's in? You and I at least know
                                         he's in?
RS                                        Yeah, yeah. Beacause when he gets in
                                         they'll send me a letter which will be the
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                                          and you...
WM                                         Yup
RS                                         The same letter that he's going to get
                                          later on.
WM                                         Yup.
RS                                         But it'll just be in your hands. It's always
                                          (OV)
WM                                         Perfect
RS                                         For the parents to know that everything's
                                          cool.
WM                                         Perfect. And then, cause I, by the way
                                          I've had...I've had a ton of kids friends
                                          who's, uh, friends who's kids have gotten
                                          in already to all these schools. It's
                                          amazing how, you know, they'll take them
                                          as early as sophomore years you know in
                                          these sports programs now where they
                                          tell them they're in.
RS                                         Well yeah but they're not really in. So
                                          they de-committ them, you know that.
                                          Eighty percent...
WM                                         Oh I didn't know that.
RS                                         Decommit rate.
WM                                         Wow...So these kids all think they're in,
                                          and then they may not be.
RS                                         They're not. They're not. Especially,
                                          especially if it's a girl.
WM                                         Yep.
RS                                         Because they recruit the girls early and
                                          what happens is...
WM                                         It is girls, these are friends of ours who's
                                          girls have said no they were admitted to
                                          like all these top schools as like
                                          sophomores.
RS                                         And they weren't admitted.
WM                                         Wow.
RS                                         Nothing's happened. It's not a
                                          commitment, it's not a for sure thing, as
                                          them "Do you have it in writing?" and
                                          they'll say no.
WM                                         Wow.
RS                                         Because it's not in writing.
WM                                         Fascinating.
RS                                         So they all take themselves off the
                                          market. And then...
WM                                         Yeah, totally well and they also stop
                                          worrying about their grades cause they're

                                      2
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 61 of 387




                                          already in.
RS                                         That's right and they're not...and they're
                                          not in...because they have not done their
                                          applications. They have not..
WM                                         That's actually terrible, they shouldn't be
                                          doing that.
RS                                         Well, what happens is it's because the
                                          parents have been pushing this for so...so
                                          hard...
WM                                         Yeah.
RS                                         And they want to be able to tell their
                                          families they got in here and here. So
                                          what happens is the 10th grade girl
                                          commits and then what happens is she
                                          doesn't get any better.
WM                                         Yup. Yup.
RS                                         And now the kid who grows later and
                                          gets better later...
WM                                         And the kid who's hungrier...cause they
                                          don't think they've got a shoe in yet.
                                          They're still fighting. And trying and, yeah.
RS                                         That's exactly right.
WM                                         Wow. So, so...um, I had an exchange, I
                                          forwarded you that email. I had an
                                          exchange with uh, with um,
                                          the Dean over at the academy, and she
                                          was very positive about him. He still has
                                          to get obviously get his...he's gotta
                                          actually do the work on his pitch. Uh...
RS                                         Right.
WM                                         Which I think he's got a pretty clever
                                          concept, but he's..he's sorta needing to all
                                          the work to put it into a compelling, you
                                          know, package. He's gonna run that by
                                          when. he meets you next by the
                                          way...Um...uh
RS                                         And he sent me stuff already, I just sent
                                          him back edits.
WM                                         Perfect. For his application?
RS                                         Yeah.
WM                                         Yeah that's on the general application
                                          right? No the um
RS                                         Correct.
WM                                         I don't think he's done with the pitch yet.
RS                                         No.
WM                                         I mean he's he's getting..uh, he's doing
                                          graphic design, getting you know, uh,

                                      3
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 62 of 387




                                          screenshots done...and he's..you know..a
                                          guy, a blockchain guy helping him. And...I
                                          think he'll do a good job but we'll see. Um,
                                          but that's on the academy side so either
                                          way we can target getting him in, and
                                          then he can get in or not on the academy
                                          beyond that.
RS                                         Right. So...
WM                                         Perfect.
RS                                         So you know essentially she told me
                                          when I get all the paperwork together,
                                          and I gotta create this profile pic. So what
                                          I'll probably need if you guys have any
                                          pictures of him, um playing multiple sports
                                          or something where you can kind of see
                                          his face a little bit in action?
WM                                         Umhm.
RS                                         It would be helpful because I will
                                          photoshop him onto a kicker.
WM                                         (laughs) Ok. Ok. Let me look through
                                          what I have. Pretty funny. The way the
                                          world works these days is unbelievable.
RS                                         It's totally cra...like last year I had a boy
                                          who did the water polo, and when the dad
                                          sent me the picture, he was way too high
                                          out of the water. That nobody would
                                          believe that anybody could get that high.
WM                                         Yeah (OV)
RS                                         So I told that dad. I said "What
                                          happened?" He said...he was standing
                                          on the bottom! I said "No no no no no."
WM                                         Yeah exactly. You gotta be swimming.
                                          Exactly.
RS                                         That's right.
WM                                         That's funny. That's great. Ok well yeah,
                                          it's too bad that she doesn't have a uh
                                          lacrosse program with scholarship
                                          positions. That'd be easy.
RS                                         I know. It'd be much easier. But she said,
                                          that's cool, let's do it that way. So, that's
                                          the path we're gonna go.
WM                                         Okay perfect. And then what are you
                                          sense of the odds at this point if we, once
                                          you get the package in and everything?
RS                                         Uh, 90%.
WM                                         Ok. Great. Great. Well, I'll get you some
                                          photos and um, obviously I'll see you on

                                      4
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                                      the broader, the other matters on
                                      Tuesday on the business matters. And
                                      and uh and I'm gonna keep pushing him
                                      on the uh on the uh, you know the pitch.
                                      Uh..
RS                                     Good.
WM                                      But that's a project. The other thing I
                                      guess, a question for you is on, on um, on
                                      the Brown process. I did a uh
                                      conversation with uh                       and
                                                          two of board members
                                      and they both, I was very open with them
                                      about his grades, showed the positive
                                      trend, it didn't really bother them. Brown
                                      has an interesting philosophy where they
                                      don't care as much about the earlier
                                      grades if he's showing he can do it now,
                                      and is getting good grades now, they call
                                      them slow risers.
RS                                     Right.
WM                                     It's a term they use for boys. Um, so they
                                      were actually intrigued...they wanted him
                                      to submit the same pitch he's doing for for
                                      the academy to Brown because they have
                                      a similar social um, you know,
                                      entrepreneurship program. Um, I...I
                                      actually think, I'd love your help on this,
                                      next time you talk to           , I actually
                                      think he doesn't...it bums me out but I
                                      don't think he loves Brown. I think he
                                      loves SC. I don't know if you've had that
                                      conversation, but, um, I don't....I don't
                                      think there's any chance he would go to
                                      Brown over SC. If he had the choice.
RS                                     No.
WM                                     Is that your read?
RS                                     Yeah. And part of the reason, um, Bill is
                                      that he believes the program at SC he
                                      has much more liberty and choices of
                                      things he can do?
WM                                     Umhm.
RS                                     And he is a little worried about the other
                                      academic stuff at Brown.
WM                                     Umhm.
RS                                     That the caliber...
WM                                     Which I which I find..I I find hilarious
                                      cause there's no easier program to get

                                  5
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                                          through than Brown. Frankly it'll be alot
                                          easier than SC, academically.
RS                                         Right.
WM                                         I mean it's it's the most grade inflated
                                          program in the country. They call them
                                          gentlemen's B. I mean you don't have to
                                          do anything and you get a B.
RS                                         (laughs)
WM                                         You know? So I I I think it's I I think I
                                          think he would be surrounded by people
                                          that are generally more academic than he
                                          is. But you know, his his uh his actually
                                          ability to perform when he actually
                                          knuckles down is great (OV)
RS                                         Oh it's great
WM                                         And he can actually focus. He has a hard
                                          time focusing obviously but when he does
                                          it's it's he's plenty bright enough to be in
                                          that crew. (OV)
RS                                         He has grown up a lot
WM                                         So I would hate...
RS                                         Right..he's grown up alot.
WM                                         What's that? No he has, it's amazing how
                                          he's changing. I mean it's almost like his
                                          frontal lobes grew or something yeah.
RS                                         (UI) But here's the other thing, uh, I just
                                          sent                   do you know        ?
WM                                         Uhh I feel like I do, why do I know that
                                          name?
RS                                         She used to run                      , she just
                                          took over                      .
WM                                         Yeah I I I actually just met with her. What
                                          a weird coincidence. With her and            ,
                                          her boss.
RS                                         Ok so, so, I have           kids of course.
                                          She's dropping off the oldest right now but
                                          they just got done meeting the president
                                          at Brown..
WM                                         Uh huh.
RS                                         Because if you're gonna do this, I know
                                          you have the two, but him being in front of
                                          her is important just so that she
                                          knows...cause she knows him and
                                          pushes everything through. If that's what
                                          you guys end up...
WM                                         So so so, these guys said the same
                                          thing. And I, and she's quite excited about

                                      6
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                                          what we're doing and wants to meet. I...I
                                          worry a little bit that she wants to meet
                                          because of uh, she wants to sit down with
                                          me as opposed to having any desire to
                                          meet             But uh you know, they they
                                          were suggesting I go and have dinner
                                          with            and her, or lunch, with you
                                          know             and her.
RS                                         Yep. (OV)
WM                                         Um, my worry is I don't want to lean on
                                          these guys. I'd love your wisdom on this.
                                          But I don't want to lean on these guys
                                          cause I can certainly (OV) do that and
                                          push and pry them with a big donation
                                          (OV) and stuff but if            doesn't want
                                          to go there anyway. And by the way he
                                          doesn't have to apply early, in fact they
                                          they said that they probably shouldn't
                                          apply early to Brown (OV), cause he's not
                                          you know, one of those candidates.
RS                                         No they...and they defer everybody. So
                                          let's wait for that for December January.
                                          (OV) If we don't have the letter by then.
                                          And and then you go. But I, that is the
                                          path because, and you're right, she wants
                                          to meet with...like wanted to meet with
                                                more than she wanted to meet with
                                          the two girls, and...
WM                                         Yup.
RS                                         But I said      , this is what you gotta do.
WM                                         Yep.
RS                                         And so...so so yeah. I'd wait til December
                                          January.
WM                                         And do we...when do you think...what's
                                          the timing on the letter from, from SC,
                                          once we actually submit everything? (OV)
RS                                         So it either either comes in two waves.
                                          So it'll either happen sometime um mid-
                                          late November or it'll happen, which I
                                          don't want to have happen, it'll happen on
                                          the next recruiting period, which will be
                                          January February.
WM                                         Umhm.
RS                                         My goal is to get his picture and
                                          everything into her now...
WM                                         Yep.
RS                                         So that in that first wave we can get it

                                      7
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                                      done, so you can have it by Thanksgiving.
                                      Or earlier. Even before his application
                                      goes in.
WM                                     Perfect. Ok. Ok. Great. Alright, that would
                                      be good. Alright brother.
RS                                     Alright. Hang in there.
WM                                     I will see you Tuesday. Thanks for
                                      everything.
RS                                     Yup. You got it my friend. Take care.
WM                                     Ok yup bye bye.
RS                                     Alright bye bye.




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        Exhibit M
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         Exhibit N
               Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 70 of 387




From:                              Massimo Giannulli
Sent:                              Friday, August 19, 2016 1:42 AM
To:                                Rick Singer
Cc:                                Lori Giannulli
Subject:                           Re:USC



Fantastic. Will get all.

Sent from cup and string

> On Aug 18, 2016, at 4:23 PM, Rick Singer                           wrote:
>
> Lori and Moss, I met with USC today about         I need a PDF of her transcript and test scores very soon while I create
a coxswain portfolio for her. It would probably help to get a picture with her on an ERG in workout clothes like a real
athlete too.
>
> Sent from my iPhone




                                                                                                              PM-00001020



                                                                                                      PM-00001020
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         Exhibit O
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          Exhibit P
            Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 75 of 387

From:           Rick Singer
Sent:           Tuesday, November 1, 2016 3:13 PM
To:             Mossimo Giannulli
Subject:        Re: Please send 50K payment to the person below


Yes

Sent from my iPhone

On Nov 1, 2016, at 10:56 AM, Mossimo Giannulli                         wrote:

      For accounting purposes would I categorize this as a donation?

      Ml
      Massimo Giannulli




            On Oct 29, 2016, at 9:36 AM, Rick Singer                            wrote:

            Donna Heinel
            Senior Womens Associate Atheltic Director
            c/o of USC Athletics



            Check should be made out to USC Athletics

            Please let me know when sent
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     Exhibit P-1
               Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 77 of 387




From:                                  Massimo Giannulli
Sent:                                  Tuesday, September 27, 2016 6:18 PM
To:                                    Lori Giannulli
Subject:                               Fwd: USC Admissions



The nicest I've been at blowing off somebody.
Massimo Giannulli



!MossimoGiannull!
Cap,:'.l




           Begin forwarded message:

           From:
           Subject: RE: USC Admissions
           Date: September 27 , 2016 at 11 :10:13 AM PDT
           To: Massimo Giannulli

           That's great! If you'd ever like to discuss the impact you r ph ilanthropy or participation in ou r
           mentorship programs might have on our students and community, please let me know. Alumni support
           of cancer research, climate science, social        programs, and the arts and humanities, among other
           areas, is critical.

           Here' s an interesting video on the Renaissance Scholars program, inspired by da
           Vinci : httpsJ/d ornsife.usc.edu/videoJiLfeatured/141/rena issa nce-schola~. I think yo u'll find it
           interesting.

           Best,




                                                                                                                  PM-00002944


                                                                                                       VB-RECORDS-00360228
      Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 78 of 387
 'l':JLI
 CAl\ 1:PA I GN




From: Massimo Giannulli
Sent: Tuesday, September 27, 2016 10:57 AM
To:
Subject: Re : USC Admissions


She will be applying. I've been to the school a few times and have some folks that keep me
abreast of the latest and greatest!
Thanks for reaching out,
Ml



Massimo Giannulli




Moissim,oGiannuillli
C,i1;1,}0




            On Sep 27, 2016, at 10 :53 AM,
            wrote:

            Th anks fo r the qu ick re pl y, Massimo. l' rn glad to hea r that you're all set W ill she
            indeed be appl yi ng?

            On anoth er note, would you be interest ed in connecting to discuss you r own
            involvem ent with USC? So much has changed since you we re a student I'd love to be
            able to update you on the amazing stuff that's happen ing. How about meeting in your
            area on Oct 3rd, 411 ', or _5th7

            Best ,




                                                             2




                                                                                                            PM-00002945



                                                                                                      VB-RECORDS-00360229
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  <imageOOl.png>


  From: Massimo Giannulli [
  Sent: Tuesday, September 27, 2016 10:49 AM
  To:
  Subject: Re: USC Admissions


  Thanks so much, I think we are squared away.

  Best,
  Ml


  Massimo Giannulli




  <image002.jpg>

          On Sep 27, 2016, at 10:47 AM,
                                wrote:

          Hi Massimo,

          It's been a while and fall has now arrived so I just wanted to check in
          and see if your daughter is continuing with the admissions process at
          USC. I know when we last connected you mentioned she was a junior
          so I imagine she'll be submitting her application this fall. Please let me
          know if I can be at all helpful in setting up a 1:1 opportunity for her,
          customized tour of campus for the family, and/or classroom visit? I'd
          also be happy to flag her application.

          I look forward to hearing from you.

          Best,




          <imageOOl.png>




                                                3




                                                                                             PM-00002946



                                                                                       VB-RECORDS-00360230
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         Exhibit Q
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         Exhibit R
                  Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 84 of 387
From:                    Rick Singer
To:                      Mossimo Giannulli                    ;Lori Giannulli
Sent:                    11/28/2016 10:11 :40 PM
Subject:                 Fwd:
Attachments:                     .pdf



FYI attached is the letter you can hold on to. As long as    doers what she is doing all is good .
---------- Forwarded message ----------
From: Donna Heinel
Date: Mon, Nov 7, 2016 at 11:21 AM
Subject:
To: 11



Here you go ...



Donna C Heinel Ed.D

Senior Associate Athletic Director!SWA

Associate Prc?fessor-Rossier School c?f Education

University c?f ,Southern Cal(fornia




CONFIDENTIALITY NOTICE: This conmmnication and any documents, files, or previous e-mail messages
attached to it, constitute an electronic communication within the scope of the Electronic Communication Privacy
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intended for the sole use of the designated recipient(s). The unlawful interception, use, or disclosure of such
information is strictly prohibited under 18 USCA 2511 and any applicable laws.
      Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 85 of 387
                                                                                                    QFflCE OF ,ADMISSION
· ~· . USCUniversityof
 ·. Ki · Southern California
              November 4, 2016


                      Giannum



              Dear
             .Congratulations! 1 ant plea~ed to iufonn yot1 that the Admission Comtnittee, a~r c,arefol review o;f
              your ctedentiaJs; h<1s approved your a<iniissionto the University of S01.1tbern California for- the fa}l
              201 7 semester. Your records indicate that yoµ have the potential to make a signific.ant contributioi) to
              the intercollegiate athletic program as well.as to the ac<1demic life ofthe university. lean a.ssure you
              that thefacv. lty and staff wiU do an that we can.to supportyou.in acl:devingyour ~oals a& a stu,deptc.
              athlete at USC.

             .Elease be ag.vised that this letter of ace.epta:nce is based upon apre]imi11a1y revjew of your academic
              recorqs. In order ro validate this acceptance you must;            ·

                       1. Complete in foll an Undergr.aduateApJ?lication by Janualy 1,5, 2017.
                       2.. $tmd official co1Jege entrance· exa1n scores (SAT or AC'f) to U~C directty fromtl1e
                            appropriate testing agency.                 ·
                            Register with the.NCAA :Eligibility Center.
                            Meet ,all NCAAtest scm:eand core cou1::;,e initjal-eligibili:tyrequfrement$.
                            Send USC a final, official transcript which veri1:'ies high school graduatiqn by j\Ligust 1,
                            WU .                                                     .
                       6.   Avoid il/Cadtimk anll behavioral.miscondµct

              Iffuese conditions .are not met, your approv<,11 will befevoked,

              Onbeb:alf oftbeuniversity, I wo1,lld lik:eto express our pleasure witl1 your conrmitrnent toUSC. We
              are delighted to welcome you to 0~1.r- community of scholars and to pur athfotic ,program. We look
              forward to seeing you 011 campus next year.. ·

              Sincerely,




              Deat10JAdmission




                                              Uni"'.ei:;iryofSouth¢r.ii C.lilifonfui
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          Exhibit S
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 87 of 387
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          Exhibit T
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         Exhibit U
  From:
                  Case 1:19-cr-10080-NMG
                       laura janke
                                         Document 1066-1 Filed 04/08/20 Page 93 of 387
  To:                      Rick Singer
  Sent:                    8/6/2017 11:58:11 PM
  Subject:                 Re:



I need all the other information on her so I can finish her resume and add a rowing club to her profile based off where she
lives.

On 28 July 2017 at 11:11, Rick Singer                               wrote:


Sent from my iPhone

Begin forwarded message:

From: Mossimo Giannulli
Date: July 28, 2017 at 10:47:22 AM PDT
To: Rick Singer
Cc: Lori Giannulli




Sent from cup and string
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         Exhibit V
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        Exhibit W
                Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 98 of 387




From:                               Massimo Giannulli
Sent:                               Wednesday, November 29, 2017 7:21 PM
To:                                 Rick Singer
Cc:                                 Lori Giannulli
Subject:                            Re:USC
Attachments:                        Moss e-sig.jpg



Will get this handled this week.

M/




Massimo Giannulli




> On Nov 29, 2017, at 11:10 AM, Rick Singer                         wrote:
>
> Massimo can you send a SOK check to USC and the address is below. Additionally the rest of the 200K will be paid to
our foundation a 501 3C after     receives his final letter in March.
>
>
> Made Payable to:
>
> USC Womens Athletics
>
> Send to:
>
> Donna Heinel
> Senior Womens Athletic Director
>
>
>
> Please confirm when sent
> --
> Rick Singer
>




                                                                                                           PM-00000293



                                                                                                   PM-00000293
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Exhibit WW-1
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 100 of 387
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          Exhibit X
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 105 of 387
     726                                                             Page 1


1    Call Date:        2017-12-04

2    Call Duration: 1:17

3    Call Begin [] Call End []

4    Call Participants:

5          Donna Heinel

6    File Name:        726

7    Bates No.:


8    HEINEL:    [00:00] Hey, Rick, it’s Donna.       Uh, I got to talk to

9          you pretty quickly.      Uh, I need some of those checks

10         written to a, uh, a different way.       Uh, so if you could,

11         uh, stop.           , uh, I received         .    But for the

12         rest of the people that owe money, uh, could you please,

13         uh, I need it to go to Galen Center, uh, gift account.

14         Uh, it just makes it better.      So if they’ve already

15         written the check, uh, when I get it I can tear it up.

16         And if they could issue a new one.       But everything is --

17         has to go to, uh, Galen Center gift account.        OK?   Uh,

18         call me with any issues.      And I think we’re going to do

19         that with           (sp?) [01:00] too and that could be a

20         1, uh, that would be a 1 check going to Galen Center.

21         Uh, gift account.    All right?    For 200,000.    All right,

22         thanks, bye-bye.    [01:17]

23
    Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 106 of 387
    726                                                            Page 2


1                             END OF AUDIO FILE
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          Exhibit Y
           Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 109 of 387




From:
Sent:                              Tuesday, January 30, 2018 2:25 AM
To:
Subject:                           Fwd: Invoice 1166 from The Key Worldwide Foundation
Attachments:                       Inv_ 1166_from_The_Key_Worldwide_Foundation_9516.pdf;     +
FYI

Sent from my i Phone

Begin forwarded message:

> From:
> Date: January 29, 2018 at 2:26:59 PM PST
> To:
> Cc:
> Subject: Invoice 1166 from The Key Worldwide Foundation
>
> Dear Massimo & Lori Giannulli,
>
> Thank you for your generous donation.
>
> Our courtesy invoice is attached hereto and contains wire information should you prefer to wire the funds.
>
> Thank you again,
>
>
>
>
> The Key Worldwide Foundation
>
> Sacramento, CA 95825
>



>
>
>




                                                                                                           PM-00000154


                                                                                                 VB-RECORDS-00246658
              Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 110 of 387

     1 ~~~r,m,,~~;;W{~~tJ!1J#i~g;]ij~f-1!~:<4~~t~)~Ct,-,_"".W                                Invoice

                                                                                 1/29/2018




      Mossimo & Lori Giannulli




                                                                                         Amount

Private Contribution - Letter of receipt will be provided upon payment                             200,000.00




                                                                         Total                    $200,000 .00




                                                                                             PM-00000155



                                                                                 VB-RECORDS-00246659
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 111 of 387




          Exhibit Z
           Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 112 of 387




From:                               Massimo Giannulli
Sent:                               Tuesday, February 6, 2018 4:58 PM
To:
Subject:                            Re: Merrill Lynch Transfer Update
Attachments:                        Moss e-sig.jpg



Rick Singer may also work.




Massimo Giannulli



G/FORE
                           .




> On Feb 6, 2018, at 8:52 AM,                                                  wrote:
>
> Do you have a specific name and number of a contact at the Key? I've left a couple messages with no response. Just
want to confirm the wire transfer instructions before sending out your funds.
>
> From: Massimo Giannulli [mailto:
> Sent: Monday, February 5, 2018 9:39 AM
> To:
> Subject: Re: Merrill Lynch Transfer Update
>
> Matt was gone this am and left word. Happy to send and send back when I receive.
>
>
> Also the last college "donation" for         Can't I write this off?
>
>
>
>
>
>
>
>
> Massimo Giannulli
>




                                                                                                         PM-00000146


                                                                                              VB-RECORDS-00246650
           Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 113 of 387
>
>
> G/FORE
>
>
>




>
>
>
> <imageOOl.jpg>
>
>
> On Feb 2, 2018, at 10:10 AM,
wrote:
>
> Hey Moss,
>
>Justa quick update on where we stand and what I still need . First, your trust account at UBS has you listed as Trustee
and not         (        is only trustee of the           ) so I need to send you a trust certification form that needs
to be notarized. Can I UPS the form to your work address for Monday delivery and can I also schedule a mobile notary
to meet your office to do a quick 10 minute signing? Any day is fine as long as you give me some lead time to schedule
the notary. Let me know what would work best for you.
>
> Second, I still need these documents from UBS as well as them setting up duplicate statements going forward so I
don't have to bother you every month. UBS is requiring that you call               to request these be sent to me.
can be reached at
>
> 1.) Copy of your Dec 31st UBS Statement
> 2.) Copy of your Jan 31st UBS Statement
> 3.) Copy of the Dec 31st 529 Account Statements
> 4.) Copy of your December 31st performance report (PMR Report) both for the personal accounts and the 529
accounts.
> 5.) Request that duplicate statements be sent going forward to

>
> All of the above UBS documents can be sent direct to me via secure email.
>

                                                            2




                                                                                                            PM-00000147



                                                                                                 VB-RECORDS-00246651
            Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 114 of 387
> Let me know if you have any questions otherwise I will wait to hear from you on what works best for the notarization
of the Trust Certification Form.
>
> Thanks,
>
>
>
>




>
>
>
>

>
>




>
> <imageOOl.png>
>
> This message, and any attachments, is for the intended recipient(s) only, may contain information that is privileged,
confidential and/or proprietary and subject to important terms and conditions available at
http://www.bankofamerica.com/emaildisclaimer <http://www.bankofamerica.com/emaildisclaimer>. If you are not the
intended recipient, please delete this message.
>
> This message, and any attachments, is for the intended recipient(s) only, may contain information that is privileged,
confidential and/or proprietary and subject to important terms and conditions available at
http://www.bankofamerica .com/emaildisclaimer <http://www.bankofamerica.com/emaildisclaimer>. If you are not the
intended recipient, please delete this message.




                                                           3




                                                                                                          PM-00000148


                                                                                                VB-RECORDS-00246652
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      Exhibit AA
    Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 116 of 387




Resume:
Blank

Jr Survey:
See Attached

Sr Questionnaire:
Blank

Parent Questionnaire:
Blank

Journal Notes:
 Notes
                              Date:            September 12, 2015 10:59 PM
 N/A                          Access:          private




  Scheduling
                             Date:           March 2, 2016 2:01 PM
  N/A                        Access:         private




 Scheduling
                              Date:                March 10, 2017 10:16 AM
 N/A                          Access :         private




 Development
                           Date:         May 23, 2017 2:35 PM
 N/A                       Access:       private




                                                                             VB-RECORDS-GO 129395
      Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 117 of 387




  College Meeting
                                                            Date:                       May 28, 2017 10:27 PM
  N/A                                                       Access:                     private




Naviance List:
                  Giannulli         Class of 2018

General    Plan    Scores Assessments Colleges eDocs Resume Scholarships Journal                 Documents careers Success Plan      Post-grad
 active arJRlications : milestones      i histo[Y. ! g@i;ihs i J)[OSP-ective colleges : comparison : eventregistrations :
 ACTIVE APPLICATIONS
 illi:l, Print summary I Print detail

                                                                                            Common
                                                        Delivery   Office        Student
  D all      College
                                                        Type       Status        Status
                                                                                            App          Type WL DF Interest Expect Result
                                                                                            Status

                                                            ~
                                                            ~
                                                            ~
                                                                   Final
  D          U of Southern California
                                                                   submitted
                                                                                 Submitted Not in list   RD          High           Accepted

                                cti_on~) _ _ _ __ ~ ] ~
 Select apps and: [~<~se_le_ct_a_


 Set Attending College: [ U of Southern California~ J, Update J




Account of Counselor Call and days to follow:
3/13/2018 - Conducted routine counselor call with USC to check up on the dozens of
applicants, again, that year. When we got to          our representative,                said she was
"flagged" as a recruit for the crew team. I told him I had no knowledge of              involvement
in crew and based on what I knew of her video blogging schedule highly doubted she was
involved in crew.       then confirmed that        is     's sister, which is true, and that we had
discussed       as a crew recruit in 2017. We had discussed this. I told         that I had
knowledge of the Giannulli Family working with an independent college counselor who had
some other clients at               who caught the attention of another admission office
because there were inconsistencies or seemingly false claims in their applications.           said he
was going to look into the situation further with his supervisors and the Athletics Department.

4/11/2018 -        called me to inquire about the independent college counselor the Giannulli
Family was working with, who I identified as Rick Singer of The Key, because        had
encountered another situation where an applicant from the Bay Area was flagged as an athletic
recruit, but there was no evidence of prior serious or exceptional participation in the sport they
were recruited to play.




                                                                                                                                 VB-RECORDS-GO 129396
    Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 118 of 387




4/12/2018 - I received a call from the front desk that Mr. Giannulli was downstairs looking for
              , our Head of School, who was off campus, and wanted to talk to me. I had a
feeling this was regarding the conversation I had with      the day before. I had not seen Mr.
or Mrs. Giannulli in my office since we had our family meeting for       two years prior. I went
down to receive him and bring him upstairs to my office. While we were headed to my office I
asked if he had walked over or drove, they live very close to campus. Mr. Giannulli replied,
"What does it matter?" in a curt tone. I said I was just making conversation, he replied, "Let's
not." When we sat down in my office he aggressively asked what I was telling USC about his
daughters and why I was trying to ruin or get in the way of their opportunities. I asked him to
clarify what he meant.

Mr. Giannulli backed up and asked what I had told USC in 2017 about           His tone made me
visibly nervous. I told him that I had conducted a routine counselor call with USC, I was
informed that        was identified and admitted as a recruited athlete for crew, had replied that
I had no knowledge of         being a rower, but did not in any way contest her admission
decision. He then asked if I had said       was not a good admit for USC and said she was
currently thriving at USC. I told him I was happy to hear that, but had never told USC she was a
bad candidate for admission, just that I had no knowledge of her being a rower.

It was around this time that my Co-Director of College Counseling,                 , came in
from her office next door to close my office door because our voices were carrying down the
hall.

Mr. Giannulli then had me recount what I had told USC about           I told him I conducted the
same routine counselor call with USC a few weeks prior, they had          identified as a recruit
for crew too, and I said I had no knowledge of her involvement as a rower. Mr. Giannulli then
interrupted and bluntly stated that       was a coxswain. I told him I was unaware of that and
I would have to inform them. He then asked about my conversation with USC the day before. I
told him that USC had called me to inquire about an independent counselor who was seemingly
making false claims about applicants' athletic involvements to leverage positive admission
decisions for them.

Mr. Giannulli then went into an agitated stream of consciousness stating he could not believe I
had put       'a admission to USC at risk in 2017 and how annoyed he still was that I could not
combine her                  grades with               grades for a recalculated GPA on her
             transcript. (This is not the practice of             or any other private school I
know of; only classes taken at the school which generates the transcript appear on that
transcript. A separate transcript from each high school attended is sent to the colleges to
which a student applies.) Mr. Giannulli said he let that go though, but was astounded when I
had endangered          's admission to USC this year. He then said         had no idea about this
situation and would be crushed if she had any knowledge of it. He then asked me if I had any
idea who         was and what she had going for her. I told him I was well aware of her YouTube
channel and video biogs regarding style, make-up and fashion. I then went on to affirm that I
had been a champion for            and if he were to read my letter of recommendation he would




                                                                                   VB-RECORDS-GO 129397
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see that I portrayed       as a guru in her field with a bright future and any school would be
happy to have her.

Mr. Giannulli went on to say he still did not "get it," I was his daughters' counselor, I was
supposed to help them. He then stated he "knows lots of people" and had delivered a couple
admits for me to include on my school profile that I would not have had otherwise, and asked
why would I want to negate that by talking to USC negatively about his daughters. I then firmly
stated that I had not done any such thing, I had not put his daughters in jeopardy, and
insinuated that the person presenting them as rowers had done that. Given Mr. Giannulli's
angered state I did not want to say that outright making an accusation. Mr. Giannulli still
pushed on why I acted as I had and I stated that "it was my job to ensure there is integrity in
this process," referring to the college admission process. I have my professional reputation,
that of              and of every past or future graduate on the line when I make a statement
or claim.

Mr. Giannulli then asked what I was going to do now, I told him I was going to have to contact
USC to let them know he had told me that         was a coxswain. He stood up, shook my hand
and walked out.

I immediately reached out to                 to let her know about the interaction I just had with
Mr. Giannulli.          had me contact our Athletics Department to look for records of either
Giannulli girl being a rower, we had none. I then also tried to call           at USC, he was
unavailable, so I emailed him saying I had new information about          Giannulli.      called
me back after an event concluded, 30-40 minutes later. I told        that Mr. Giannulli paid me a
visit that morning concerned about his daughter            admission status at USC and to affirm
to me that         was a coxswain. I asked       how the family may have known about what was
transpiring or being questioned in his office.      said he had emailed his supervisors about the
situation and they may have passed it on to Athletics. Maybe Athletics had informed the family
or someone else who had told the family.

After that phone call with     I emailed Mr. Giannulli to let him know: I had spoken to      at
USC and shared what Mr. Giannulli had told me earlier about          being a coxswain, to assure
Mr. Giannulli that         admission to USC was never in danger, provide him with
contact information if he had any other questions. I received a quick reply saying, "Thank you
very much."

Email Records:
See Attached




                                                                                   VB-RECORDS-GO 129398
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      Exhibit BB
              Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 121 of 387

From:              Massimo Giannulli
Sent:              Thursday, April 12, 2018 3:15 PM
To:                Rick Singer                      ;

Subject:           Fwd:       and USC



Here we go .....



Massimo Giannulli




     Begin forwarded message:

     From:
     Subject:         and USC
     Date: April 12, 2018 at 12:08:35 PM PDT
     To: Massimo Giannulli
     Cc:

      Mr. Giannulli,

     I wanted to provide you with an update on the status of      's admission offer to USC.
     First and foremost, they have no intention of rescinding      's admission and were
     surprised to hear that was even a concern for you and your family. You can verify that
     with           , Senior Assistant Director of Admission and the
     representative for the last five years:                or             , if you would like.

     I also shared with     that you had visited this morning and affirmed for me that        is
     truly a coxswain. Again, I think so highly of all that    has done as a student and
     entrepreneur. I know USC will only add to her success and she to the Trojan Family.

      Best,
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 122 of 387
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      Exhibit CC
             Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 124 of 387

From:
Sent:             Thursday, February 28, 2013 1:40 PM
To:               Rick Singer
Subject:          RE: Potential trip - meet coaches if possible


Hi Rick,
Is this spot still available for USC- should we decide before our Easter trip. It would be such a shame to lose it becau se
we didn't decide fast enough.
Thanks,



From: Rick Singer [mailto
Sent: Tuesday, February 12, 2013 6:44 AM
To: John Wilson
Cc:
Subject: Re: Potential trip - meet coaches if possible

Same si tuation as now one slot first come first

Sent from my iPhone

On Feb 12, 2013, at 6:42 AM, "John Wilson"                                              wrote:

      R

      Thx - how would that change in two years?

       Sent from my iPhone

      On Feb 12, 20 13, at 3:39 PM, "Rick Singer"                                   wrote:

             Gpa ISC is 3.8 plus and 1950+ is low solid burnout where near for sure on his own.
             Jovan is givi ng me 1 boys slot and as of yet no one has stepped up to commit that is
             why it is later

             Sent from my iPhone

             On Feb 12, 2013, at 1:57 AM, "John Wilson"                                               wrote:

                    R

                    Thx. I thought the USC deadli ne was much earlier.

                    Also, what is chance of USC or BC if he goes to Europe for two years at
                    international school and gets 3.4 and 1900 SATs?

                    Thx

                    J

                    Sent from my iPhone
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 125 of 387

     On Feb 10, 2013 , at 12:19 PM, "Rick Singer" <
     wrote:

          USC and BC by mid July . USC 95 percent chance- BC 50
          until I have a face to face and his test scores are in,
          Georgetown need very good grades and no more than one B
          this semester and 1950+ by mid June then depending on
          commitment 90 percent if all in -


           Sent from my iPhone

           On Feb 10, 2013, at 2:01 AM, "John Wilson"
                                           wrote:

                Rick

                 What is the deadline to decide on side door for
                 USC or BC or Georgetown etc this year? (Also
                 pis confirm for which schools is side door option
                 really viable)

                A lso, if        went to         school for two
                years and played club water polo there what is
                probability side door at USC or other locations
                would be a reali sti c option then?

                John

                 Sent from my iPhone

                 On Feb 10, 2013 , at 2:29 AM, "Rick Singer"
                                          wrote:

                       Spring Break Trip

                       Tuesday -- Apri l 2nd -- USD &
                       SDSU

                       Wednesday -- April 3rd --LMU &
                       UCLA

                       Thursday -- April 4th -- Pepperdine
                       &ORUCSB

                       Friday -- April 5th -- Cal Poly




                       Rick Singer
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      Exhibit DD
    From:
                  Case 1:19-cr-10080-NMG
                        Rick Singer
                                         Document 1066-1 Filed 04/08/20 Page 127 of 387
    To:                   John Wilson <
    Sent:                 3/27/2013 3:23:24 AM
    Subject:              Re: John Wilson



Travel is only if he is playing so No- the commitment is to be on the roster not attend all practices but he will have to attend
drug tests and other mandatory functions for 1 year then walk away/ frankly after the 1st semester he can move on

Sent from my iPhone

On Mar 26, 2013, at 11:50 PM, "John Wilson"                                         wrote:

R

        also was wondering if he did the side door at USC is it year round commitment ?for two years min? Or one? Will
he be traveling w team or stay home for road meets etc.

What would a bench warmer position mean? Would the other kids know he was a bench warmer side door person?

J



Sent from my iPhone

On Mar 27, 2013, at 7:10 AM, "Rick Singer" <                           > wrote:

Smu TCU LMU, SDSU, uCSC, cal poly SLO CU Boulder, indiana, oregon arizona rollins

Harder- u miami, Santa Clara,Usd, northeastern BU, GW u Wisconsin Tulane USC

Sent from my iPhone

On Mar 26, 2013, at 10:19 PM, "John Wilson" <                                       wrote:

R

If water polo and swimming are nit realistic for          then What are the schools that he has a realistic shot at (without
help) in SoCal area, southwest and east coast?



Sent from my iPhone

On Mar 27, 2013, at 12:26 AM,                                                     wrote:


I followed up w/Rick about our school visits - I'll connect w/        tonight about finalizing the list.
Xxoo


Sent from my iPhone

Begin forwarded message:
From: Rick Singer < 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 128 of 387
                 Case
Date: March 26, 2013, 3:07:22 PM PDT
To:
Subject: Re:      Wilson

The division3 schools are pitzer and chapman which he can get I and are considered lower level. Santa Clara is slightly
lower than LMU in polo, UCSD is very academic and they would take            but cannot help get in.

Jovan just texted me he will meet you all at 3:30pm on Tuesday on the pool deck. You will have to leave LMU early.

Sent from my iPhone

On Mar 26, 2013, at 2:38 PM,                 "                              > wrote:

Hi Rick,
Did you &        discuss the 2nd & 3rd tier schools that       & his wpolo discussed?
What schools would you suggest that we see while in S. CA next week?
Thx

Sent from my iPhone

On Mar 26, 2013, at 2:17 PM, "Rick Singer" <                          wrote:

They are in the top 8 in the country. They want totally dedicated polo players -     has to put in more time and decide he
really wants to play or when they meet him they will be disappointed and make my relationship sour.

Please let me know if        is going to be totally on board. LMU may be delayed if Jovan comes to campus to meet at
noon on Tuesday as well.

Sent from my iPhone

On Mar 26, 2013, at 2:14 PM, "John Wilson" <                                    wrote:

R

So, none of the teams really even LMU want to even meet with him on their campus?

Sent from my iPad

On Mar 26, 2013, at 22:09, "Rick Singer" <                         wrote:

There are no offices on campus at usc. I asked Jovan to come to campus to meet. At LMU they are not very interested in
        more get in and then we can speak same for others. I can ask again but be prepared for their outlook.

Sent from my iPhone

On Mar 26, 2013, at 1:27 PM, "John Wilson" <                                    wrote:

Rick

These are generic tours? I thought we might be meeting w assistant water polo coaches etc.


John

Sent from my iPhone
                Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 129 of 387
On Mar 26, 2013, at 8:03 PM, "Rick Singer" <           wrote:

All in tact. I sent an email to Jovan to see if he is on campus to meet.

---------- Forwarded message ----------
From: <
Date: Tue, Mar 26, 2013 at 11:27 AM
Subject: John Wilson
To: Rick Singer                         >


Itinerary for              Wilson

Tuesday, April 2

·       USC

    -     9:00 am – Campus Tour
    -     Confirmation Number: CT0402201309002101467310
    -     Please arrive at least 15 minutes prior to the start of the program.
    -     Driving directions and a campus map can be found on our website at http://web-app.usc.edu/maps/

·       LMU

    -     1:00 pm – 2:30 pm – Campus Tour
    -     For directions to the campus, please click on the following link: Directions and Map

Wednesday, April 3

·       UCSB

  -     12:00 pm Campus Tour, 3:00 pm Information Session
  -     Find detailed directions and campus maps at: www.admissions.ucsb.edu/VisitUCSB.asp
  -     Upon arrival, be sure to purchase and display a parking permit in your vehicle. It is recommended that
  you select a daily permit rather than an hourly permit in order to maximize your time at UCSB and avoid        a
parking citation should you decide to stay on-campus for lunch or to visit the bookstore.

Thursday, April 4

·       USD

    -     1:30 pm – Campus Tour
    -     Tour Location: Admissions Office - Serra Hall 201
          University of San Diego,




--
Rick Singer
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      Exhibit EE
              Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 131 of 387

From:               Wilson, John
Sent:               Saturday, August 24, 2013 11 :20 AM
To:                 Rick Singer
Subject:            Re: Update on applications


Thx

Sent from my iPhone

On Aug 24, 2013, at 3:25 PM, "Rick Singer"                              wrote:

> Will do
>
> Sent from my iPhone
>
> On Aug 24, 2013, at 5:14 AM, "Wilson, John"                                    wrote:
>
>> R
>>
>> Great - let me know when u have verified u have it all completed and into Jovan. Also when and where to wire money.
>>
>> Canu also pis help push            on the core applications process (pis let us know which apps. e.g. common, USC, USD, BC etc.
and where he stands on completeness - hasn't started, started essay. Everything done but essays etc thx)
>>
>> J
>> Sent from my iPhone
>>
>> On Aug 24, 2013 , at 1:24 PM, "Rick Singer"                               wrote:
>>
>>> I believe I have everything. Transcript test scores and a player profile so he can add          to his recruit list and present him to
admissions in October
>>>
>>> Sent from my iPhone
>>>
>>> On Aug 24, 2013, at 12:16 AM, "Wilson, John"                                     wrote:
>>>
>>>> R
>>>>
>>>> I meant i assumed that the applications are available.
>>>>
>>>> Sounds like some are. Balance over next 6 weeks.
>>>>
>>>> Worry             keeps blowing things off.
>>>>
>>>> What does Jovan need by sept 20? Dou have what we need? Do I make the first payment to u then?
>>>>
>>>> J
>>>>
>>>> Sent from my iPhone
>>>>
>>>> On Aug 24, 2013 , at 9:08 AM, "Rick Singer"                                 wrote:
>>>>
>>>>> Absolutely not. The apps became available at the beginning of August. The common is registered and uploaded to where it can
be until meeting with          tomorrow. Most all schools Siemens are not out till September 1-15. A final list of schools has to be
prepared. I as stated in several other communications have never seen what he has done with                Hopefully I will get it
tomorrow. UC app not out till October 1. As they become available we will input but need to see              for info and a final list of
schools. Jovan is in Greece. He texted me yesterday that he wants           's material not app around September 20th.
>>>>>
>>> >> Sent from my iPhone
>>>>>
>>>>> On Aug 23 , 2013 , at 11:44 PM, "Wilson, John"                                    wrote:




                                                                                                                           SINGER-00203491
             Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 132 of 387
>>>>>
>>>>>>R
>>>>>>
>>>>>> Where do we stand on applications? I assume they are all out and can u pls send me electronic copies. What progress is
      making on the essays etc? Back up schools and USC?
>>>>>>
>>>>>> When do I make first donation?
>>>>>>
>>>>>> J
>>>>>>
>>>>>> Sent from my iPhone
>




                                                                                                                    SINGER-00203491
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       Exhibit FF
               Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 134 of 387
From:                   John Wilson
To:                     Rick Singer
Sent:                   10/13/2013 8:20:40 AM
Subject:                Re:         apps and USC etc



R

Do u have his latest personal statement draft? Can u forward it and I will talk with him about it.

Does he have all your feedback and clear on what additional improvements u suggest?

Thx

J

Sent from my iPhone

On Oct 13, 2013, at 2:11 PM, "Rick Singer"                            wrote:

First is to finalize the Personal Statement- this is all about       putting in time not me- my work is done quickly
or is done. The profile I am assuming you are speaking about Naviance? I have attached the common to Naviance
filled in schools etc- all done. The teacher Rec part he will do this week.

Jovan will provide         's info to admission when he does his other guys over the next month. No payment of
money till he gets a verbal and written from admissions and then 50 percent to a savings account I set up.
Then the remainder upon an acceptance letter in March with everyone else.
Sent from my iPhone

On Oct 13, 2013, at 1:59 AM, "John Wilson"                                      wrote:

R
Thx. When is           going to have his profile and teacher recs done? What about other essays?

Also When is Jovan going to be able to give us decision on USC? And when do I pay u ? Was it 50% in nov? 50%
in feb when we get final official notice?

Thx

J




Sent from my iPhone

On Oct 13, 2013, at 8:46 AM, "Rick Singer"                             wrote:

Common application will be submitted between Dec I-15th after next test dates and apps done . Jovan has
     's stuff and asked me to embellish his profile more, which I am doing. ACT signed up for October 26th,
SAT Nov 2nd.
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On Sat, Oct 12, 2013 at 12 :50 PM, John Wilson                                  wrote:
R

Hope all is well. I wanted to catch up on where the college app process stands (personal statement , USC, other
essays, the total application status, when is taking the new SAT and ACTs etc. Is there a time we can chat today
ortmrw?

John

Sent from my iPhone




Rick Singer
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     Exhibit GG
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 137 of 387
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Awards & Honors:                                                           :      6'1 / 180lbs
Water Polo                                                    Position:           Driver-- #6
2010,2011,2012, 2013 -- Varsity Letterman
                                                              Swimming Times --   50 Freestyle 20.12 short course
2011,2012,2013-- Co Captain
                                                                                  100 Freestyle 43.98 short course
Central Coast Section - 2011,2012.2013 All Section

Team                                                          Water Polo
CCS - 2012 Offensive Most Valuable Player
California Scholar Athlete Award - 2011,2012, 2013
US National Water Polo Qualifier- 2013                        Water Polo Club
Pacific Zone Water Polo Qualifier 2011, 2012, 2013
Junior Olympics Pacific Team 2010,2011,2012,2013
Asics National Sports Youth Leadership Council - 2012, 2013

Swimming
2010,2011,2012, 2013 Varsity Letterman
2011,2012, 2013 - Co Captain
All American Swimmer - 2012, 2013
Central Coast Section - High Point Scorer- 2012
US Junior Olympic National Swimming Championships
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     Exhibit HH
            Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 140 of 387

From:           John Wilson
Sent:           Wednesday, October 23, 2013 8:40 PM
To:             Rick Singer
Cc:
Subject:        Re: quick q on          spring/summer


R

Thx we are encouraging        to focus on water polo this spring and he will do             and          club.
(Not varsity swimming - As that requires him to skip all senior trips - off)

That way he can take senior trip to Spain for a week and also spend two weeks in the spring coming to Europe
to visit w us.

I strongly prefer he plays as hard as he can and at least suits up and scrimmages w the team. Would it also
make sense for him to try a week of camp at USC ?

When would he need to start this August? Or September?

Sent from my iPhone

On Oct 23, 2013, at 3: 12 PM, "Rick Singer"                             wrote:

      Just be ready for practice in the fall as a player on the roster or just a member of the squad but not
      get in the pool. he has to be on the roster for a year one way or another.


      On Wed, Oct 23, 2013 at 3:10 PM, John Wilson                                         wrote:

        R



        What are the expectations if          gets into USC thru this WP approach?



        Does he have to play            club in addition to        club and or varsity swim team?



        We want to know to start planning spring and summer commitments. His preference is to take
        senior trip for a week to Spain (which he can't do if he is on varsity swimming). He also doesn't
        want to do           club this summer but would rather come to Europe and cape cod with us.



        Is this going to be a problem? look bad?
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 141 of 387

  john




  <imageOO l .j pg>

  John B. Wilson
  Hyannis Port Capital




Rick Singer
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          Exhibit II
               Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 143 of 387

From:              John Wilson
Sent:              Saturday, March 1, 2014 9:54 AM
To:                Rick Singer
Cc:
Subject:           Re: USC fees


R

Awesome!

Hyannis Port
Capital, Inc




C/0

John

Sent from my iPhone

> On Mar 1, 2014, at 3: 11 PM, "Rick Singer"                            wrote:
>
> Yes we can send you an invoice for business consulting fees and you may write off as an expense. What is the name address etc you
want the invoice to be made out to?
>
> Sent from my iPhone
>
» On Mar 1, 2014, at 4:51 AM, John Wilson ~                                     wrote:
>>
>> Rick
>>
>> Thanks again for making this happen! Pis give me the invoice. What are the options for the payment? Can we make it for
consulting or whatever from the key so that I can pay it from the corporate account ?
>>
>>J
>>
>> Sent from my iPhone




                                                                                                                     SINGER-00193228
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 144 of 387




        Exhibit JJ
             Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 145 of 387

From:             Steve Masera
Sent:             Tuesday, April 1, 2014 12:33 PM
To:
Subject:          Requested Documents
Attach:           scan 0001. pdf


Good morning
Attached are the documents that we promised yesterday. Please send me your mailing address if you prefer hard copy.
Best to you.
Steve

Steve R. Masera
Accounting
The Key
      Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 146 of 387

                 The Key Wortdvvide Found_atlon _ - _ Fu_N__                                                   _
                         ::@::::::::c:::::cuc:::::::::::::::::::::::::::::::c:::::c:::c:::::~::::::g~~g




Date April 01, 2014



John &.          wnson




Dear John and          :
Thank you fo.- your contribution of $:lDO,DD0.00 to The Key Worldwide Foundation. Your generosity 'vVill
allow us to move forward w!th our plans to provide euucaUona! ;:md self.-011:·!chrnent programs to
disadvantaged youth. \I've are very excited about the impact that these program5 wi!! have in the
comrnunitles in whkh vve \.NW engage.
This letter shal! serve as formal acknowledgement cf your contribution or, for which no goods or
services were exch,rnged.
The Key Worldwide Foundation, lnc, \Nas inrn,pornted in the State of California on Den.omber 1,c:;, 10J.2
as a non-profit, public benefit charitable organ!zatlon and t2ix-exernpUon applications for recognition .:is
5D1(c)3 charitable status have been filed with the lnti~rnal Hevemie Service and the California Fran<:hise
Ta>: Board. \A!hile we have i1een folly authori?.ed by the state of California, we are currently awaiting
flna! authori?.ation from the Federal Governrnent.


oonations received \·Vhlie the app!lcatlons are pending may be treated as tax-deductlb!e
contr-ibutions to the extent al!owed by law retroactive to the date of the organlzation<s
formatlon assuming the applications are approved. We do not foresee any reason why
our appllcatlons wlll not be approved 1 but should there be any issue vvith the progress
of our pending app!lcaUonsr we vvW immediately inform you,

We will fo,wa,d you a rnµy of the fomrn! 1etter from the !RS rnnflnnlng the org'3niziltkm's status as a
t;.,x-exempt, S01{c)3 charitab!e otgar:lzatlon as soon as we receive it
Thank you again for yGw generous support of ou, new foundation.
Sincerely,

Steve fv1asera
The Key Worldwide Foundatlon
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 147 of 387




Wire Instructions : The Key Worldwide Foundation

Routing #:

Account#:

Swift Code:

Bank Information: US Bank,                     Sacramento, CA 95825
                               Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 148 of 387


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    The Key


    Offke:




To:                                                                                                                                Shlp to {if dHferent address);
    Hyannis Part Capital




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                               Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 149 of 387



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     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 150 of 387




Wiring Instructions: "The Key"

To: US Bank- Campus Commons Branch,

Acct. #:
Routing #:
Swift Code :
                  Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 151 of 387

                 Rick Singer                                                                                 Invoice
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       Bill To
     Hyannis Po11 Capital




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Routing #:

Rick Singer - Checking Account
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     Exhibit KK
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      Exhibit LL
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   Exhibit MM
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      TROJAN                                                                    USC Department of Athletics


      ATHLETIC                                                                                        -

.____.FUND                                                                            trojanathleticfund.com




    July 28, 2014


    John &          Wi lson




   Dear John &          ,

   Thank you for your generous gift to USC Athletics Men's Water Polo in the amount of
   $ J00,000. Maintaining state-of-the-art facilities is an essential part of USC's
   commibnent to excellence. Through your contribution, you are helping the University
   achieve this important goal.

   On behal f of the young student-athletes that will benefit from your anonymous gift, thank
   you.




   Associate Athletic Director

   cc:    Jovan Vavic
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      Exhibit NN
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06/11/2018 17:44:38 Outgoing call to CONFERENCE CALL (                           MIKAELA,
BOB) from Rick SINGER .
[Session 514]



 UM:           Hello.
 UM:           Hello.
 UF:          Hello. Rick?
 RS:          Yes, Rick Singer.
 MS:          [OV] This is Mikaela.
               Hi Rick, this is         and Mikaela?
 MS:          Yes.
              Hi, are you with          ?
 RS:          No. Why would we be with
               Ok, so we're still waiting for      . Ok.
 RS:           [OV] No.
               No, no, no I just knew that she was on the phone with            earlier I didn't
              know if they were calling in together. Ok, so let's see if         jumps on and
              then I'll connect Bob.
 AZ:
               Here she is. Hold on one second I'll put Bob on.
 AZ:          Hello?
 RS:           Ok.
 AZ:          How are you-
 RS:          [OV]         , hi it's Mikaela and Rick and um          is trying to get [IA] on the
              phone.
 AZ:          Ok.
               Bob's on.
 RS:          Bob you're joined?
 BZ:          Hey Rick, I'm here.
 RS:          Ok, so we got            , Mikaela, you and I.
 BZ:          Yes.
 RS:          So,         the meeting's yours.
 BZ:          So I-
 AZ:          So I just wanted to make sure cuz I know there's been like a lot going on for
              everything and I'm just like super anxious I guess cuz I only like applied to
              USC and I just- I don't know what's really exactly happening, but I did talk to
              Mikaela quite a bit today. And I feel like um I feel a little bit better about it I
              was just really anxious cuz I- I had no idea what I'm doing. Like its- like
              what's going on.
 RS:          Well- well none of us have any idea.
 BZ:          [IA]
 AZ:          Yea.
 BZ:          Right, so, so Rick my assumption I just want to make sure we're all on the
              same page is that we were splitting, if          was able to complete the 15
              credits and have over a 3.0 grade average, that she was going to be accepted
              into the school. Is that correct or not correct?
 RS:          That's- that's not correct. The- the fact is that she had to do well, they didn't
              never say 3.0. They said that she needed to do all the classes, do all the
              things- So here's- here's- here's the hurdles that we've already jumped
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           through. The original application which she applied when she came out of
           high school had in the application that there was a VIP application. Cuz we
           weren't involved in that part of it. Yanno I think you may have asked
           somebody to help you.
AZ:        Yea. I had um                   (sp) write me a letter of recommendation last
           year.
RS:        Ok. So it's in her file that the VIP was- was tried to help you get in but you
           weren't um you- you weren't even close. They denied you in the first read
           even with her- with his letter. So when we tried to do this we went through-
BZ:         [OV] -was home schooled.
RS:         Right. Well it didn't matter. Her whole record, the whole thing just they- they
           were confused and were scared to admit her because if- all the things that
           went on. Ok, and that's USC's issue not anybody else's issue. So, we went
           through athletics, went through this deal and they came back to me and said
           there's all these comments in her file blah blah blah blah blah she's- rides
           horses, does all this stuff so I convinced them that she's at Santa Monica City,
           she's gunna do well, would you guys help her get in, we'll put her as though
           she's been um sculling and rowing and then will you get- will you put me on
           the phone with the crew coach- crew coach got on the phone with me, said ok
           I will take her, you guys help us, we'll help you, I'll take her, I just need her to
           finish all these credits and all the all of her classes. If she needs to do well
           there, so she can get A's and B's that's great, and she finishes all the units
           then I- then we can help her get in, I've already coded her, flagged her, and
           she's already just sitting in the system waiting for all the stuff to get done.
           Then we had the issue of us leaving Santa Monica, essentially, and then I had
           to go back in and have another discussion with them about why because- and
           then I explained the           issue, and you're um- you're            and blah blah
           blah blah so that is already in- in the process, it's in the system, it's already
           there and they have not pushed back on that. So all that's left is for you to
           finish all your classes now. That we have stated that we would take already,
           which includes those classes you dropped out of Santa Monica City.
AZ:         [OV] Ok.
RS:         They have not finished transfer admission yet, so I have another boy who's
           actually really strong student who's trying to transfer in and they would not
           transfer him in even though we've shown them in progress grades, first
           semester grades, everything until he actually finishes, which is at Santa
           Monica and he'll finish ah next week, and then when they get the grades then
           they'll admit him, he's been coded as well just like you. So it's all about
           finishing the race.
AZ:        So, that's what I'm worried about is because these courses are eight weeks
           then how do I- how would I be accepted if the courses aren't complete?
           That's- that's what I was wondering.
RS:        Am I correct in assuming that besides the class that Mikaela's engaged in with
           you this bio class is the only class that's left?
AZ:        Yea.
RS:        Ok. And- [OV]
BZ:         Would that push her above the 30 required credits or is the bio class-
RS:         [OV] I don't know.
BZ:         required? Since-
RS:        [OV] Mikaela, do you know? How many- how many credits do we have
           already? Or where we will finish at?
                                            2
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MS:         Um, sorry that's gunna take a sec for me to calculate, but just give me a
           moment.
RS:        But either way she doesn't have a science and that will be an issue to them
           too. So we got the math covered, we got the English covered, the science
           may be an issue, they always ask me to finish all the little requirements that
           they ask. But let's say um so I'm gunna still go in to my person and say ok we
           did everything we need to do um you'll write- you'll write an acceptance there
           will be a conditional acceptance with her finishing her biology class um my
           guess is they'll say B- and above. And that'll be- um but she'll get a
           conditional admission.
AZ:        Ok.
RS:          Which everybody gets anyways cuz you have to finish the race to be able to
           get admitted. And so final-
BZ:         [OV] And the rate- the right amou- the rate [IA] is there a chance they might
           admit her anyway and they just know that she's taking that class? If she-
RS:         [OV] It would- it'd be-
BZ:        [OV] -credits, or is it-
RS:         It'd be a condition admit. If we got it, it'd be a conditional admit with the
           finishing of the class.
BZ:        Cuz she didn't have the science, not because she didn't have enough credits?
RS:        Well we have two- two issues.
BZ:         Cuz I just- I-
RS:         We ha- we have two issues. She already- she already signed up for the
           class at Santa Monica City. And I promised them that she would finish
           everything that she took there um this the way they were doing it. Cuz they
           wanted everything done-
AZ:         [OV] Ok.
RS:         Because she had already enrolled in that class at Santa Monica.
AZ:        The only thing that I was worried about is on the letter I got from USC it says
           that um in order to be um considered all my grades would have to be in like to
           the school by June 30th.
BZ:         [OV] By June 30th.
RS:         Right but you're-
AZ:        [OV] [IA] -Rio Salado. What?
RS:        Right but remember that- that you're going in under athletics and not under
           the regular admission.
AZ:         So I don't need to worry about that?
RS:         Well not that we don't- they want to push- they want to get you admitted.
           They want to get this thing done. They want to finish the class. That's- that's
           why they're pushing everybody.
AZ:         Um I just don't think we had sent them the Rio Salado transcripts because of
           the um-
RS:         [OV] Correct, we're waiting for the class. Correct. Correct. And I haven't
           even had that discussion with them yet because all the Santa Monica City
           kids haven't finished yet either.
AZ:        Um, but my concern is that they can't send my Rio Salado transcript with the
           F on it.
RS:        That's correct. And we won't send it unless- if they change the grade that's
           great, and if not we have another alternative to to to fix that to.
AZ:         Ok.

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BZ:        What is that?
RS:        Um essentially that I had Mikaela retake the class in the meantime right now
           and so we're trying to get- she's already got the class almost done they just
           won't- they won't take the class any faster than six weeks, not eight- so like
           she's already done with all the work again. We just re-enrolled and did it
           again. So then that way if they said no to this change of grade, then we've-
           but we've already got the class done. That make sense?
BZ:         Yes.
AZ:         Yes.
RS:         We didn't wanna wait because they friggin could take forever and we don't
           wanna wait we just- so I had to re-enroll in the class and take it. And get it all
           done. And they tol- and we got everything done, but we can't submit all the
           final stuff um it's a six week period not an eight week period so, they'll do it
           two weeks early but not any faster than that.
BZ:        And Mikaela do you know when that grade would be posted?
MS:         That grade would be posted with the six week um at like probably the last day
           of June. Um or the first couple days of July.
RS:         I would hope we have an answer-
BZ:         [OV] [IA]
RS:         Before that.
BZ:        Right so at least when you go back you can say might say F, but it's gunna
           say A or whatever it is?
RS:         Right, cuz she- we re-took [IA] and I'll explain the situation about what
           happened at the school blah blah blah. But we gotta re-take and she took it
           and she got the A. We- we're good to go. I just haven't brought that to the
           attention until we get an answer from them.
BZ:        [OV] Ok, and then- and Mikaela did you run the calculation on the number of
           units she currently has?
MS:         Right now it's looking like 46. Between um Santa Monica City, all the work at
           Rio Salado, this includes the bio class as well as the math class.
AZ:         [IA] -from here?
BZ:         And what was- Rick what was she requiring? So did the- in terms of credits
           or units?
RS:         They didn't ask for credits- they just need her to be a sophomore.
BZ:         Ok. So there- there wasn't a 30 unit-
RS:         No.
BZ:        Test to-
AZ:        [OV] Dad, dad I- I definitely have enough credits, but Rick is saying they want
           me to have the science class done because-
RS:        Yea
BZ:         [OV] ok.
AZ:        [OV] -Santa Monica.
BZ:        Ok, so I guess then the last question is I was sending, by the way just so you
           know ah           (sp) got a    grade average.
RS:        That's awesome.
BZ:        If that helps. So you- I think now she's got a       and        's got a 4.0. Um
           ah ah so is it possible because I had           leaving tomorrow to go to Europe
           to take care of                                  in Switzerland, yanno is it
           possible to have Mikaela assist on the biology class?
RS:        You have- you have to ask Mikaela. It's not my gig.

                                           4
  Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 167 of 387




BZ:        Yea, yea no I'm asking. I mean- I- that's why I have everybody on the call.
MS:        Yea, that's- I'm happy to- I'm happy to assist.
BZ:         Ok. Ok. And then that grade would be due when? When will that grade
           come back? Is that gunna be a July-
MS:         [OV] -the same as.
RS:        [OV] -unless she can do it in six weeks.
MS:        Yea, that one's gunna be um the start date for the class is today um let me log
           in to see the last possible date for the class. Right now, sorry just bear with
           me again.
BZ:         Ok. So you'd have to explain that the science would be a contingency of
           admission? And this- [IA]
RS:        [OV] Right.
BZ:        [OV] Additional admission-
MS:        So, with the biology class the last the last end date possible is um August 4th.
           So we would say about two weeks ahead of that um so that would bring us to
           July July 21st.
BZ:        Ok.
RS:        So I would tell USC that we- that we have one class left. We've been taking
           all of our classes, here are our grades. And that one class will be in by
           around July 21st we have a commissional- conditional admission now and
           based on that grade. And if she does well in the class then we're all set. If
           she doesn't then it's our fault. But we want a conditional admission.
BZ:        Ok, and then when do you think Rick or Mikaela, we're gunna hear back on
           the art history class being over turned and not having to rely on the new
           grade?
MS:         You know, that unfortunat- I would have liked to- it was supposed to be two
           weeks um-
BZ:         [OV] Right.
MS:         -and I've been in communication with Rio Salado and they haven't given me
           any insight in into where they are in the process. So I'm still keeping at it. I'm
           still answering their questions as needed um and as soon as we have an
           update I will get back to you.
BZ:         Ok, so we need either that-
RS:         [OV] - finish the class.
BZ:        -is that or the other grades?
RS:        Correct. To be able to go to conditional admission. Correct. You're correct.
BZ:        Right. So we really won't know when             can relax and say ok I think I've
           got it. I mean with what you're laying out it should be that if Mikaela takes
           biology class and gets a B- or better and the art history crass- class either
           gets reversed or they take the new grade assuming she gets a a B or better,
           she should be able to get in through what you have set up.
RS:          There should be a conditional admit, yes.
BZ:         Right, and she should fulfill the conditional obligation and everything should
           work out.
RS:          That- that's our hope.
BZ:          That's your hope.
RS:          [OV] Nobody's pushed Nobody's
BZ:         [OV] probability on that?
RS:         No, I dont' have a probability. I just would say that there's been push back.
           The boy, we're waiting for the grade, he actually got a denial letter already.

                                           5
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           And then         , the Dean, called him up and told him we made a mistake. So,
           there- there are- you- you haven't gotten anything, which is good because
           you're on board of getting everything accepted. There's been no issues.
AZ:         Ok.
RS:        Well, you would've already gotten a letter with it-
BZ:        [OV] Ok.
RS:         [OV] -with all these other- there- there like 30 kids who got the wrong letter.
           So you're not one of em, which is great.
AZ:         I can't even imagine how much anxiety that was.
RS:          Well, but at least they reversed it right away so that was good.
BZ:        [OV] So-
AZ:         That's good.
BZ:        Ok. Alright. So we- we'll know when you get that grade. Hopefully we get it
           this week and if not then we won't know until the end of the month. So she's
           not gunna know for at least a week to-
RS:          [OV] -two weeks.
BZ:         [OV] -sometime in mid July.
RS:         Well a couple weeks.
BZ:         Right.
RS:         By the end of this month, that's our goal.
BZ:         Ok.
AZ:         I just want to make sure that you know that my- my grades for Rio Salado
           have not been sent, any of them because of the one class.
RS:         Because when we do then there- all that'll be on there.
AZ:        Yea.
RS:         That's why we want it all at one time.
AZ:        Yea. Ok.
BZ:        Ok. Alright. So we have a plan. Mikaela if you can do the biology thing just
           makes sure it gets done as quickly as possible, so we have a backup plan for
           the conditional and then you do the best you can to overturn the art history
           and ah             you're just gunna have to trust the process. Rick do you think
                     should be thinking about a backup plan? Or are you highly confident
           this is gunna work out?
RS:        I mean I'm confident but yanno you never know what's gunna happen right?
           So, what would- if she had a backup plan what- where would you want to go?
           Or what would you want to do? Would you still-
AZ:         [OV] I mean I didn't apply anywhere anywhere else.
RS:         [OV] That's not, that's not-
AZ:         [OV] So I don't know where-
RS:         [OV] That's not the problem. I can handle [IA]. If you were would you go
           another semester to yanno like what we're doing or SMC or whatever it is-
           gunna go to a four year right now what school would you want to go to?
AZ:          I have no idea.
RS:         Ok, well think about it.
BZ:         [OV] If she doesn't get acceptance though. Does-
AZ:         [OV] Something I've got to think about.
BZ:         Isn't it highly unlikely she would get in to USC in the future, or is it not the
           case?
RS:         No, no, no. No, it just, we're time is- time is becoming. It's a matter of how
           many kids- the worse case scenario I'm gunna go to them and I'm gunna say
                                           6
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           listen they don't need housing, just take this as an admit, don't worry about
           the housing part of it, we'll cover that because that'll become after awhile we'll
           throw that back at me and I'll just say we don't need housing cuz right
           you're gunna stay with your sister?
AZ:         Yup. [IA] As long as I'm in the school
RS:         Right, right, right.
AZ:        I don't care where I live. [Laughing]
RS:         But that's- that's what they'll throw back at me Bob, and I'll just say don't
           worry about it we got that covered just admit her. I got the- I don't need a I
           don't need a spot.
BZ:         Ok. Alright. So              I think you should go with your sister to Europe, relax
           don't worry about it, and we'll just be patient and trust that this works out.
AZ:         Ok.
BZ:        Ok? Alright. Thank you guys.
AZ:         [OV] Mikaela I'll keep in touch with you. Thank you so much Rick.
RS:         Ok guys.
BZ:         [OV] Ok, thank you.
RS:        [OV] Take care.
MS:          [OV] Ok,            I'll touch base with you later.
BZ:        [OV] Ok, bye.




                                            7
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     Exhibit OO
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       Exhibit PP
  From:
                   Case 1:19-cr-10080-NMG
                         Rick Singer
                                          Document 1066-1 Filed 04/08/20 Page 174 of 387
  To:
  CC:
  Sent:                    9/20/2018 2:16:32 PM
  Subject:                 Re: Invoices



Reference Women's Athletics Donation

Sent from my iPhone

On Sep 20, 2018, at 10:58 AM,                                                   wrote:

 Hi Rick, do I need to referenece anything for the check to USC or just write donation on it? I am sending today and also wire for
 200K


 From: Rick Singer
 Sent: Monday, September 17, 2018 3:39 PM
 To:
 Subject: Re: Invoices

         did you send an invoice for 200K donation to Bob Zangrillo through                ?

       also a check for 50K goes to

 USC Women's Athletics
 c/o of Sr Women's Administrator Donna Heinel



 On Mon, Sep 17, 2018 at 3:02 PM                                        > wrote:
 Hi Rick, Bob mentioned an invoice you were going to send me, Only have one, he mentioned another
 Thx
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  Exhibit PP-1
  From:
                  Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 176 of 387

  To:                     Bob Zangrillo
  Sent:                   9/5/2018 11:13:46 AM
  Subject:                Re: Invoice for The Key Worldwide Foundation




If it is donation, can it be deductible and go directly to USC?

On Sep 5, 2018, at 8:10 AM, Bob Zangrillo                         > wrote:

Let discuss


DRAGON | GLOBAL
Robert Zangrillo
Chairman & CEO




NOTICE TO RECIPIENT: This communication (including any attachments) is intended solely for the recipient(s) named
above and may contain information that is confidential, privileged or legally protected. Any unauthorized use or
dissemination of this communication is strictly prohibited. If you have received this communication in error, please
immediately notify the sender by return e-mail message and delete all copies of the original communication. Thank you for
your cooperation

Begin forwarded message:

From:
Date: August 29, 2018 at 12:55:28 PM PDT
To: "
Cc:
Subject: Invoice for The Key Worldwide Foundation

 Bob,
 Please see attached invoice from The Key Worldwide Foundation. Feel free to contact us with any questions.
 Thanks!




 <image001.jpg>




 <KeyWWF-BobZangrilloDonationInv-082918.pdf>
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     Exhibit QQ
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 178 of 387
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      Exhibit RR
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 PAGEBREAK I NSERT

 <<< TRN :                   >>>
 ** * * ME SSAGE ENVE LOPE ****           ( Ba n k    121 )
                                                       SND DATE : 18/09/20
 SRC : FED CALLER :                                    EXT :
 RPT#     AMT : 200 , 000 . 00              CUR : US D RATE: 1 .              TRDR#
 TEST: VAL :                       TYP:FTR/          FNDS : S CHG:DB: W CD: A COM: N
 CBL : N
 DBT                                     CDT
 ADV : LTR
 DEBIT VAL : 18/09/20 CTYP               CRE DI T VAL : 18/09/20 CTYP
 AMT : 200, 000 . 00 CUR : USD           AMT : 200, 000 . 00 CUR : US D
 GL RECON :                              GL RECON :
 DEPT :                                  DEPT :
 J PMORGAN CHASE BANK , N. A.            THE KE Y WORLDWI DE FOUNDATION


                                          COUNTRY OF RESI DENCY : US
 COUNTRY OF RES I DENCY : US              BNF: /                              CHG:
 BK?N
 SPECI AL I NS TRUCT I ONS :              THE KE Y WORLDWI DE FOUNDATION
 I F I NVALI D SWI FT I N ORDER BNK FI ELD
 *REMOVE S . EXAMPLES SBARNSHR,
 *FI DLNFSC , PRUSECUR, FCNBDLS200 3 ORIG TO BNF I NFO:
 SN DR REF NUM:1                           DONAT I ON
 ORIG : /
 ROBERT L . ZANGRILLO


 REF NUM: OSl OF 18/09/ 20
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        Exhibit SS
            Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 182 of 387

From:          Marci Palatella [/O=FIRST ORGANIZATION/OU=FIRST ADMINISTRATIVE GROUP/CN=RECIPIENTS/CN=MARCI]
Sent:          3/14/2016 7:20:31 AM
To:            Rick Singer
BCC:           Marci Palatella
Subject:       Re: Have you seen this? My cousin's wife's family.



This is a conversation I'd really like to have with you. We need to get our chess board set up now ... He says he wants to
go away but doesn't realize he would not see us more being closer, like at Santa Clara. But Santa Clara has no football.
Rick, his dr tells
me         won't get bigger. I worry as a guard he'll get hurt at a big Dl school.
(Jewish mom). He works twice as hard to get grades. Right now he has
4 B+, a C+, and a D+ in math which he will bring up.

Money, for the right environment,
Yes. But he can never know. We'd do it anonymously. What would that look like and where would be his options? We
have friends who underwrite an athletic year or a chair. What schools can we look at?

Do you have any time to talk today?

Marci Palatella

On Mar 14, 2016, at 7:07 AM, Rick Singer                           wrote:

All of those special and unique things we can grow and embellish for his apps.

The question is where do you want him to go to school?

Do you want him close? Far away? Small school where he has a chance to play football at a D3 school? Do we have
attend a Dl school where he is a part of the team as a manager or player but never plays?

Are you willing to make a contribution of several hundred thousand as a donation to get him in as a participant in
someone's program?

Sent from my iPhone

On Mar 13, 2016, at 11:44 PM, Marci Palatella                                wrote:

Yup. He needs a place to shine on applications.        has raised money for years for his brother's special needs camp just
because he wanted to help them. ( like since he was 10!) He has been passionate about those kids but can't express it
well. He's obsessed with and very good at football but not training off season.
We are building a distillery and he's very interested in getting involved in that. And we have vineyards and opportunities
there he likes too. But what's his hook for school?? He rarely tests well but gets A's on his homework and class
work. And he has generous parents. But he needs his own hook.

Rick, I stress daily about this. Need to plan now before next year. Can you help get him positioned? o??lll

Marci

On Mar 13, 2016, at 11:35 PM, Rick Singer                           wrote:

Gotcha- time to strategize

Sent from my iPhone




                                                                                                                  ALI_0006975

                                                                                                   VB-RECORDS-GO 174073
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On Mar 13, 2016, at 8:37 PM, Marci Palatella                                   wrote:

Now ita??s my turn to agree. Need you to strategize with me as my husband is not into this at all. I need guidance and
then you will have to help present this and get a commitment. Moma?: is a loser and could not possibly know whata??s
right!

Let me know, ok? I need help


From: Rick Singer [ma ilto:
Sent: Sunday, March 13, 2016 3:44 AM
To: Marci Palatella
Subject: Re: Have you seen this? My cousin's wife's family.


Agreed. Boys are slower that is why pushing into the next growth spot may have to be the strategy instead of allowing
he to decide

Sent from my iPhone

On Mar 12, 2016, at 11:16 PM, Marci Palatella                                   wrote:

Rick I worry that he does not yet have that drive unless it's for football; he's young for his age. I think the discipline of
Krav Maga would be fabulous!

Marci Palatella

On Mar 12, 2016, at 9:59 PM, Rick Singer                              wrote:

Krav Maga has levels -1-5. Yes I am a 4-       would trim down with Krav

Sent from my iPhone

On Mar 12, 2016, at 9:32 PM, Marci Palatella                                   wrote:

I have heard that, but the new facility is in LA. Hea??s really a??huskya?lll which worries me to death . SOMETHING
would be great!

I hear from        Oa??       that youa??re a black belt or that equ ivalent?


From: Rick Singer [ma ilto:
Sent: Saturday, March 12, 2016 9:16 PM
To: Marci Palatella
Subject: Re: Have you seen this? My cousin's wife's family.


It is awesome training-       should try it

Sent from my iPhone

On Mar 12, 2016, at 9:12 PM, Marci Palatella                                   wrote:

They have been doing this many years, apparently training military and police forces.
But youa??d know if they were in the inner circle! I have no idea but thought of you when I saw this.




                                                                                                                      ALI_0006976

                                                                                                       VB-RECORDS-GO 17407 4
              Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 184 of 387
Have a great weekend


From: Rick Singer [ma ilto :
Sent: Saturday, March 12, 2016 9:10 PM
To: Marci Palatella
Subject: Re: Have you seen this? My cousin's wife's family.


Smart move if they get the master to run it from Santa Monica. He is the Israeli commando

Sent from my iPhone

On Mar 12, 2016, at 9:06 PM, Marci Palatella                           wrote:

<i m ageOOl .j pg>




                                                                                                     ALI_0006977

                                                                                            VB-RECORDS-0017 4075
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      Exhibit TT
            Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 186 of 387

From:             Marci Pal atel Ia
Sent:             Monday, October 3, 2016 10:43 AM
To:               Rick Singer
Subject:          Re: re schools, please reply



••••
Marci Palatella

On Oct 3, 2016, at 7:32 AM, Rick Singer                                wrote:

      I got it covered no worries on the story for

      Sent from my iPhone

      On Oct 3, 2016, at 9:31 AM, Marci Palatella                                > wrote:

            Ok, got it.

            Is it going to hurt that he took this year off? He's played non stop for 6 years. His dad
            has been ill and overall it's all just been too much for him. He was one of only 4
            players moved up to Varsity as a sophomore. Should he go back now this season or
            can he go back as a senior??

            Marci Palatella

            On Oct 3, 2016, at 2:05 AM, Rick Singer                               > wrote:

                   He needs to get in through Football so my relationship at that level gives
                        a shot since that is the sport with the lowest grades. Notre Dame and
                   Vandy lowest football players are 3.4 and have to be big time players.
                   Cannot hide him there.

                   Sent from my iPhone

                   On Oct 3, 2016, at 1:59 AM, Marci Palatella <                                >
                   wrote:

                          Yes,       being happy and loving school is critical. His high
                          school is so demanding that our head of school told me that
                          ANY school he goes to will be easier than this, and he knows
                          us well.
                          Hear you on the ones that are a total NO. Won't ask about
                          those again.

                          You know that         took a year off football this year and says
                          he just needed a break and will play next year. So given that,
                          and they he's not the team's star but a good solid player,
                          would he really still have an athletic edge?         is a natural ,
                          but he's gotten the message that he is not big enough for
                          college football. I think that's one of the reasons he dropped
                          out. (And his dad pressured him about his weight and
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         was very upset)

         How would he have an athletic edge at a bigger name school
         given the other players are huge?

          I'm trying to put together a realistic list and narrow down
          which schools to see, which to keep in our conversation.


         The UCs, really??? UCLA he loved ( half of our family went
         there it is there) but that's a pipe dream isn't it?

         And Notre Dame and Vandy, average grades and generosity
         won't do it? How would a UCLA or Cal take us?

               s former trainer at home, a wonderful guy, is one of the
          head football trainers at CAL but how would anyone know
          about him at any of these schools? He doesn't have a
          marketing video!

         Thanks,
         Marci




         Marci Palatella

          On Oct 2, 2016, at 10:59 PM, Rick Singer
          <                      > wrote:
                First and foremost is the health of     in and out
                of the classroom. The default is     will have a
                tutor 4 days a week for 2 hours and on Sunday's.

                Several of the school's besides being very
                difficult to get in are a grind and there are no easy
                classes.

                Those schools are - Hopkins, Mellon, Duke.

                No matter the board member you know the
                grades and very good/solid scores will not get
                him in unless you anti in the many millions.

                The only way in is through athletics due to the
                leeway given to athletes.

                Possibilities

                USC, Boston College, U Miami, Tulane, SMU,
                Texas AM, U Washington, UC Berkeley, UC
                Santa Barbara, UC Davis, UCLA, Wake Forest,
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              Vill anova, Indiana, Santa Clara, U San Diego

              NotreDame, Vandy- too tough on acceptance of
              athletes

              Sent from my iPhone

              On Oct 3, 2016, at 12:16 AM, Marci Palatella
              <                        > wrote:



                    Hi Rick,

                    I am starting to plan our early
                    2016 college trips now. Some
                    we may be able to hit on a few
                    weekends before then, so I
                    want to make sure and get
                    together a realistic list.
                    IF       had a B average, and
                    SAT scores that you can guess
                    at (I' m assuming fa irly
                    accurately). Which of these
                    would be actual possibles for
                    him if we were also
                    "generous"?
                    And what and where am I
                    missing?

                    See below:

                    USC
                    Boston College
                    Notre Dame
                    Vanderbilt
                    Wake Forest
                    Johns Hopkins
                    Carlegie Melon
                    Duke

                    Wisconson (one of our dear
                    friends is on the board but he' s
                    also ve ry uptight and I don't
                    want to say anything unl ess
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 189 of 387

                        is set on it)
                   SMU
                   Santa Clara (we also have some
                   juice there)
                   Purdue?

                   This much be the most insane
                   part of your job, the neurotic
                   parents!! Please just put a
                   note next to each.

                   Thanks!!
                   Marci




                   Safety Schools:
                   University of Kentucky (It's one
                   of the only places he's ever
                   been so he talks about it!! But
                   he needs to see many before
                   deciding what feels right)
                   University of Oregon
                   University of Louisville (No idea
                   what this is like, but he looked
                   at it on line)
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      Exhibit UU
  From:
                   Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 191 of 387
  To:
  Sent:                   1/2/2018 6:56:38 PM
  Subject:                Re: gift posted



﻿Thanks

Sent from my iPhone

On Jan 2, 2018, at 3:55 PM,                                            wrote:

 Hi Donna,

 Saw a few more:

 Mrs. Marci Palatella posted $100,000 on 12/18/17 to Women’s Athletic Board Fund #



 And

 Mossimo Giannulli Trust $50,000 on 12/18/17 to same account




 From: Donna Heinel
Sent: Tuesday, January 02, 2018 1:58 PM
To:
Cc:
Subject: Re: gift posted

 Thanks!

 Sent from my iPhone
 On Jan 2, 2018, at 1:56 PM,                                             wrote:

 Hi Donna,

 A gift of $50,000 recently posted on 12/20/17 towards the USC Women’s Athletics Fund account #   from:
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      Exhibit VV
               Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 193 of 387

From:           Marci Palatella
Sent:           3/7/2017 8:38:25 AM
To:
Subject:        Donation
Attachments:    lnv_1131_from_The_Key_Worldwide_Foundation_7144.pdf; ATTOOOOl.txt



        please discuss with me and pay today.




                                                                                             ALI_0010433

                                                                                    VB-RECORDS-00177531
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      The Key Worldwide Foundation                                                             Invoice
                                                                                   Date                Invoice#

                                                                                  3/7/2017               1131




         Bill To
      Allied Lamar




                                                 Description                                 Amount

Private Contribution - Letter of receipt will be provided upon payment.                                 75 ,000.00


Wire Instructions: The Key Worldwide Foundation

Routing #:

Account #:

Swift Code:

Bank Information: US Bank,




                               501c3 FEIN                                 Total                        $75,000.00




                                                                                                      ALI_0010434

                                                                                  VB-RECORDS-00177532
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Ma r c i Pa l ate l la




                                                                                   ALI_001 0435

                                                                      VB-RECORDS-GO 177533
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   Exhibit WW
             Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 197 of 387

From:         Rick Singer
Sent:         3/14/2016 3:02:42 PM
To :          Marci Palatella
Subject:      Re: Let me know ASAP if "possibles"



Georgetown BC may be over lm others as stated-

Sent from my iPhone

> on Mar 14, 2016, at 2:57 PM, Marci Palatella                                 wrote:
>
> 3 parts:
>
> 1)      has to be happy and able to compete while there. AGREE
> 2) For each school, the approximate number it would take to get in there
> 3) so for each, what's a realistic possible, and what's the number for those
>
> When we spoke, $300-400 was one level,            and the second level was $750-lm
>
> can you clarify?     He has to be happy and able to be part of a group where he's a fit.
>
> :)    Waiting to hear
>
>
>
>
>
>
>
>
> -----original Message-----
> From: Rick Singer [mailto:
> Sent: Monday, March 14, 2016 1:00 PM
> To: Marci Palatella
> subject: Re: Let me know ASAP if "possibles"
>
> First issue is competing when he is there which is my first concern.
> Second is the number it would take to get admitted even with the fudging of the scores.
>
> I will reply based on you making the appropriate donation
>
> Sent from my iPhone
>
>> on Mar 14, 2016, at 11:50 AM, Marci Palatella                                 wrote:
>>
>> Be honest!
>> l.Good possible
>> 2.Slight chance
>> 3.Smoking crack
>>
>> Vi 11 a Nova
>> Texas A&M-75 percent
>> Occidental - 50 percent
>> Georgetown- 75 percent -significant large donation
>> USC- 75 percent - large but not significant Cornell-zero
>>Vanderbilt-zero
>> Tulane- 75 percent
>> Boston college- significant large donation old Miss-90 percent
>> SMU- 75 large donation
>> Duke-zero
>> Notre Dame- 50 percent but will send him to ST Marys in Indiana then
>> transfer in with significant donation
>>Rutgers-bad school
>>
>>
>> Marci Palatella




                                                                                                   ALI_0000123

                                                                                          VB-RECORDS-00167221
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 198 of 387




      Exhibit XX
           Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 199 of 387

From:
Sent:           Monday, March 20, 2017 11 :48 AM
To:
Subject:


Homa, Rick Singer, please let me know if you want to speak or if you have decision one way or another as I
must act quickly. Thx I started to speak with my daughter this morning. She became extremely upset as to why I
am pressuring her to make a decision on the spot. I am having a real hard time. I made arrangement to have one
of our friends with whom she has great rapport to speak with her today. Right now my daughter is over at her
house. I am just having a real hard time. Is there any way to delay the decision for a few days. Kids become
rebellious when they are forced and tend to do opposite of what is suggested to them by parents. I advise other
people's kids for my living, but with my own kids, they shut down when I try to talk with them. I have never
forced them into anything so there is no reason for that. I am just wondering if you can give me a little time so
that we can approach my daughter in a way that is more conducive. I really appreciate what you have done. I
can ask tomorrow but my guess is the answer will be no. Since the funds have been transmitted I need to cover
myself If they say no then I need to pull the trigger then. Please keep me abreast tonight. It sounds as though
USC is not important to her so I would let it go. It will hurt my relationship with my folks but I will beg my way
out of it hopefully We had a rough day yesterday with much of going to her room and shutting the door. Her
concerns have been feeling that she did not get in on her own merits. I have not shared anything about our
arrangement but she somehow senses it. She's concerned that others may view her differently Also because I
work there, she's concerned that she is not as independent She has not given a definitive answer but keeps
saying that it seems like I have no choice I take it as yes I'm sure you have experience with many teens
behaving in this way and many of my colleagues' kids had also refused to go to USC             does recognize what
an amazing school this is. I will go with our arrangement. However I don't have $1 OOk of cash. You had
previously told me that half was now to USC and I was going to put on card and you said half wad in the fall. In
our phone conversation, you mentioned that I can pay you over 6 months. If so. I can provide you each month a
check Thank you for your response. I am flying home as I write from Chicago. Yes I have seen kids like
push back. What she has to come to grips with is that receiving help with USC is a gift because of your
dedication and work for many many years. One day when               is done with her education she may come to you
and your wife or friends of yours to help get a job or interview because of how competitive the marketplace is
today. Another aspect of the admission to USC is that she can definitely do the work but the barrier to entry is
so difficult. She will compete quite well because of the foundation created and developed at Viewpoint. As for
payment- the money will be deposited in the next day or two. My foundation sent the money as requested.
Normally the first 50k is sent immediately after acceptance and before the final letter is received. Then the next
portion is sent soon after the final letter is provided. Since both are happening on top of each other I sent the
monies to my contact as a donation so there is no conflict internally because you are designated as a giver
through another department but that was not the group who helped. The group helping wants the credit and
funds so it is cleaner through me. Yes I agree that you can make the 1OOk payment over the next 6 months
starting April 1st. You can send to my foundation as a donation/write off or if you have your own company we
can invoice you as a business consulting fee from our profit business and you write off as an expense. If you
want to complete the transaction by credit card that is fine too. I just need you to designate, which path do you
want to be invoiced. Please let me know? Final acceptance will come in the next 10 days or so.
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      Exhibit YY
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 201 of 387
                  2018-10-25 19-48-37 10726-001                     Page 1


1    Call Date: 2018-10-25

2    Call Duration: 3:09

3    Call Begin [ ] Call End [ ]

4    Call Participants:

5         Rick Singer

6         Robert Zangrillo

7    File Name:               2018-10-25 19-48-37 10726-001

8    Bates No.:

9

10   SINGER:    [00:00] Bob, how are you?

11   ZANGRILLO:        Hey, Rick, how are you?

12   SINGER:    Good, I just wanted to touch base and see how things

13        are going.

14   ZANGRILLO:        Uh.

15   SINGER:    (inaudible) good?

16   ZANGRILLO:        Uh, you know, work in progress (inaudible).

17   SINGER:    Does it ever end for you?

18   ZANGRILLO:        No, it does not ever end.     As long as you

19        aren’t calling me saying there’s any drama.         Just make

20        sure that all of, uh,          ’s (sp?) work is getting done

21        (inaudible).

22   SINGER:    Absolutely.

23   ZANGRILLO:        OK, yeah (inaudible).
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 202 of 387
                   2018-10-25 19-48-37 10726-001                     Page 2


1    SINGER:      (inaudible) all of the -- all the work we’re doing

2         for          right now (inaudible) getting done absolutely

3         (inaudible).

4    ZANGRILLO:           OK, great, that’s the only thing I was worried

5         about.                (sp?) is good, she -- she took a semester

6         off.     She’s working here in Miami.        And as she’s doing

7         great she’s, you know, going to graduate close to 4.0.

8         And (inaudible).

9    SINGER:      Good.

10   ZANGRILLO:           Looking for a place so that she’s, uh, ready to

11        start in January.

12   SINGER:      OK, good, because I know that the classes that

13        Mikaela took for her in, uh, uh, d-- at the beginning of

14        the year [01:00] when she left Santa Monica and now these

15        classes, uh, everything will be perfect.           So we’ll have

16        no issues.

17   ZANGRILLO:           Awesome.   Awesome.   Is there anything else you

18        need?

19   SINGER:      Yeah.     The only other thing I just want you to know

20        is that so my foundation is being, uh, audited now.

21   ZANGRILLO:           OK.

22   SINGER:      Like every foundation.        And we got hundreds of

23        families that have been through our foundation.

24   ZANGRILLO:           Yeah.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 203 of 387
                  2018-10-25 19-48-37 10726-001                     Page 3


1    SINGER:    So I just wanted to make sure that you know that I’m

2         not going to t--, uh, tell the IRS that essentially we

3         got         in and -- and essentially paid Donna Heinel

4         (sp?) at USC to help           get in.    We’re not even going

5         to talk about that.     All I’m going to say to the IRS is

6         that, uh, essentially the moneys that you paid, uh, all

7         went to, uh, our foundation.

8    ZANGRILLO:       Yeah.

9    SINGER:    And because essentially they’re also looking at -- I

10        think we have a total payments of over 500,000 --

11   ZANGRILLO:       Mm-hmm.

12   SINGER:    Which would have -- would have -- would have

13        included, uh, early on with, uh,             and NYU.

14   ZANGRILLO:       Yeah, yeah, yeah.

15   SINGER:    So I’m just going to say that, you know, [02:00] n--

16        nothing really happened, uh, from that perspective.

17        Essentially that she d-- that             didn’t get in NYU and

18        no payment was made to my contact at NYU --

19   ZANGRILLO:       Mm-hmm.

20   SINGER:    Which we know it was.

21   ZANGRILLO:       Right.

22   SINGER:    Uh, and then we -- and then           ’s, I won’t say

23        that the, uh, the moneys went to go pay Donna Heinel
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 204 of 387
                   2018-10-25 19-48-37 10726-001                    Page 4


1         (sp?) for USC to get her in.        And the other part is when

2         (inaudible) audit --

3    ZANGRILLO:         What -- what -- what -- what -- what will be

4         the thing -- what was the             payment for?   Just so I

5         know so we have the story straight.

6    SINGER:      So the         payment is all the same thing.     All

7         your moneys including the classes that Mikaela took for -

8         -

9    ZANGRILLO:         Yeah, yeah.

10   SINGER:      Uh,         , all will show they’re f-- to our

11        foundation.

12   ZANGRILLO:         Yeah.

13   SINGER:      And will all show that she, uh, that they were given

14        to -- for, uh, our programs that handle underserved kids.

15   ZANGRILLO:         OK, great, perfect.

16   SINGER:      OK?

17   ZANGRILLO:         OK, I got it.

18   SINGER:      I just want to make sure that we’re on the same

19        page.     Uh, they may never call but just so you know

20        (inaudible).

21   ZANGRILLO:         Yeah, OK, just in case they do.

22   SINGER:      Yeah, because I’m -- I’m in Boston now.

23   ZANGRILLO:         OK.
    Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 205 of 387
                  2018-10-25 19-48-37 10726-001                    Page 5


1   SINGER:      And I haven’t been back to LA for a while so I just

2        want to make sure I [03:00] connected before it got too

3        late.

4   ZANGRILLO:       OK, perfect.     Thank you, Rick.

5   SINGER:      All right, take care.

6   ZANGRILLO:       OK, bye.

7   SINGER:      OK, bye-bye.    [03:09]

8

9                               END OF AUDIO FILE
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      Exhibit ZZ
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 207 of 387
                   2018-10-25 13-17-38 10670-001                    Page 1


1    Call Date:     2018-10-25

2    Call Duration:        2:13

3    Call Begin [          ] Call End [        ]

4    Call Participants:

5         Mossimo Giannulli

6         Rick Singer

7    File Name:                   2018-10-25 13-17-38 10670-001

8    Bates No:

9

10   SINGER:      [00:00] Moss.    How are ya?

11   GIANNULLI:           Uh, good, pal.    How are you doin’?

12   SINGER:      Uh...    How’s your business?

13   GIANNULLI:           Uh, it’s unbelievable.

14   SINGER:      Tell me about it.

15   GIANNULLI:           It’s goin’ just fantastic.   Uh, I sold half of

16        it to                        And, uh --

17   SINGER:      Oh, did ya?

18   GIANNULLI:           -- yeah -- and it’s just -- we’re just scaling

19        now.    It’s just been fantastic.

20   SINGER:      Well, congratulations.      It’s awesome.

21   GIANNULLI:           Thank you.   And the girls are absolutely loving

22        SC.

23   SINGER:      That’s what you want, ri--?

24   GIANNULLI:           Yeah.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 208 of 387
                  2018-10-25 13-17-38 10670-001                       Page 2


1    SINGER:    Every dad wants that.

2    GIANNULLI:       Yeah.    So.    And          ’s is really flourishing

3         too, which is nice.        So I’m really happy for her.

4    SINGER:    No, that’s fabulous.         So.   So I’m -- I’m calling,

5         uh, ’cause I just want to make sure you’re -- give you a

6         heads-up that...      So my foundation is being audited --

7    GIANNULLI:       OK.

8    SINGER:    -- which, as you know, is normal.

9    GIANNULLI:       Yeah.

10   SINGER:    And so they’re looking at all the payments.           So they

11        -- they asked me about your 2 payments of 200,000.

12   GIANNULLI:       [01:00] Uh...

13   SINGER:    And, of course, I’m not gonna say anything about

14        your payments goin’ to Donna Heinel at USC to get the

15        girls into USC, through crew.            So --

16   GIANNULLI:       Sure.

17   SINGER:    -- that’s for sure.

18   GIANNULLI:       Right.

19   SINGER:    But what’s funny...         It’s funny.    Because Donna

20        called me couple weeks ago and says, “Hey, uh,” you know,

21        “going forward, can you use the same format you used for

22                             , and the regattas that you put in there,

23        for any girls, going forward, that don’t row crew?”              So

24        it’s funny how...      I thought I was just makin’ stuff up.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 209 of 387
                  2018-10-25 13-17-38 10670-001                     Page 3


1    GIANNULLI:       Uh, right.    Uh...

2    SINGER:    Uh, but -- but they loved it, love--

3    GIANNULLI:       Uh, right.    Perfect.

4    SINGER:    So I just want to make sure our stories are the

5         same, because --

6    GIANNULLI:       Yeah.

7    SINGER:    -- an th-- and that your 400K was paid to our

8         foundation to help underserved kids.

9    GIANNULLI:       Uh, perfect.

10   SINGER:    OK?   So I just want to make sure that we’re on the

11        same page, in case...

12   GIANNULLI:       Uh...

13   SINGER:    Who knows if they’ll call or they [02:00] don’t.

14   GIANNULLI:       Perfect.     Got it.

15   SINGER:    OK.

16   GIANNULLI:       Uh...

17   SINGER:    And congratulations to the girls and --

18   GIANNULLI:       Thank you.

19   SINGER:    -- on your business.

20   GIANNULLI:       Thank you.    Thanks, pal.

21   SINGER:    A--

22   GIANNULLI:       We’ll talk to you.

23   SINGER:    OK.

24   GIANNULLI:       OK.
    Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 210 of 387
                 2018-10-25 13-17-38 10670-001                     Page 4


1   SINGER:    Take care.    Uh...

2   GIANNULLI:       Uh...

3   SINGER:    Buh-bye.     [02:13]

4

5                             END OF AUDIO FILE
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  Exhibit AAA
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 212 of 387
                   2018-11-29 17-39-37 12374-001                      Page 1


1    Call Date:         11/29/2018

2    Call Duration: 04:13

3    Call Begin [] Call End []

4    Call Participants:

5         Rick Singer

6         Laurie

7    File Name:                      2018-11-29 17-39-37 12374-001

8    Bates No.:

9

10   LAURIE _: [00:00] Hello?

11   SINGER:    Laurie (sp?), it's Rick Singer.       How are you?

12   LAURIE _: I'm good, Rick, how are you?

13   SINGER:    Good.    The girls good?

14   LAURIE _: They're really good.       They love USC.    They're really

15        happy.

16   SINGER:    And are you on -- onsite, on -- whatev-- whatever --

17        um, filming now?       Are you at home?

18   LAURIE _: I'm at home right now actually.

19   SINGER:    Awesome.    Awesome.

20   LAURIE _: Yeah.     Yeah.

21   SINGER:    So I had -- I had talked to Moss (sp?) a couple, uh,

22        weeks ago that we were getting audited --

23   LAURIE _: Uh-huh.

24   SINGER:    -- our foundation.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 213 of 387
                 2018-11-29 17-39-37 12374-001                        Page 2


1    LAURIE _: Uh-huh.

2    SINGER:    So I -- I just -- and I'm -- I just tried reaching

3         out to -- so what I wanted to try to do is just make sure

4         that you guys know they went through all my -- a bunch of

5         folks and they're going to make calls to several families

6         and it looks like you guys are going to be one of those.

7         There'll probably be 8 or 9 that they're going to call.

8    LAURIE _: [01:00] OK.

9    SINGER:    Because they had this question about why did my

10        foundation get $200,000 2 consecutive years and then

11        nothing after that.     So I just want to make sure that you

12        know that, one, that you're probably going to get a call

13        and that I have not told them anything about the girls

14        going through the side door, through crew, even though

15        they didn't do crew to get into USC.        So I -- that is --

16        all I told them was that you guys made a donation to our

17        foundation to help underserved kids.

18   LAURIE _: Um-hmm.

19   SINGER:    And that's why you guys have done it.        And lots of

20        people don't make successive donations going forward.

21   LAURIE _: OK.    But I-- I'm confused.     But we -- so we made 2

22        donations 2 years in a row and so what are they

23        questioning?
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 214 of 387
                   2018-11-29 17-39-37 12374-001                      Page 3


1    SINGER:      They're -- so they're questioning all -- they're

2         looking at all of my donations to my foundation.          [02:00]

3         OK?

4    LAURIE _: OK, uh-huh.

5    SINGER:      And so they went through everybody's and they

6         started looking at everybody and saying, "OK, why these

7         guys?    Why did these guys?     Who did these guys fund?      Why

8         did they do -- why did they do?"       So we went through

9         everybody --

10   LAURIE _: Um-hmm.

11   SINGER:      -- and they just picked out 10, 12 people and said,

12        "Hey, we're just going to follow-up with these folks and

13        ask them why they made a donation to your program," to

14        our foundation.

15   LAURIE _: Right.

16   SINGER:      So I said that's fine.    I said, "Can you give me

17        some idea of who those people are?"

18   LAURIE _: Right.

19   SINGER:      And your -- your guys were one of them.      And I said,

20        "Well, this is very clean.       They made a donation to our

21        foundation for underserved kids.       They're a great family.

22        They've been doing work all over LA.        Their kids are very

23        engaged in LA and I don't know why you guys think that

24        this is weird."     And they said, "It's not that we think
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 215 of 387
                   2018-11-29 17-39-37 12374-001                      Page 4


1         it's weird.    We just want to follow-up as part of our

2         audit."    They're driving me crazy so far.       So I --

3    LAURIE _: Who's -- who's auditing you?

4    SINGER:    The IRS.

5    LAURIE _: [03:00]     Oh, OK.

6    SINGER:    Right.   The IRS audits foun-- large foundations and

7         we have so much money in our foundation and we give away

8         so much money they're -- they want to -- you know,

9         they're always worried about things going on in

10        foundations.

11   LAURIE _: I see.

12   SINGER:    So what I -- what I wa-- I told Moss already and I

13        wanted to make sure that you knew, as well, if they

14        happened to call you, is that nothing has been said about

15        the girls, um, your donations helping the girls get into

16        USC to do --

17   LAURIE _: OK.

18   SINGER:    -- crew even though they didn't do crew.         SO nothing

19        like that has been ever mentioned.

20   LAURIE _: (inaudible).

21   SINGER:    If you ever -- ever were to say anything.

22   LAURIE _: So we -- so we just -- so we just have to say we

23        made a donation to your foundation and that's it, end of

24        story.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 216 of 387
                 2018-11-29 17-39-37 12374-001                         Page 5


1    SINGER:    That is correct.

2    LAURIE _: OK.

3    SINGER:    Terrific.

4    LAURIE _: OK.

5    SINGER:    I just wanted to make sure I touched base because I

6         didn't want you --

7    LAURIE _: Yeah.

8    SINGER:    -- to all of a sudden what -- like what's this call

9         coming from.

10   LAURIE _: OK, yeah.     OK.    Totally.   All right.   So -- so

11        that's it.    So it's -- it's the IRS.      It's not anyone

12        from USC, it's the IRS.

13   SINGER:    [04:00] That is correct.

14   LAURIE _: OK.     Very good.

15   SINGER:    OK.

16   LAURIE _: All right.

17   SINGER:    All the best.

18   LAURIE _: All right.     Thank you, Rick.     Happy holidays.

19   SINGER:    You, too.    Take care.

20   LAURIE _: OK, thanks.

21   SINGER:    OK.    Bye-bye.

22   LAURIE _: Bye.    [04:13]

23

24                             END OF AUDIO FILE
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   Exhibit BBB
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 218 of 387
     10_24_2018 10 28 39                                              Page 1


1    Call Date:   2018-10-24

2    Call Duration:    11:17

3    Call Begin [     ] Call End [     ]

4

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11

12

13   File Name:   10_24_2018 10 28 39

14   Bates No.:

15

16   [00:00]

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24
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 219 of 387
     10_24_2018 10 28 39                                              Page 2


1

2

3

4    (phone ringing)        [01:00]

5    M1:   Rick, you there?

6    SINGER:       I’m here.    How are ya, Bill?

7    M1:   Oh, hey, sorry about that.      My, my bad cell coverage

8          there for a minute.

9    SINGER:       No problem.

10   M1:   I’m good.

11   SINGER:       No problem.

12   M1:   So what’s goin’ on?

13   SINGER:       So --

14   M1:   I’ve been feelin’ bad for ya.

15   SINGER:       Well, I wanted to apologize yes-- for, you know,

16         screwin’ up our meeting, so I apologize.        I essentially

17         flew up to Sacramento yesterday, and I’m super happy I

18         did, ’cause I got a chance to meet with my old attorney,

19                         --

20   M1:   Uh-huh.

21   SINGER:       -- a-and he talked me off the ledge, because, as you

22         know -- as you could tell by my call the other day, I was

23         on the ledge.

24   M1:   Yeah.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 220 of 387
     10_24_2018 10 28 39                                              Page 3


1    SINGER:    Um, he told me that I was overreacting a little bit

2          because, um...    So I just wanted to make sure that we

3          talked, and, uh, you kinda knew what was goin’ on.         And

4          since I respect your opinion, I just wanted to get an --

5          your opinion of kinda what’s happened --

6    M1:   Mm-hmm.

7    SINGER:    -- so that, um -- because you have more experience

8          just in the world than I do.      So here --

9    M1:   Mm-hmm.

10   SINGER:    -- so here’s kinda what happened: [02:00] uh, Mark

11         Ridell (sp?), who is the -- my expert test-taker, who

12         took the test for            --

13   M1:   Mm-hmm.

14   SINGER:    -- at Igor School, West Hollywood College Prep, um,

15         he called me to meet at                      , you know, in

16         West Hollywood.    Have you ever been there?

17   M1:   Never.

18   SINGER:    OK.     Well, it’s a really cool place in West

19         Hollywood.    But he calls me, and he kinda comes out to LA

20         every once in a while, and he just had his, his first

21         child, so his in-laws live in LA, so he said, “Let’s meet

22         at                    .”   So anyway, so Mark starts talkin’

23         to me and tells me a story that he, he got interviewed by

24         the -- an IRS agent in Florida, because he lives in
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 221 of 387
     10_24_2018 10 28 39                                              Page 4


1          Bradenton, about the payments that he received from my

2          foundation.   And, as you know, when families pay for

3          either, either takin’ the test or goin’ through the side

4          door, all the money goes through my foundation, and then

5          I pay it out to whoever needs to get paid, like I did

6          for, you know,                        [03:00] test when he

7          took the test at West Hollywood College Prep.         So I paid

8          half of it to Mark and half of it to West Hollywood

9          College Prep through my foundation, so that the family

10         essentially has no connection back to what has happened.

11         So I asked Mark what he did with the agent, and what they

12         talked about, and he told me that he hasn’t been

13         declaring his payments from my foundation as income for

14         his taxes.    So apparently he’s been declaring all this

15         income as a gift, which was stupid.       But the agent said,

16         uh, “I’m really not so focused on Mark and your payments;

17         what I’m focused on is this foundation.”        And he kept

18         askin’ him questions about the foundation’s mission, what

19         they do, um, how they help underserved kids, so on and so

20         forth.    So, you know, since Mark does tutoring for us

21         [04:00] he told the agent that, you know, he works with

22         kids for us, i-- underserved kids in the Bradenton area.

23   M1:   Mm-hmm.
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1    SINGER:       So when he gets done speakin’, I kinda freak out,

2          right?    Because now I’m thinkin’, oh, shit, I’m in a --

3          I’m in a lot of trouble here, and the IRS has me wired.

4          Um, they probably have me -- you know, bugged my house,

5          the whole thing, because he’s talkin’ all about my

6          foundation, and, you know, he really wants to dive into

7          this.    So when I met with      , he told me, “Rick, hold

8          on.   Just relax.    Um, for them to get a wiretap on you,

9          it takes a, a bunch of months to happen, and you just

10         need to relax.”     So --

11   M1:   Mm-hmm.

12   SINGER:       -- you know, overnight I’m a lot less worried than I

13         was a couple days ago (laughs) when we talked, but I just

14         -- you know, I’m gonna use this phone, which is my son’s

15         phone, um, and I did it --

16   M1:   Mm-hmm.

17   SINGER:       -- for us to talk so that there are, you know, no

18         issues, just in case.

19   M1:   Yep, yep.

20   SINGER:       And [05:00] it’s, it’s real-- to be frank with you,

21         um, Bill, it’s really embarrassing, so I hope you’ll just

22         keep this between you and I.

23   M1:   Of course.    Well, I think -- I mean, the good news is --

24         I mean, from, from my personal perspective, is, is, uh,
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1          you know, we, we s-- sorta haven’t done anything yet,

2          which I’d prefer not to do in the context -- just t-till

3          it’s all cleared up exactly, you know, what the dynamic

4          is of the foundation.      I’d rather just sorta lay low.

5    SINGER:      OK.    So, so --

6    M1:   I mean, I -- it, it, it seem-- it seems like a better

7          idea, because, I mean, until you’re confident that...

8          Uh, m-my, my concern, obviously, is I’m trying to help my

9          son, but I don’t want to create a dynamic for him that’s,

10         that’s impossible --

11   SINGER:      Right.

12   M1:   -- to manage.

13   SINGER:      Right.

14   M1:   Yep.

15   SINGER:      Right, and, and, you know, we have the applications

16         ready.       I mean, I know --

17   M1:   Well, I want -- I want you to keep doing what you do

18         brilliantly, which is coaching my kids and helping them,

19         um -- helping them the way you are.       I -- I’m, [06:00]

20         I’m grateful for what you do, and you’re, you’re, you’re

21         unique at it.      The fact is that side door is a lovely

22         additional de-stresser, but if it doesn’t -- if it isn’t

23         possible, it isn’t possible.

24   SINGER:      OK, gotcha.    Well --
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1    M1:   You know?

2    SINGER:       -- so I, I will keep you in play, um, and I know --

3    M1:   Yeah.

4    SINGER:       -- you got -- you got                           you got

5          all those guys helpin’ you, and that’s cool --

6    M1:   Yeah.

7    SINGER:       -- and that’s cool.   We just, as you --

8    M1:   Well, (inaudible), the, the iro-- the irony -- (laughs)

9          the irony of the whole way the system works, as I’ve

10         become sort of conscious of it -- I had this call with,

11         with, uh, the -- our --                         knows             is

12         interested in SC, and so he, he just gave 20 million

13         bucks to the school and is on the board, and he called

14         down to this, this guy, who’s one of the development

15         folks, that, and just said, “Look, I want you to know who

16         Bill is,” and da-da-da.       The irony of the whole thing is

17         that i-it is...     (laughs) The way these schools work,

18         particularly commercial schools like SC, you -- uh, my

19         [07:00] impression -- uh, this may be wrong; you would

20         know -- is it, it is so, um, commercial.        I mean, you

21         know, it, it, it’s very clear to me that if they sense

22         that I’m gonna write a check, they’re gonna do what they

23         can do to get me in --

24   SINGER:       And --
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1    M1:   -- at that school.

2    SINGER:       And you’re -- and --

3    M1:   My son in.

4    SINGER:       And you’re right, and that’s where -- that’s, that’s

5          --

6    M1:   It’s just -- it’s just --

7    SINGER:       -- why USC’s become the power.

8    M1:   -- it’s...       It’s just (inaudible)...   Well, and by the

9          way, you flip it around, you say if you’ve got 5,000

10         kids, effectively, in an undergraduate class, you could

11         have 4,000 of them be 4.0, perfect, you know, test

12         scores, and still let a thousand in that are -- that are,

13         you know, people that are well-connected, that are gonna

14         help you grow your school, and you’ve got an amazing

15         program --

16   SINGER:       And --

17   M1:   -- you know?

18   SINGER:       And, and that’s essentially what USC’s done, right?

19   M1:   Yeah, it’s brilliant.

20   SINGER:       Right?    You got -- you know,         ’s given his

21         money, and, uh, you know, everybody else is, is gi-- is

22         doin’ their thing.       They’re tryin’ to hire the president.

23         Everybody who’s --

24   M1:   Yeah.
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1    SINGER:       -- on the board is anteing up to get the right

2          president in.       It’s, you know, it’s crazy.

3    M1:   [08:00] Mm-hmm.

4    SINGER:       It’s crazy.    So l-- so just so you know, I don’t

5          know if you saw               Chapman, the Boulder --

6    M1:   Yeah.

7    SINGER:       -- and --

8    M1:   Uh, well, he was totally excited that there was a green

9          checkbox next to his Chapman electronic submission.

10         (laughs)

11   SINGER:       Uh, uh, absolutely.    So he’s done a fabulous --

12   M1:   But (inaudible), I, I have to say, between you doing what

13         you’re doin’ for him and               , with her, you know,

14         c-- tutoring that he’s been getting, you know, and just

15         his writing, all that, i-it’s, it’s been -- it’s, it’s

16         not been a...       I mean, my memories as a kid is this was

17         totally torturous.       It’s felt OK with            I mean, he

18         needs some help on, um -- and he’s gonna need your help

19         on getting his pitch in to the Iovine and Young Academy -

20         -

21   SINGER:       Yeah.

22   M1:   -- just ’cause he doesn’t man-- as you know, he’s -- has

23         a hard time sort of managing his time, but he’s growin’

24         up.   I mean, he’s, he’s doin’ a lot better than he was.
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1    SINGER:       No, he’s, he’s been amazing, and he’s been on top of

2          stuff.     Like, he hounds me, which is so different,

3          because I was [09:00] hounding him.

4    M1:   Don’t you love that?     That’s great.

5    SINGER:       Yeah.

6    M1:   Very good sign.

7    SINGER:       No, that’s good, and, and --

8    M1:   Yeah.

9    SINGER:       -- and I’ll jump on         here soon.

10   M1:   Perfect.

11   SINGER:       Um, I just want to get all the applications done,

12         but I --

13   M1:   By the way, I got -- I got, uh,              um...      We-- w-

14         weirdly, he did his first, uh -- you know, his PSAT, and

15         then he, at time and a half, ran out of time, and was

16         quite frustrated that he couldn’t finish.        And I called

17         the, the assessment -- you know, the neuros--

18         neurospecialist --

19   SINGER:       Yeah.

20   M1:   -- who had done the assessment for both           and

21         and she said, “Why doesn’t he have double time?          I called

22         for double time.”     And his, his friggin’ school -- his --

23         like, she -- the woman who runs that,              , who’s a

24         lovely woman, but she sort of feels it’s her job to
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1          prevent kids from getting, you know, uh, concessions, um,

2          as opposed to being their advocate.       So it -- it’s right

3          there in his report, so we’ve gone back to her this week

4          and said, “You’ve gotta give him the double time, and you

5          gotta go back to ACT and SAT and pitch him for the double

6          time.”

7    SINGER:       Absolutely.

8    M1:   Um, [10:00] so we’re on that with             as well --

9    SINGER:       OK.

10   M1:   -- to help him as he gets into his test cycle.

11   SINGER:       OK.   Well, that’s great.   So, thanks --

12   M1:   Yeah.

13   SINGER:       -- thanks for takin’ the call, and --

14   M1:   By the way, uh, so you know, the, the, uh, the, the...

15         You know, in my experience with a guy like that who isn’t

16         paying his taxes, the issue the IRS always has is taxes.

17         They, they -- the IRS doesn’t care about anything other

18         than you’re paying your taxes.      And, you know, they tend

19         to be aggressive about making sure that organizations are

20         doin’ what they’re supposed to do from a tax perspective,

21         but they’re -- that’s all they care about at the end of

22         the day.

23   SINGER:       Gotcha.   Gotcha.   Well, I appre--
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1    M1:   And they really -- they really -- that-that’s, that’s the

2          whole kit and kaboodle is tax.

3    SINGER:       Well, I appreciate that, and thanks for keepin’ this

4          between us.       It’s just a little --

5    M1:   Of course.

6    SINGER:       -- embarrassing, so thanks.

7    M1:   No, it shouldn’t be embarrassing.          It is what it is.

8    SINGER:       OK.     Thanks, Bill.

9    M1:   All right, buddy.       (overlapping dialogue; inaudible).

10   SINGER:       Take care.     OK, bye-bye.

11   M1:   Yeah.

12   SINGER:       Uh...

13   (phone beeps)

14

15

16

17

18

19

20

21

22                                END OF AUDIO FILE
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  Exhibit CCC
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1    Call Date:   2018-09-29

2    Call Duration:      13:40

3    Call Begin [       ] Call End [     ]

4    Call Participants:

5         Rick Singer

6         John Wilson

7    File Name:                   2018-09-29 15-24-23 09249-001

8    Bates No.:

9

10   [00:00:00]

11   WILSON:    Hey, Rick.       How ya doin’?

12   SINGER:    Hey, John.       How are ya?

13   WILSON:    Good.    You feelin’ better?

14   SINGER:    Lot better.

15   WILSON:    Oh, (overlapping dialogue; inaudible).

16   SINGER:    You good?    You been out of town?

17   WILSON:    Yeah, I’ve been out of town.       Been traveling.    I’m

18        goin’ to Europe next week, so it’ll be easier to connect

19        this week, so...

20   SINGER:    OK, cool.     So the girls --

21   WILSON:    So, yeah --

22   SINGER:    -- were great.

23   WILSON:    Cool.    I, I still didn’t get a c-- a f-- a full

24        debrief from ’em, but talked to                    .   They, um,
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1         they have any clarity on, on where they want to go, what

2         majors, or still (overlapping dialogue; inaudible)?

3    SINGER:    Yeah.    Yeah, well, I mean, you have done a great job

4         of, uh -- (laughs) it’s so funny -- influencing ’em on

5         what is the appropriate path to go down.         What do you

6         think they both said?      (overlapping dialogue; inaudible)

7         --

8    WILSON:    What, all the Ivy League schools?

9    SINGER:    No, no, I mean --

10   WILSON:    (overlapping dialogue; inaudible).

11   SINGER:    -- uh, uh, uh, they want to be business and

12        engineering.    (laughter) I said, “So do...”       I said,

13        “Does that come from your dad?”       And, of course, “Well,

14        my dad -- they pr-- my dad’s programmed us,” right?

15        (laughter) [00:01:00] So I said, “That’s cool.          So we can

16        make all that happen.”      I said, “You think you might like

17        that?”    They said, “Well, my dad (inaudible), so...”

18   WILSON:    (laughter) Come on!     I thought they actually liked

19        science and engineering.      They (overlapping dialogue;

20        inaudible) --

21   SINGER:    No, I’m sure they --

22   WILSON:    -- science.

23   SINGER:    -- I -- but you’re -- you’ve influenced them, right?

24        (overlapping dialogue; inaudible) --
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1    WILSON:    Yeah, I’ve influenced ’em, but I want ’em to pick

2         what they like.

3    SINGER:    No, definitely they get it, they get it, right?            And

4         it’s just --

5    WILSON:    OK.

6    SINGER:    -- it’s just funny, ’cause then when               kinda

7         interjected they’re like, “Mom, stay out of it.          Mom,

8         stay out of it.”       Right?   It was funny.   Um, but they’re

9         both obviously great girls.        They want -- in a lot of

10        ways, they want to have kind of the same kinds of things

11        from the school.       We, um -- I have a huge list of schools

12        for them.     Um, you know, and, and I said, “You guys gotta

13        send me dates, because you both go to 2 separate schools,

14        and                 and then -- and        , different dates of

15        days off.     So          ’s gonna be runnin’ all over the

16        place tryin’ to figure out [00:02:00] how to get 1 over

17        here for a day, and over here.”

18   WILSON:    Yeah.

19   SINGER:    But, uh, that’s why I need to know your dates, so I

20        can figure out where to go visit that would be best

21        suited.

22   WILSON:    Right.       Now, would they go on weekends, or gotta go

23        during school days (overlapping dialogue; inaudible)?
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1    SINGER:    You gotta go on a school day, or, or a day when it’s

2         a school day but they’re off of school.

3    WILSON:    Yeah, OK.

4    SINGER:    That’s the ideal situation, ’cause --

5    WILSON:    That’s gonna be tougher, yeah.       But the ideal isn’t

6         just seeing the campus on a weekend?

7    SINGER:    Yeah, ’cause I gotta get to a point where we know if

8         we’re applyin’ ED or where we’re goin’, what we want,

9         ’cause you’re gonna want to know first choice, second

10        choice, all that stuff.

11   WILSON:    Yeah, no, exactly.     And just so I’m, I’m clear on

12        the, the kinda pecking order schools, and UCLAs and all

13        that stuff versus -- uh, I think you said UCLAs mostly

14        are in the, the bracket of, um, like, uh, Stanford -- or

15        not Stanford, but like, uh, USC and so forth.          And what

16        were the schools in that, if you did the side door?           And

17        I’m interested about the side door and that stuff, um --

18   SINGER:    So the side door is gonna be -- gonna happen where

19        you want ’em to happen.      (overlapping dialogue;

20        inaudible) --

21   WILSON:    It can happen anywhere?      Does it have to be

22        [00:03:00] a sports side door?       I wasn’t clear on that.

23   SINGER:    Well, so that’s the -- that’s the easiest way to

24        approach it, right --
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1    WILSON:    Yeah.

2    SINGER:    -- because all of the coaches have...        You know,

3         they have guaranteed spots, and you’ve done a good job,

4         you got athletic girls who got great size, they’re in the

5         right sports, so, you know, potentially there’s a sailing

6         option, and potentially there’s a crew option.          I mean, I

7         don’t know how good of athletes they are.         They may be

8         good enough to be able to compete at some of these

9         schools, and then who knows what we have to do, depending

10        on where, where the spots (inaudible).

11   WILSON:    Mm-hmm.   Yeah, so they --

12   SINGER:    So you have --

13   WILSON:    -- have to get that sports.      Uh, what if they’re not

14        really that good?     I mean, they can do some crew, but I

15        don’t know they’re gonna be good.                           not

16        even that good competitively at sailing.         She just taught

17        sailing and did sailing in, you know, (overlapping

18        dialogue; inaudible) --

19   SINGER:    Right, so --

20   WILSON:    -- Yacht Club.

21   SINGER:    But at the end of the day, by the side door, I may

22        be able to go to the sailing coach and say, “Hey, this

23        family’s willing to make the contributions.         She could be

24        on your team.    She is a sailor.     She may not be up to the
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 236 of 387
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1         level you are, but she can con-- you know, you’re gonna

2         get a benefit, [00:04:00] and the family’s gonna get

3         benefit.    So are you will-- are you interested in doing

4         that?”

5    WILSON:      Yeah.   OK.   And just -- but -- and what’s the other

6         side?    If it’s not a sport, what is it?       Is there any

7         other side doors in --

8    SINGER:      Then I have to go to -- then I have to go to

9         department chairs, and, and, and get...         Some schools

10        have a VIP list at the department chair level, so we

11        could go that route, and then you can help their

12        (inaudible) -- their, their program.        It just depends on

13        which school you want to go to.

14   WILSON:      OK, you know, I have this friend -- you know, one of

15        the things I wanted to talk to you about, too, is I -- I

16        don’t know how -- I remember last time I did this, you

17        didn’t really make any money on this, on the side, this

18        stuff.    You just charge, and then you make a donation to

19        the school, and that’s it?

20   SINGER:      Well, uh, so it depends in different ways.       So

21        what’s happened in the grown-up world of my world now,

22        compared to when, you know, we did              , was that

23        essentially now the money goes into my foundation, as a

24        donation, (overlapping dialogue; inaudible) --
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1    WILSON:    Oh, to your foundation, not to the schools.

2    SINGER:    Yeah, then that way the kids don’t know it happens,

3         right?

4    WILSON:    Yeah.

5    SINGER:    So -- and then the other part [00:05:00] of that is

6         they don’t chase you all the time for money.         ’Cause once

7         you -- you know, once you’re -- they know you gave money,

8         that’s a different story.      And then what I can -- what

9         I’ll do is I’ll split the money potentially to the coach

10        or other pl-- parties that are out that school that need

11        the money, right?

12   WILSON:    Mm-hmm.

13   SINGER:    So...    Or it may go right to the coach, um, that’s

14        helping us.     It ju-- it just depends on the school.

15   WILSON:    Right.    OK, so you don’t actually get credit for a

16        donation to the school, or get hounded for that.          You

17        get, uh --

18   SINGER:    (overlapping dialogue; inaudible)

19   WILSON:    -- your donation to you, or your foundation, the Key

20        or whatever --

21   SINGER:    Right, and you get --

22   WILSON:    -- that, uh -- and --

23   SINGER:    -- your write-off, and then you do your thing.

24   WILSON:    OK.
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1    SINGER:    And then the kids get in the school.

2    WILSON:    So my colleagues -- so, so you c-- you, you

3         (inaudible) I assume take a share of that or something.

4         If it’s all going to your foundation, you can’t take a

5         share if it goes to your foundation.        You don’t get a fee

6         on that, then?

7    SINGER:    Um, I just do my fee for what I take when I do your

8         normal applications.

9    WILSON:    Yeah, that’s, like, terrible.       I, I think, from a

10        business model point of view, again, I advised you last

11        time, (laughter) I still advise you, this is worth a lot

12        to people, and so, you know, to the extent you [00:06:00]

13        want to make more money, I would think you would have

14        some kind of fee for that.      (inaudible) it’s 350 to the

15        foundation, plus another 20% for me for using my leverage

16        and my relationships --

17   SINGER:    Yeah.

18   WILSON:    -- or something, no?

19   SINGER:    Well, I’m, I’m gonna use your business model going

20        forward.

21   WILSON:    I think you should.     I, I really would advise you...

22        But anyway, I -- so then I have this, uh, close friend of

23        mine here who works at, uh,                with me, and he’s

24        very well off.     He’s the head of, uh, one of these big
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1         areas in             for a lot of years.     And his daughter’s

2         -- wants to go to Brown next year.        His concern -- I

3         said, “Well, have you thought about...?”         It may be too

4         late, 1.    I don’t know.    Um, she’s going through her

5         senior year right now.

6    SINGER:    Well, what’s the relationship that that person would

7         have...?    I mean, is that g-- is that person big enough

8         in             that people would know who that person is?

9    WILSON:    Uh, yeah, probably.

10   SINGER:    OK, so then here would be my suggestion, to be frank

11        with you --

12   WILSON:    OK.

13   SINGER:    -- and I’d love to help -- you know, it is late and

14        all of that.    The president takes meetings all the time

15        from influential people.      She’s a good gal.     And she--

16   WILSON:    Of Brown?    Yeah, I don’t know.

17   SINGER:    Yeah, at Brown.     So what I would suggest is that,

18        [00:07:00] um, he calls up her office -- they have a

19        scheduling person for the president -- and he sets up a

20        meeting for he and his daughter to go meet, and she kinda

21        meets with them, and then she’ll give an indication, and

22        he’ll get an idea of what it’s gonna need -- what’s gonna

23        need to be done to, to have her to go to Brown.          That’s -

24        -
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1    WILSON:    (overlapping dialogue; inaudible) the front door --

2    SINGER:    -- that’s the path I would go.

3    WILSON:    -- like, like, $10,000,000 kind of thing?         Or that’d

4         be the (overlapping dialogue; inaudible) --

5    SINGER:    No, no, no, I think it’s a lot less than that.          I

6         think it’s a lot less than that.       But, um, but it’s first

7         getting the meeting with the president, and just talkin’

8         about -- and then also what he could do for the

9         university, not only financially but, you know, just in -

10        - he could be a, a guest lecturer.        He could do, you

11        know, lots of different things.

12   WILSON:    Uh-huh.

13   SINGER:    That would be my suggestion.       (overlapping dialogue;

14        inaudible) --

15   WILSON:    He wanted to do it -- so the, the other thing he had

16        a concern was he wanted to do it in a way his daughter

17        wouldn’t know.     His daughter’s already said, “Dad, don’t

18        help me with this, don’t help me with that.”         She’s very

19        kind of, uh --

20   SINGER:    Well, then that’s a different path, and then -- then

21        I may have to get involved in that.        Um --

22   WILSON:    Right, so that’s --

23   SINGER:    -- but, but it’s really --

24   WILSON:    -- the only thing he’s sensitive to.
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1    SINGER:    -- it’s --

2    WILSON:    [00:08:00] His daughter’s, like, really independent

3         that way.

4    SINGER:    Right.

5    WILSON:    And she’s very smart.     She got a 35 or 31 below

6         perfect --

7    SINGER:    But, but --

8    WILSON:    -- on the ACTs --

9    SINGER:    -- I --

10   WILSON:    -- and all that, but...

11   SINGER:    No, I get it, but it -- what I would do is I would

12        still -- because him goin’ to meet the president isn’t --

13        doesn’t mean that she’s gonna help him, but that’s a good

14        starting point.

15   WILSON:    Mm-hmm.   Well, maybe I’ll just connect you 2 by an

16        email, and (inaudible) somethin’ like that?

17   SINGER:    So --

18   WILSON:    Does that make sense?

19   SINGER:    So I can make the -- I can call the office, and then

20        what they normally...      So I just had a family do that,

21        and essentially what they told me to do was just, um,

22        have, have my family call the scheduling coordinator for

23        a time --

24   WILSON:    Mm-hmm.
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1    SINGER:      -- and, and -- with the background of the

2         candidates, and then they’ll, they’ll usually set up the

3         meeting.    Sounds like this person’s well -- high enough

4         up that it makes sense for (overlapping dialogue;

5         inaudible) --

6    WILSON:      Yeah, he’s one of the top, let’s say, 12 people.

7         He’s on the Executive Board and all that stuff like that,

8         so...

9    SINGER:      Yeah, yeah, so then that makes sense.

10   WILSON:      Now, he’s, um...   [00:09:00] Let’s see, what else?

11        Uh, that’s her f-- uh, what do you call it, early

12        decision school, I think, and all that stuff?

13   SINGER:      Yeah.

14   WILSON:      So she’s got all that --

15   SINGER:      Yeah.

16   WILSON:      -- stuff goin’ for her.    She really loves it, wants

17        to get there and all that stuff, and he’s willin’ to pay

18        a million, 2 million.      He didn’t care.    Um, so it’s that

19        -- it’s his last daughter, and he’s, you know, pretty

20        well off that way.     I don’t know what -- um, is Brown one

21        of those 350 or million...?

22   SINGER:      Oh, it’s in the millions.    Yeah, yeah, yeah.     No,

23        there’s no --

24   WILSON:      2 million (overlapping dialogue; inaudible)?
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1    SINGER:    -- 350 (inaudible)...     Yeah, there’s no -- there’s

2         no (laughs) 350...     I’ll -- I would have a (overlapping

3         dialogue; inaudible) --

4    WILSON:    I thought that Stanford -- not Stanford -- I thought

5         that UCLA and USC and stuff like that was (overlapping

6         dialogue; inaudible) --

7    SINGER:    Yeah, that’s a different story.       They’re not Brown.

8    WILSON:    No, no, that’s what I meant.       The, the -- there’s

9         the 350 schools, or...      (laughter)

10   SINGER:    Yeah.   Yeah, exactly.

11   WILSON:    And everybody else jumps up to the million

12        (inaudible), yeah?

13   SINGER:    Yeah, you gotta ante way up.       Yeah, absolutely.

14   WILSON:    There’s not much, uh -- not much in between.         Uh,

15        because (inaudible), too, like, (inaudible) is just -- a,

16        a bunch of them are 350s, the second tier or whatever you

17        want to call ’em, and then everything else just jumped

18        immediately to --

19   SINGER:    That’s correct.

20   WILSON:    -- (inaudible) 1, 2.

21   SINGER:    W-- yeah.

22   WILSON:    There’s no, like, 500 or 700 (overlapping dialogue;

23        inaudible) --

24   SINGER:    No, no.
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1    WILSON:    -- or...?

2    SINGER:    No.    No, because it makes no sense for them to get

3         involved at those schools unless they’re gonna really get

4         after.    But in [00:10:00] your case, with the girls, I

5         may be able to negotiate, knock it down so that, you

6         know, (inaudible) for 2 and figure it out.

7    WILSON:    L-let’s say, let’s say they both wanted to go to a

8         Harvard or a Stanford, right?       Obviously -- is it much

9         more difficult in Stanford versus Harvard, or Princeton?

10   SINGER:    No, same -- no, but it’s the same --

11   WILSON:    Are they all the same?

12   SINGER:    They’re all the same.

13   WILSON:    Yeah.    If you wanted to do 2 at Harvard or 2 at

14        Stanford...?    Now, I’m an alumni at Harvard.       I’ve given

15        some money, but not a lot.      I’ve given, you know, a few

16        hundred grand or (overlapping dialogue; inaudible).

17   SINGER:    Uh, well, uh, so we just need to strategize on how

18        we’re gonna -- where we’re gonna go, where we wanna go,

19        right?    ’Cause I don’t think the girls have any, any idea

20        right now.

21   WILSON:    Yeah, no, I don’t think...      They would love to go to

22        Stanford or Harvard.      (inaudible) --

23   SINGER:    Sure.
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1    WILSON:    -- she loves the school there, and loves the thought

2         of it.    Uh,           loves Harvard, just from the thought

3         of it.    I know she’s said to her friends...       Uh, I just

4         listen to ’em talkin’ to their friends, you know?

5    SINGER:    Right.

6    WILSON:    “Where would you like to go?”       You hear that stuff.

7         It doesn’t have my influence...       It has my influence

8         indirectly, and, of course, they have these big, you know

9         -- oh, that’s a great school, just the, the brand name in

10        their minds, you know.

11   SINGER:    Well, and, again, most people don’t think they can

12        get into Stanford so they don’t even [00:11:00] bring up

13        that name.

14   WILSON:    Yeah, but they lived out there and they went --

15   SINGER:    I know.

16   WILSON:    -- swimming in the waterfalls.

17   SINGER:    Right.

18   WILSON:    They know that --

19   SINGER:    No, no, I totally get it.      (laughs) I totally get

20        it.   No, I get it.

21   WILSON:    (inaudible) lived there.

22   SINGER:    Yeah.
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1    WILSON:    So those are the 2 that are on the top.           I-it’s,

2         it’s the strategy to try to get into those 2.           Um, is

3         Harvard easier ’cause I’m --

4    SINGER:    No, it’s not that.

5    WILSON:    -- legacy?

6    SINGER:    But --

7    WILSON:    That doesn’t mean shit?

8    SINGER:    Your legacy means 0, because...       (laughter)

9    WILSON:    (inaudible) my life, you know.

10   SINGER:    John, (overlapping dialogue; inaudible) --

11   WILSON:    Unless you’re donating a building, huh?

12   SINGER:    You’ve done quite well for yourself, so for a guy

13        that has no legacy, you’re OK.       (laughter)

14   WILSON:    Oh, shit.     So legacy doesn’t help at all, huh?

15   SINGER:    Unless you’re a big legacy, but you --

16   WILSON:    Especially a big donor legacy, huh?         OK.

17   SINGER:    -- you haven’t -- you haven’t done that yet.

18   WILSON:    OK, I see.      That’s interesting.   So that doesn’t

19        matter.     Um --

20   SINGER:    Like, what’s your -- like, how much do you give to

21        Harvard?

22   WILSON:    Nothing.      Like, a couple hundred grand over the

23        years, so...

24   SINGER:    OK.   (laughter)
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1    WILSON:     So they have too much money.      It pisses me off every

2         time they ask for money.      I say, sure, I’ll give you 10

3         grand, you know.     Stop botherin’ me.

4    SINGER:     No, I get it.   I get it.

5    WILSON:     [00:12:00] The fuckin’ endowment’s $30,000,000,000.

6         Like, are you shitting me?      (laughter)

7    SINGER:     I know.   I know, I know, I know.     I know, I get it.

8         I get it.

9    WILSON:     (inaudible) give to, you know, other charities.         But

10        anyway, that’s a -- that’s a whole different story.           But

11        i-is it --

12   SINGER:     So --

13   WILSON:     -- a better strategy to try and split ’em across the

14        2 --

15   SINGER:     Oh, yeah, I got (inaudible) strategies --

16   WILSON:     -- try to get ’em to go to 1.

17   SINGER:     -- I’m gonna...    No, I’m gonna use athletics to help

18        you, because that’s the easiest way.

19   WILSON:     ’Cause they’re pretty tall and strong, and I think

20        they could actually...      I mean, when I saw

21        rowing --

22   SINGER:     No, they’re good athletes.

23   WILSON:     When I saw               --

24   SINGER:     Yeah.
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1    WILSON:    -- row on fuckin’ that crew machine, I thought she

2         was gonna break the machine, she was goin’ so hard.

3    SINGER:    No, she -- no, th-they en-- they, they may end up

4         gettin’ in without even a donation, but, but you --

5         you’ll know at least this route, we got an --

6    WILSON:    They gotta get (overlapping dialogue; inaudible) --

7    SINGER:    -- we got the side door route, too.

8    WILSON:    -- though, right?

9    SINGER:    Yeah, yeah.

10   WILSON:    But they’re not really playing crew much.         They’re

11        not doing crew, running crew.

12   SINGER:    Right.

13   WILSON:    So you gotta (overlapping dialogue; inaudible).

14   SINGER:    So we’ll, we’ll, we’ll figure it out.        So --

15   WILSON:    But what would it be, if they wanted to go to one...

16        Uh, is that -- it’s gonna be 2 and a half (overlapping

17        dialogue; inaudible) --

18   SINGER:    It’s gonna be 1 -- it -- normally it’s 1, 2 each,

19        right?    So I would have to make a deal if you wanted ’em

20        both at the same school, and if they could even take ’em

21        at the same school, and it would cost you -- it’d cost

22        you a couple million dollars.       Big guy like you,

23        [00:13:00] (laughs) that’s easy.
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1    WILSON:     Yeah.   Not so easy on liquidity, but yeah,

2         (laughter) (inaudible).      You got the installment plan?

3         (inaudible).

4    SINGER:     (inaudible).    Listen, I gotta go to an a-- another

5         appointment.     I just wanted to make sure I got back to

6         you.    I’m gonna be spending some time in Boston, because

7         I’m gonna be reading in Harvard this year, so I’ll be

8         able to get together with you.

9    WILSON:     Oh, I’d love that.    That’d be great.     And I’m gonna

10        connect you -- I’ll just (inaudible) -- I’ll send an

11        email to you, and the guy’s name is                    , and --

12   SINGER:     OK.

13   WILSON:     -- he could become a client and do whatever, and

14        I’ll let the 2 of you kinda email back and forth and

15        stuff.    He’d love to do something not known to his

16        daughter at Brown.

17   SINGER:     Got it.

18   WILSON:     (laughs) And he’s got money.

19   SINGER:     I gotcha.    I gotcha.

20   WILSON:     OK.

21   SINGER:     All right.   Take care.

22   WILSON:     All right, take care.     Bye.

23   SINGER:     OK, bye-bye.

24   [00:13:40]
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1

2                             END OF AUDIO FILE
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  Exhibit DDD
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1    Call Date:       2018-10-15

2    Call Duration: 11:18

3    Call Begin [] Call End []

4    Call Participants:

5         Rick Singer

6         John Wilson

7    File Name:                    2018-10-15 17-45-46 10126-001

8    Bates No.:

9

10   SINGER: [00:00] John.     How are ya?

11   WILSON: Hey, Rick.     Doin’ well.    And yourself?

12   SINGER: It’s ki-- you’re goin’ in and out.        Sorry.

13   WILSON: I got a -- I got a bad, uh, (inaudible).         It’s just a

14            --

15   SINGER: Where is tha--?

16   WILSON: -- (inaudible) they got a big thunderstorm goin’

17            through.    Can you hear me better here?

18   SINGER: Yeah, I can hear you better.

19   WILSON: Uh...

20   SINGER: That’s much better.

21   WILSON: Uh, you’re pr-- busy these days, huh?

22   SINGER: Yeah.     We got early decision comin’ up.

23   WILSON: Sh--
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1    SINGER: Uh, you’re gonna be goin’ through the same thing,

2             so...

3    WILSON: Oh, I know, next year, exactly.        So, hey, uh, there

4             were a couple topics.     One was, ya kno-- my

5             daughter’s, and, uh, making some donations now,

6             whatever -- how that can work.       And then, second, I do

7             want to give some time, uh, to, uh, talk a bit about

8             your overall, uh, pricing strategy and your economic

9             model, if you want.

10   __:      Uh...

11   WILSON: I don’t want to force it on you.        But I just think --

12   SINGER: No, no.    Uh, yeah.    So le--

13   WILSON: -- could be helpful.

14   SINGER: -- well, let’s -- let’s start with number one.          So

15            what would be great is...      You know, w-- I have a

16            bunch of schools that we work with directly.         And, you

17            know, it’s kind of a first serve-- firs-first come,

18            first [01:00] served.     Right?    So like I have

19            opportunity with Stanford in sailing.        And I can do

20            other Stanford sports potentially too.        And we have

21            Yale and we have Harvard.      And then I can go after all

22            these other schools too.      But, of course, I don’t know

23            what the girls want.
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1    WILSON: Right.    Well, help me understand where you have first

2             come, first serve and, uh...      So, uh, you have, as you

3             said, Stanford, sailing.

4    SINGER: Stanford, sailing.      Got Yale, soccer, um, Harvard...

5    WILSON: They probably wouldn’t want Yale.        Harvard?    What, uh

6             -- what do you have at Harvard?

7    SINGER: Harvard, we could do multiple sports.         I just need to

8             go to them.    I could actually even go to Y-- uh, you

9             don’t want Yale, because you thought that they were

10            too what?     Too conservative or they were too liberal?

11   WILSON: Too liberal.

12   SINGER: OK.   I don’t know which -- I don’t know which side of

13            the room, uh, you know, you -- you come from.          So.

14            Uh, you know, we could do Stanford.        We can do,

15            obviousl-- USC with anything.       Right?   So that’s an

16            easy one.

17   WILSON: How about UCLA?

18   SINGER: UCLA, I could do the same thing.

19   WILSON: And [02:00] what about, uh...?        Got, uh, multiple

20            there.   And what about the, um -- uh, Georgetown?

21   SINGER: Uh, for where?

22   WILSON: Georgetown?

23   SINGER: Georgetown, we could do the same thing.         Yeah.

24   WILSON: Lots of mul--ple options.
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1    SINGER: Yeah.

2    WILSON: So Stanford only has 1 or 2.       Just sailing?     Is that

3             about it?

4    SINGER: Um, so, uh, usually I can go t-- sailing, I can go to

5             the crew coach, ’cause I’m friendly with her, um, and

6             we can, you know, d-- always do women’s lacrosse.          And

7             again, ya know, they don’t have to play.        They just --

8             I j-- that’s the path I’m gonna get ’em in on.

9    WILSON: Gotcha.      And what about Harvard?    Crew, sailing.

10            Anything else?

11   SINGER: Um, sailing, crew, sometimes tennis.         The key to here

12            is that, if I were to get a deposit, l-- you know,

13            like, uh, uh, half a million dollars in the bank, then

14            it’s --

15   WILSON: Uh...

16   SINGER: -- ya know, we can figure out where they wanna go.              So

17            what I’d like to do is...      I’m gonna be in town on

18            November 1st and 2nd.    If you can start probin’ with

19            the girls as [03:00] to potentially their -- what

20            they’re thinking, then we -- you and I could -- if

21            you’re -- if you can be in town one of those days -- I

22            think it’s a Thursday, Friday -- and we could talk

23            face-to-face, then we could figure out, OK, what are

24            we gonna go after.      So if anybody asks me for like a
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1             Stanford spot and we’re not sure yet, then I can call

2             you and say, “Hey, somebody wants that spot and I only

3             have 1,” or “I’m gonna get a second one,” or whatever.

4             But having the money already, in advance, makes it

5             much easier.    Because I gotta go with whoever’s gonna

6             ante up.

7    WILSON: Yeah.      And who do we make these, uh, checks out to?

8             And, uh, what’s, uh -- uh, what’s your foundation?             Do

9             you have a whole wiring -- send me an email with all

10            your wiring and all, uh...?

11   SINGER: Yeah.      I can send ya a email with all the wiring

12            instructions.    And then g-- uh, uh, your check will be

13            -- to into our foundation’s account.

14   WILSON: Ri-- goes to your foundation, right.

15   SINGER: Yeah.

16   WILSON: Uh, uh, do you have mul--?       So you have multiples, uh,

17            at Harvard and Stanford and, uh...

18   SINGER: Correct.

19   WILSON: You have mul--ples everywhere, it sounds like.

20   SINGER: Correct.

21   WILSON: And they don’t actually have to do that sport, you’re

22            saying.    They could just go in and --

23   SINGER: Correct.

24   WILSON: -- be like the, uh -- the [04:00] scorekeeper or --
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1    SINGER: Corre--

2    WILSON: -- water boy, water girl.

3    SINGER: Manager or whatever you want to call ’em.          Yeah.

4    WILSON: Uh, manager, those things.       OK.   And you can do 2 at 1

5             school, as well.     You could do 2 at, uh...?

6    SINGER: It’s more difficult to do.

7    WILSON: Uh...

8    SINGER: That’s why it depends on where it is.         And the earlier

9             I know, then that gives me a chance to go after it.

10            ’Cause I’ll have to solicit, uh...

11   WILSON: Uh, let’s say it’s 2 at either Stanford or Harvard.

12   SINGER: So then, uh...

13   WILSON: Are those impossible or...?

14   SINGER: No, it’s not impossible, absolutely not.         It’s just a

15            matter of I just need to know that I go-- I gotta

16            start doin’ my work now on that.       So by you makin’ the

17            deposit, it makes it easier for me, because I know I

18            g-- uh, because what they’re gonna first say to me...

19            If I go to them...     And let’s say we’re doin’ 2 girls

20            in 1 place.    Then they’re gonna say to me, uh, “We’re

21            gonna give up a spot for you.       Are you --”

22   WILSON: Uh...

23   SINGER: “-- are you guaranteeing me that’s she’s comin’?           And

24            is the family guaranteeing me that they’re gonna ante
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1             up and they’re gonna make a payment?”        Because they

2             don’t want to give up a spot.       And the earlier I do

3             it, the better.

4    WILSON: Gotcha.    So, uh, what about Princeton?        They have

5             multiples [05:00] too?

6    SINGER: 1.    Usually, I could try to get a second, but it’s

7             more difficul--

8    WILSON: Only 1 at Princeton.      OK.

9    SINGER: Yeah.

10   WILSON: And same kinda deal, any spor--?        You don’t have to

11            really play the sport?

12   SINGER: That’s correct.

13   WILSON: And you can do that -- you can also get some kinda

14            chair things too, if you don’t do the sport?

15   SINGER: Uh...

16   WILSON: Or, uh, sport mostly is your...?

17   SINGER: Um, yeah, the...      It jus-- well, like it depends on

18            the school.    To go after a dean is a little more

19            difficult.    With your girls, because they’re athletic

20            and they’re big and all of that, I can sell to anybody

21            that they’re athletic enough to be able to take ’em

22            and there’ll be no question.

23   WILSON: Yeah.     Their size and, uh...    So they...    Yeah.

24   SINGER: Correct.
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1    WILSON: Even though they wouldn’t play.        OK.

2    SINGER: R--

3    WILSON: And Brown?     Is, uh, Brown also 2?      Or wh--?

4    SINGER: Brown’s an option too.      Yeah, sure.

5    WILSON: A couple of ’em.      OK.

6    SINGER: Yeah.

7    WILSON: Uh, and those are all -- except for like UCLA and

8             USC...?    Those are like the 350 and the other ones are

9             gonna be like 1,000,000, whatever?

10   SINGER: Yeah.      The -- the big boys are gonna cost you over

11            1,000,000.    And, uh, probably -- if I know early

12            enough, I could probably get it done at 1.5 for both

13            girls.    Uh, I just need to -- [06:00] I need to push

14            now.

15   WILSON: OK.     So, yeah, I can get ya more now, if that helps

16            you and makes everything certain.        Uh, yeah.   So I’ll

17            give you at least half.      Maybe I can get ya ¾ of a

18            million now, if that makes it like, you know, more

19            certain and you’re gonna say --

20   SINGER: OK.

21   WILSON: -- (inaudible) done, that’s a better way to do it, for

22            you.

23   SINGER: Uh...
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 260 of 387
                 2018-10-15 17-45-46 10126-001                      Page 9


1    WILSON: It makes it better -- you’re saying better with the

2             schools, everything, it’s much better to get it --

3    SINGER: We-- uh, th-the --

4    WILSON: -- as a guarantee.

5    SINGER: -- the amount, uh, that doesn’t ma-matter right now.

6             It matters you’re committed.       And you putting down

7             some money, th-that I know...       John, I kn-- known you

8             for years.    So I know, when, uh, we get the girls in,

9             it’s a done deal and you’re gonna take care of your

10            part of it, you’re gonna make the payments to the

11            schools and the -- to the coaches.       And that’s what I

12            need -- that’s -- tha-- so I’m not worried about that.

13   WILSON: Uh, uh, help me understand the logistics?          I thought I

14            make the payment to you and you make the payment to

15            the school.

16   SINGER: Correct.    That’s correct.

17   WILSON: Oh, you said I make the payment to the schools.

18   SINGER: Well, no, no.

19   WILSON: You’re (inaudible)...

20   SINGER: Uh, essentially, uh, it’s gonna come to my

21            foundation...    That’s correct.

22   WILSON: And you pay.     Uh, r-- OK.

23   SINGER: That’s correct.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 261 of 387
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1    WILSON: Now, um, uh, how does that actually wor--?          What if

2             they don’t actually get in?      Uh, it’s not a b-- uh...

3    SINGER: Oh, no, no, no.     Y-you don’t have to [07:00] worry

4             about it.   They’re -- it’s g-- it’s a done deal.         And

5             I’ll know beforehand if it’s gonna be done or not.

6    WILSON: Uh...

7    SINGER: But, uh --

8    WILSON: When will you know --

9    SINGER: -- see, uh --

10   WILSON: -- in the summer of next year?

11   SINGER: -- I need a score.      See?   That’s why I need their

12            grades and scores.     And that’s wh--

13   WILSON: Yeah.    They get PSATs.    And they just took the PSATs.

14   SINGER: Correct.     And then I need the real scores.       That would

15            be -- that’s gonna -- that’s gonna be able to tell me

16            how easy it is to -- to flow it through or no-- and

17            I’m hopefu-- both girls get the same or something

18            similar to each other.

19   WILSON: They’ve gotten pretty similar scores all along, plus

20            and minus math and English, that kinda stuff.

21   SINGER: Right.

22   WILSON: Yeah.

23   SINGER: Right.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 262 of 387
                 2018-10-15 17-45-46 10126-001                      Page 11


1    WILSON: As long as, you know, like you can -- 1300 or so, is

2             that OK --

3    SINGER: Correct.

4    WILSON: -- is it --

5    SINGER: Yes.     Yeah.

6    WILSON: -- 1300 plus?     OK.

7    SINGER: Yeah.

8    WILSON: Now, do you ha-- when you say you need to know, we

9             have to actually have picked a school by when too,

10            that it’s -- OK, it’s 2 to Stanford, 2 at Harvard, or

11            1 in each --

12   SINGER: Well, uh, late --

13   WILSON: -- 1 in USC, or...?

14   SINGER: -- so I need that late spring.

15   WILSON: So late spring only.      OK.

16   SINGER: Right.     And you guys are gonna visit the schools by

17            then.    You’ll have so much fun, uh.

18   WILSON: Yeah, yeah.      They’re g-- they haven’t gone to these

19            place-- they’ve been to some of them.

20   SINGER: Correct.

21   WILSON: But they didn’t go to them, look at ’em.         Uh, does it

22            matter if they go to them and look at the -- an-and

23            have this whole tour, with the [08:00] school knowing,

24            or just go and look at themselves?
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 263 of 387
                 2018-10-15 17-45-46 10126-001                      Page 12


1    SINGER: No, uh.      It’s a --

2    WILSON: Want to suck up to the dean?

3    SINGER: -- uh, a regular tour -- regular -- regular tour.

4    WILSON: OK.   Do those have to be done durin’ the week too?

5             They can’t do ’em --

6    SINGER: Yeah.

7    WILSON: -- on a weekend really?

8    SINGER: Yeah.     The weekends -- you know, because they don’t

9             have the same energy.

10   WILSON: No, no.      I understand that.   But I meant for the

11            school, to meet with the whatever, faculty -- or not

12            the facu-- but the...

13   SINGER: Well, they d-- they’re just gonna go on a regular

14            tour.    They’re not gonna meet, uh, faculty anyways.

15   WILSON: I mean, see the class, I mean-- not meet the faculty

16            but see the classrooms.

17   SINGER: Well, if we have kids that go there.         We can set it up

18            with ’em.     If I don’t kids that go, they don’t go see

19            classes.    People do--

20   WILSON: Oh, they do not.      They just go on a tour --

21   SINGER: No.   People are worried --

22   WILSON: -- of campus by --

23   SINGER: -- about all that.       Yes.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 264 of 387
                 2018-10-15 17-45-46 10126-001                      Page 13


1    WILSON: -- admissions?     OK.   So it’s admissions tour, not like

2             a classroom tour.

3    SINGER: Correct.

4    WILSON: OK.   Uh...

5    SINGER: Correct.    Unless I have kids there.

6    WILSON: Uh, gotcha.     OK.   So if I do it early on, you might

7             even get, you said, 2 -- uh, 2 (inaudible) the top

8             ones (inaudible) 1 (inaudible).

9    SINGER: Correct.

10   WILSON: And does it really matter, though, if it’s 2 at 1 or,

11            uh, not?

12   SINGER: It d--

13   WILSON: Ho-how much did you...?

14   SINGER: It makes it ea-- it makes it easier, if it isn’t, but

15            it can be done.

16   WILSON: It could be done.      OK.   And you’re pretty confident

17            right now, a-and all those top schools, you could get

18            something done, as long as they get --

19   SINGER: Yeah.

20   WILSON: -- a test score of [09:00] 1300.

21   SINGER: Because I’m -- I’m usin’ up my spot now.         And then you

22            have the ne-- you’re early.

23   WILSON: OK.   Great.    And then, uh...    You only have like 1 or

24            2 spots in each of these place, though, you’re saying.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 265 of 387
                   2018-10-15 17-45-46 10126-001                    Page 14


1    SINGER: Correct.

2    WILSON: Or, y-- uh, you have several, depending on the sport,

3             you were s-- uh, ’cause like --

4    SINGER: Well, it depends.

5    WILSON: -- Harvard, you can a couple --

6    SINGER: Uh, uh...

7    WILSON: -- both crew and saili--

8    SINGER: Well, John, it, uh -- it depends on boy or girl, all

9             of that, right?     Because --

10   WILSON: But I’m saying 2 girls.

11   SINGER: -- (inaudible).      Yeah, usually 2 girls.

12   WILSON: So my t-- you can get a couple girls in each year, to

13            these places.    And they may --

14   SINGER: Correct.

15   WILSON: -- take both of those spots.

16   SINGER: Correct.

17   WILSON: OK.     Sound like you got 20 spots.     You may only have

18            2.

19   SINGER: No.     Uh, right.   You’re crazy.

20   WILSON: No.     It’s why you need to charge a bigger premium, my

21            friend.

22   SINGER: I got it.     Well, we’ll have that discussion in --

23   WILSON: Uh...

24   SINGER: -- in, uh, November.      How’s that?
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 266 of 387
                   2018-10-15 17-45-46 10126-001                    Page 15


1    WILSON: OK.     And that sounds great.    So I w-- I will get

2             you...    Send me an email with where you need to send

3             these funds.     And so you don’t care.     Half a million,

4             whatever, is good, ¾ of a million, doesn’t really

5             matter, you’re saying, just send something to you.

6    SINGER: Correct.

7    WILSON: And then, uh -- uh, then you know we’re locked in for

8             2.    We don’t know where yet.

9    SINGER: R--

10   WILSON: We’ll determine that a little bit later in the year,

11            maybe November.     [10:00] So you have your dates?       Is

12            it 1 and 2, for sure?     What is your schedule?

13   SINGER: Excuse me?

14   WILSON: The dates (inaudible) --

15   SINGER: Yeah.      November --

16   WILSON: -- come back to Boston, uh.

17   SINGER: -- 1st and 2nd.    Yeah.   November 1st and 2nd -- it’s a

18            Thursday, Friday -- I’ll be...

19   WILSON: OK.     Yeah.   Right now we were plannin’ on being out of

20            town, damn it.     We’re gonna be in Europe.      Uh, when’s

21            the next time you’re in, uh, Boston, uh?

22   SINGER: Uh, I’ll have to figure that out.        I’ll let you know,

23            though.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 267 of 387
                  2018-10-15 17-45-46 10126-001                     Page 16


1    WILSON: OK.    My girls’ll be in town.     But w-- Leslie and I

2             will be out, yeah.

3    SINGER: OK.    Gotcha.

4    WILSON: All right.     Oh, by the way, you should mark your

5             calendar for next Ju-July, if you want, in, uh, Paris.

6             Got a big birthday, July, uh, 19.

7    SINGER: OK.

8    WILSON: I rented out Versailles.

9    SINGER: Oh, my God.      You’re crazy.

10   WILSON: I know.    A black-tie party there.      So you’ll have to

11            come.

12   SINGER: Uh...

13   WILSON: Anyway.    Uh, I will -- I’ll get you -- uh, I’ll parti-

14            -

15   SINGER: I’ll send you the -- I’ll send you the w-- uh,

16            information about the bank and the wiring stuff, uh,

17            probably in the next day or so.

18   WILSON: OK.    That’s great.    It’s good to hear that earlier is

19            better.

20   SINGER: Yeah.

21   WILSON: I’m glad we had this conversation.        And then I’ll have

22            the girls run a filter, over the next few weeks.          Uh,

23            they could meet with you in November without us.          Is

24            that [11:00] OK?     Or would you --
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 268 of 387
                 2018-10-15 17-45-46 10126-001                      Page 17


1    SINGER: Sure.

2    WILSON: -- want (inaudible) with us?

3    SINGER: Absolutely.

4    WILSON: OK.

5    SINGER: Absol--

6    WILSON: So I’ll have the girls plan on meeting you sometime

7             November 1 and 2.     Let me know the next time you’re on

8             (inaudible).

9    SINGER: Will do.

10   WILSON: Yeah.     I’d be happy to help you with your business

11            model.   So I think you’re leaving a lotta money on the

12            table.

13   SINGER: I know y-- I know that.       We’ll have that discussion.

14   WILSON: OK.   So the g--

15   SINGER: All right, John.

16   WILSON: Uh...

17   SINGER: Thanks.

18   WILSON: Take, uh...

19   SINGER: OK.   Buh-bye.    [11:18]

20

21                             END OF AUDIO FILE
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   Exhibit EEE
        Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 270 of 387



BankofAmerica ~                                                                        Your checking account
THE KEY WORLOWIOE FOUNOATION   I A ccount #                October 1, 2018 to Oct ober 3 1, 2018




Deposits and other credits
Date        Description                                                                                    Amount




10/17/ 18   WIRE TYPE:WIRE IN DATE: 181017 TIME:1616 ET TRN                                             500,000.00
            SEQ:                           ORIG:HYANNIS PORT CAPITAL INC ID:
            BK:FIRST REPUBLIC BANK ID:




Total deposits and other credits


Withdrawals and other debits
                                                                                                      ....
Date        Description                                                                                    Amount




Total withdrawals and other debits

                                                                                                     -
       Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 271 of 387



BankofAmerica .                                                                       Your checking account
THE KEY WORLOWIOE FOUNOATION   I Account #                 C>ecember 1, 2018 to Oecember 3 1, 2018




Depo sits and other credits
Date        Description                                                                                   Amount

12/11/18    WIRE TYPE:WIRE IN DATE: 181211 TIME:1323 ET TRN                                            500,000.00
            SEQ                            ORIG:HYANNIS PORT CAPITAL INC ID:
            BK:FIRST REPUBLIC BANK ID:           PMT DET:RE :DONATION




Total deposits and othe r cre dits                                                                   .....
Withdrawals and other debits
Date        Description                                                                                   Amount



Total wit hdrawals and othe r deb its
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 272 of 387




   Exhibit FFF
  From:
                  Case 1:19-cr-10080-NMG
                        John Wilson
                                         Document 1066-1 Filed 04/08/20 Page 273 of 387
  To:
  Sent:                     10/17/2018 2:15:45 PM
  Subject:                  Re: The Key Worldwide FOundation



Yes

John B Wilson

President and CEO,
Hyannis Port Capital Inc.



On Oct 17, 2018, at 13:13,                                                       wrote:

 Ok, so I’m assuming you will let me know when this is to be wired, so I’ll wait for further direction.

 From: John Wilson
 Sent: Wednesday, October 17, 2018 11:09 AM
 To:
 Subject: Re: The Key Worldwide FOundation

 It’s a $500k donation I am going to make this year. Tax write off and help getting into colleges.

 John B Wilson


 President and CEO,
 Hyannis Port Capital Inc.


 On Oct 17, 2018, at 11:58,                                                        wrote:

 I just received a text with Bank info for The Key Worldwide Foundation, what is this for?
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 Exhibit GGG
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 275 of 387
                  2018-10-27 17-13-18 10823-001                       Page 1


1    Call Date:        10/27/2018

2    Call Duration: 05:23

3    Call Begin [ ] Call End [ ]

4    Call Participants:

5         John Wilson

6         Rick Singer

7    File Name:                     2018-10-27 17-13-18 10823-001

8    Bates No.:

9

10   SINGER:    [00:00] John, how are you?

11   WILSON:    Hey, Rick, I'm OK.      I'm here in a big rainstorm in

12        Saudi Arabia.    [laughter]

13   SINGER:    In Saudi Arabia.

14   WILSON:    Unusual.   Yeah, I'm in Dubai.

15   SINGER:    I didn't -- I didn't know that they, uh, had storms

16        like that in the desert.

17   WILSON:    I know.    It's very unusual.    Very strange, yeah.

18        (inaudible) all this lightning.       It was crazy.     Anyway,

19        now I'm in the car.       We're heading out so I had a little

20        free time.

21   SINGER:    OK.

22   WILSON:    What's happening?

23   SINGER:    So I had a conversation with the Stanford sailing

24        coach and, um, so I just gave the Stanford sailing coach
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 276 of 387
                   2018-10-27 17-13-18 10823-001                      Page 2


1         160,000 for his program and while we were having that

2         conversation I said, "Hey, I'm hoping that this 160 that

3         I'm helping you with helps secure, um, a spot for next

4         year.    Can I be guaranteed a spot for next year?"

5         [01:00] And he said, um, "Yes."

6    WILSON:      (inaudible) all it takes?

7    SINGER:      So...    Uh, no, no, no, no.   That's not all it takes.

8    WILSON:      OK.   [laughter]

9    SINGER:      This is not TJ Maxx or Marshall's or something like

10        that.    So, um...

11   WILSON:      Right.

12   SINGER:      So essentially if you're -- um, I want you to have

13        first dibs, like I told you.       So if you want I can

14        provide John Vandemoer, um, -- which I'm going to

15        essentially send John directly the check, to the coach.

16        I can send him your 500,000 that you hired into my

17        account to secure the spot for one of your girls.          Um, I

18        asked him for a second spot in sailing and he said he

19        can't do that because he has to actually recruit some

20        real sailors so that Stanford doesn't --

21   WILSON:      [laughter]

22   SINGER:      -- [02:00] catch on.

23   WILSON:      Right.

24   SINGER:      OK.     So --
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 277 of 387
                 2018-10-27 17-13-18 10823-001                        Page 3


1    WILSON:    Yeah, no.    He's got to --

2    SINGER:    -- Stanford --

3    WILSON:    -- actually have some sailors. Yeah.

4    SINGER:    Yeah.    So that Stanford doesn't catch on to what

5         he's doing.

6    WILSON:    Right.

7    SINGER:    So...    Um, and I -- that doesn't mean I'm not going

8         to pursue other Stanford coaches, um, and to be frank

9         with you, it doesn't matter if, um, it's one of the girls

10        who's not a sailor.     I can still put her as a sailor.

11        Or, obviously, the one that is, I can -- I'll mark that

12        she's a sailor because she is, but not at the level in

13        which she can sail at Stanford.

14   WILSON:    Right, right.

15   SINGER:    I just need to know if you want me to go forward and

16        secure that spot.

17   WILSON:    Yeah, that's what I need to think.        I know the girls

18        were looking at, you know, Harvard and Stanford, are

19        their two -- you know, two tops.       Anything on Harvard?

20        So if we did that, we're then precluded -- you know,

21        you've gone (inaudible) already.

22   SINGER:    So we're not --

23   WILSON:    You're saying once you do this you're (inaudible)

24        down that path?
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 278 of 387
                  2018-10-27 17-13-18 10823-001                       Page 4


1    SINGER:     Well, that's what I'm trying [03:00] to get.        I'm

2         trying to get -- that you got one and then I'm going to

3         go after the other one, others at Stanford.         I don't --

4         you know, obviously I just started here because I already

5         have that relationship with the sailing coach and I've

6         already --

7    WILSON:     Yeah.

8    SINGER:     -- given him 160,000.    That doesn't mean I'm not

9         going to go after Harvard, as well, and I probably am

10        going to go after Harvard for one spot or two spots but I

11        just haven't been there yet because it's too early.

12   WILSON:     Right.   So what -- uh, (inaudible) so is it, uh,

13        you're committed once you make this call, you're saying?

14   SINGER:     Excuse me?

15   WILSON:     Would we be committed?     Because I don't even -- you

16        know, the girls haven't been out there yet to look at it

17        yet.   How does that work?

18   SINGER:     No, so...    No.   So let -- I'll -- let -- you know,

19        let me have a discussion with the coach to say when I

20        have to have the commitment from you guys.

21   WILSON:     OK.

22   SINGER:     Because that would tell you if you guys needed to be

23        out there to visit or are you just going to [04:00] take

24        the spot now or do we have time.       I'll get back to you on
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 279 of 387
                   2018-10-27 17-13-18 10823-001                      Page 5


1         that.    I just want to make sure, you know, I'm working on

2         it for you and that I got the spot.        I just need to know

3         if that's what you want me to do and I'll -- and I'll

4         work on the rest of it over the next day or two to figure

5         out what the next parameters are.        And then I'll text you

6         and you can call me from, you know, the Nile with Moses

7         and Cleopatra and whatever you want.

8    WILSON:      [laughter]   OK.    I'll be here, then I'll be in Abu

9         Dhabi and Dubai later in the week and then (inaudible)

10        after that.      All right.   Um -- you know, what about the

11        timing?       Anything -- any news on the Harvard side?

12   SINGER:      I'm just working on the Harvard side now.

13   WILSON:      Is that likely to be in the next few weeks, too.

14        Because I thought we had until spring on some of that.

15   SINGER:      We do, we do.    But I -- but I -- you know, I first

16        got to worry about my kids for this year.         But because

17        you --

18   WILSON:      Yeah.

19   SINGER:      -- provided me the money and I already was on the

20        phone with them, I'm thinking about you guys first.

21   WILSON:      Oh, OK, great.     [05:00]   That's always nice of you.

22        I appreciate that.

23   SINGER:      OK.   So I will --

24   WILSON:      All right.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 280 of 387
                 2018-10-27 17-13-18 10823-001                        Page 6


1    SINGER:    -- get back to you on the questions you had but I

2         just wanted to pose this to you now.

3    WILSON:    Right.   Oh, it sounds great.      Appreciate it.

4    SINGER:    OK.   So I'll get back to you --

5    WILSON:    All right.

6    SINGER:    -- or I'll text you.

7    WILSON:    OK, super.

8    SINGER:    OK, John.

9    WILSON:    Thank you.

10   SINGER:    Take care.

11   WILSON:    Take care.

12   SINGER:    OK, bye-bye. [05:23]

13

14                             END OF AUDIO FILE
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 Exhibit HHH
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 282 of 387
                  2018-11-29 15-25-36 12347-001                       Page 1


1    Call Date:        11/29/2018

2    Call Duration: 04:02

3    Call Begin [] Call End []

4    Call Participants:

5         Rick Singer

6         John

7    File Name:                     2018-11-29 15-25-36 12347-001

8    Bates No.:

9

10   JOHN _:     [00:00]   Hello, Rick.

11   SINGER:     John, how are you?

12   JOHN _:     Not too bad.    How about you?    You coming up for air

13        yet?

14   SINGER:     We're coming up for air.     Where are you at?     Where

15        are you at today?

16   JOHN _:     I'm in, uh, Houston today.     Yeah.

17   SINGER:     OK, cool.    Well, I'm in Boston working on your pet

18        project, Harvard.

19   JOHN _:     [laughter] OK.

20   SINGER:     OK.   So, um --

21   JOHN _:     How long are you in Boston for?      I'm supposed to be

22        back there tonight.

23   SINGER:     About 10 minutes.

24   JOHN _:     [laughter]
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 283 of 387
                   2018-11-29 15-25-36 12347-001                        Page 2


1    SINGER:     I came here because I wanted to make sure I get this

2         thing taken care of for you so that my phone doesn’t have

3         the all-time record of most texts.

4    JOHN _:     [laughter]    Oh, come on.   I'm -- I'm being calm.

5    SINGER:     I know.    You're -- you're calm compared to some.          I

6         get it.    So here's what we got.     I'm just leaving Harvard

7         now.   I'm going to go to the airport and essentially we -

8         - we got a spot if -- if that's what you're saying, that

9                          wants to go to Harvard.

10   JOHN _:     Yeah.

11   SINGER:     So I got [01:00] the senior women's administrator at

12        Harvard is going to give us a spot.        What we have to do

13        is we'll have to give, um, her, um, $500,000.          That

14        money, obviously, like the others, will go through my

15        foundation and then I will fund the senior women's

16        administrator at Harvard.      And then in the spring, since

17        I've already paid                          (sp?) the 500 and now

18        we'll give the senior women's administrator 500, so I got

19        another deal for you.      Is -- your total's going to be

20        1.5.   250 will come in the spring for Stanford and 250

21        for Harvard in the spring and we'll ha-- and we'll be

22        solid.    We'll be done.    We'll apply like a normal student

23        but we'll, um, know that we're getting in in the late

24        fall of next year.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 284 of 387
                  2018-11-29 15-25-36 12347-001                        Page 3


1    JOHN _:     OK, great.   So what is that going to be?       This is

2         the senior women's -- what does [02:00] she have, no team

3         or anything like that or...?

4    SINGER:     She'll figure it out.      Um, so it won't mean -- it

5         doesn't matter the sport at this point.         She will figure

6         it out and get it done.      Um, so -- and the same thing for

7         -- maybe she won't have to sail but we're going to put

8         her through sailing and John Van de Moore.         This is

9         actually a better play at Harvard because she will, um,

10        just get her in through at-- um, athletics in one of the

11        sports but it won't matter.       It won't matter at all.

12   JOHN _:     She (inaudible) sail actually so sailing's actually

13        a logical thing.     She could be even the mascot, whatever,

14        but she knows sailing.

15   SINGER:     OK, the mascot.    OK.

16   JOHN _:     [laughter]

17   SINGER:     (inaudible) the mascot.     I love it.    I love that

18        one.

19   JOHN _:     So do you need 500 now or what's the (inaudible)?

20        What do you think?

21   SINGER:     Yeah.   I -- I think --

22   JOHN _:     How quickly do you need the 500?

23   SINGER:     By next week or so.

24   JOHN _:     Next week.   OK.   Um...
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 285 of 387
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1    SINGER:      You have to liquidate?    Is that what you have to do?

2    JOHN _:      To do it in the next week or so, yeah.      I wasn't --

3         do you know what my -- do -- I've been doing a lot of tax

4         planning, (inaudible), and paying stuff, and all that.

5         Um...

6    SINGER:      What is --

7    JOHN _:      It has to be before year end, right?

8    SINGER:      (inaudible).   [03:00] Uh, before year end, yes.

9    JOHN _:      All right.    Let me, uh, let me try and pull some --

10        pull some leverage.      But that sounds fantastic.

11   SINGER:      OK.   So --

12   JOHN _:      All right.

13   SINGER:      Um --

14   JOHN _:      That's great news.

15   SINGER:      You just -- yeah.    It's great news and you got a

16        discount and we got both settled.        I mean, life is good

17        over at the Wilson house.

18   JOHN _:      Yeah.   Well, hopefully it's settled, right?      I mean,

19        I always -- I'm -- I'm on pins and needles here, I know,

20        because it's like, OK, they got to still get good test

21        grades, of course, all that stuff.

22   SINGER:      No, they got to be -- they got to be good.       They

23        don't have to be over the top.

24   JOHN _:      OK.
     Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 286 of 387
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1    SINGER:    So if they get their -- they get their 30s, you

2         know, in the low 30s, we're good.

3    JOHN _:    OK.

4    SINGER:                                                               ,

5

6                .

7    JOHN _:    Right.

8    SINGER:    And if we can perform the same level we're great.

9    JOHN _:    Yeah, I think that's a good -- PSAT.          And they

10        haven't taken the ACT yet.       They take that (inaudible).

11        OK, so it's just that kind of level.        OK, that sounds

12        (inaudible).

13   SINGER:    That's correct.     That's correct.

14   JOHN _:    And then -- all right.      Well, I really appreciate

15        your help on this.     Definitely.    That's great news.

16   SINGER:    No problem.

17   JOHN _:    Thanks for sharing.

18   SINGER:    All right.

19   JOHN _:    All right.

20   SINGER:    Enjoy.    I'll --

21   JOHN _:    Thanks.

22   SINGER:    I'll wait to hear back from you.

23   JOHN _:    OK, great.    Thank you.

24   SINGER:    OK, thanks [04:00].     Bye-bye.    [04:02]
    Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 287 of 387
                2018-11-29 15-25-36 12347-001                        Page 6


1

2                             END OF AUDIO FILE
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       Exhibit III
              Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 289 of 387
Notes (207)
  #   Time                      Note                                                                                             Deleted
  1   Created:
      3/7/2019
      11:47(UTC-5)
      Modified:
      3/7/2019
      11:48(UTC-5)


  2   Created:
      2/25/2019
      19:46(UTC-5)
      Modified:
      2/28/2019
      16:37(UTC-5)
  3   Created:
      2/21/2019
      02:07(UTC-5)
      Modified:
      3/7/2019
      14:38(UTC-5)
  4   Created:
      2/16/2019
      16:02(UTC-5)
      Modified:
      2/17/2019
      10:36(UTC-5)




  5   Created:                                                                                                                  Yes
      2/7/2019
      17:06(UTC-5)
      Modified:
      2/7/2019
      17:06(UTC-5)
  6   Created:
      2/7/2019
      15:01(UTC-5)
      Modified:
      2/7/2019
      15:01(UTC-5)
  7   Created:                  Title: USC is investigating Donna Heinel to s
      2/6/2019                  Summary: No record of you paying USC anything
      15:53(UTC-5)              Source: Notes
      Modified:                 Body: USC is investigating Donna Heinel to s
      2/6/2019
      16:01(UTC-5)
                                No record of you paying USC anything

                                So you are clean

                                Prepare you if someone calls you

                                Focused on Donna and no incentive to move this forward. It is all about Donna.

                                Do not disclose this to anyone as Donna told me in confidence

                                Acknowledge money paid for Michael and payment went to my foundation so you are in the clear.
  8   Created:
      2/2/2019
      01:00(UTC-5)
      Modified:
      2/2/2019
      01:10(UTC-5)


  9   Created:
      2/1/2019
      14:52(UTC-5)
      Modified:
      2/1/2019
      14:52(UTC-5)




                                                                                                                                      6530
10   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 290 of 387   Yes
     2/1/2019
     14:51(UTC-5)
     Modified:
     2/1/2019
     14:51(UTC-5)
11   Created:                                                                        Yes
     2/1/2019
     14:50(UTC-5)
     Modified:
     2/1/2019
     14:50(UTC-5)
12   Created:
     1/31/2019
     22:24(UTC-5)
     Modified:
     2/7/2019
     17:34(UTC-5)




13   Created:
     1/30/2019
     23:52(UTC-5)
     Modified:
     1/30/2019
     23:54(UTC-5)




                                                                                           6531
14   Created:Case 1:19-cr-10080-NMG
                                Title: PeterDocument         1066-1
                                             Sartorio In 2014total          Filed
                                                                   15k did not       04/08/20
                                                                               work with them in 2014 Page
                                                                                                      - shows…291 of 387
     1/30/2019                           Summary: up twice
     22:26(UTC-5)                        Source: Notes
     Modified:                           Body: Peter Sartorio In 2014total 15k did not work with them in 2014 - shows up twice
     1/30/2019
     22:39(UTC-5)                        Manuel Henriquez 15k twice why

                                                       paid for help guidance off waitlist

                                                      just help with younger daughter pulling out of regular school

                                         Sidoo investment 99,990 twice

                                                   75 in and 72,350 taken out??

                                         John Wilson 20k nothing to do with USC plus donation to USC program for real polo player
                                         Joey chen twice on list

                                                      50k never went or got into Gtown - why 50 should be 300k

                                                       50k no testing or college bribe

                                                  water polo player to USC polo

                                                  250k Gtown manager great grades scores 2.5 years manageraaaw
15   Created:                                                                                                                       Yes
     1/30/2019
     18:30(UTC-5)
     Modified:
     1/30/2019
     18:30(UTC-5)
16   Created:
     1/30/2019
     10:58(UTC-5)
     Modified:
     1/30/2019
     18:31(UTC-5)

17   Created:
     1/30/2019
     10:19(UTC-5)
     Modified:
     1/30/2019
     10:20(UTC-5)
18   Created:
     1/29/2019
     14:47(UTC-5)
     Modified:
     1/29/2019
     14:49(UTC-5)


19   Created:
     1/29/2019
     14:45(UTC-5)
     Modified:
     1/29/2019
     15:01(UTC-5)
20   Created:
     1/27/2019
     23:44(UTC-5)
     Modified:
     1/27/2019
     23:59(UTC-5)




21   Created:
     1/23/2019
     01:06(UTC-5)
     Modified:
     1/23/2019
     01:07(UTC-5)
22   Created:
     1/22/2019
     00:17(UTC-5)
     Modified:
     1/22/2019
     00:17(UTC-5)
23   Created:
     1/16/2019
     23:45(UTC-5)
     Modified:
     1/16/2019
     23:52(UTC-5)




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24   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 292 of 387
     1/13/2019
     10:43(UTC-5)
     Modified:
     1/20/2019
     22:35(UTC-5)




25   Created:
     1/9/2019
     15:28(UTC-5)
     Modified:
     1/9/2019
     15:37(UTC-5)




26   Created:
     1/5/2019
     15:57(UTC-5)
     Modified:
     1/5/2019
     16:02(UTC-5)




27   Created:
     1/4/2019
     13:22(UTC-5)
     Modified:
     1/4/2019
     13:23(UTC-5)
28   Created:
     1/2/2019
     16:43(UTC-5)
     Modified:
     1/2/2019
     17:14(UTC-5)




29   Created:
     1/1/2019
     16:55(UTC-5)
     Modified:
     1/1/2019
     16:56(UTC-5)
30   Created:                  Title: Donna confirming 400 we paid 120
     12/31/2018                Summary: Jovan tuition at Loyola for help that has happen
     12:56(UTC-5)              Source: Notes
     Modified:                 Body: Donna confirming 400 we paid 120
     12/31/2018
     12:57(UTC-5)              Jovan tuition at Loyola for help that has happen
31   Created:
     12/30/2018
     15:16(UTC-5)
     Modified:
     12/30/2018
     15:17(UTC-5)




                                                                                           6533
32   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 293 of 387
     12/27/2018
     23:46(UTC-5)
     Modified:
     12/28/2018
     00:00(UTC-5)




33   Created:
     12/24/2018
     19:07(UTC-5)
     Modified:
     12/24/2018
     19:11(UTC-5)

34   Created:
     12/21/2018
     17:30(UTC-5)
     Modified:
     12/21/2018
     17:34(UTC-5)




35   Created:
     12/19/2018
     22:40(UTC-5)
     Modified:
     12/27/2018
     10:31(UTC-5)

36   Created:
     12/16/2018
     19:24(UTC-5)
     Modified:
     12/16/2018
     19:24(UTC-5)




37   Created:
     12/16/2018
     17:17(UTC-5)
     Modified:
     12/16/2018
     17:21(UTC-5)




38   Created:
     12/14/2018
     16:11(UTC-5)
     Modified:
     12/14/2018
     16:11(UTC-5)




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39   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 294 of 387
     12/14/2018
     16:10(UTC-5)
     Modified:
     12/14/2018
     16:11(UTC-5)
40   Created:
     12/12/2018
     20:11(UTC-5)
     Modified:
     12/12/2018
     23:21(UTC-5)




41   Created:
     12/6/2018
     17:15(UTC-5)
     Modified:
     12/11/2018
     15:10(UTC-5)




42   Created:
     12/5/2018
     22:08(UTC-5)
     Modified:
     12/5/2018
     22:12(UTC-5)




43   Created:
     12/3/2018
     16:15(UTC-5)
     Modified:
     12/3/2018
     16:18(UTC-5)




44   Created:
     12/2/2018
     21:59(UTC-5)
     Modified:
     12/2/2018
     22:37(UTC-5)




                                                                                     6535
45   Created:Case 1:19-cr-10080-NMG
                                Title: LauraDocument
                                             Janke   1066-1 Filed 04/08/20 Page 295 of 387
     11/30/2018                  Summary:      Macfarlane
     10:52(UTC-5)                Source: Notes
     Modified:                   Body: Laura Janke
     11/30/2018
     15:35(UTC-5)                    Macfarlane
                                        Hodge

                                         Feiwell

                                        Hodge - memo Laura

                                 Gordon Caplan call

                                 —
46   Created:
     11/28/2018
     19:26(UTC-5)
     Modified:
     11/28/2018
     19:27(UTC-5)
47   Created:
     11/28/2018
     15:08(UTC-5)
     Modified:
     11/28/2018
     18:50(UTC-5)




48   Created:
     11/27/2018
     12:05(UTC-5)
     Modified:
     11/27/2018
     12:06(UTC-5)
49   Created:
     11/17/2018
     14:06(UTC-5)
     Modified:
     11/17/2018
     14:06(UTC-5)
50   Created:
     11/14/2018
     16:44(UTC-5)
     Modified:
     11/14/2018
     16:45(UTC-5)

51   Created:                                                                                Yes
     11/10/2018
     20:53(UTC-5)
     Modified:
     11/10/2018
     20:53(UTC-5)
52   Created:
     11/5/2018
     15:06(UTC-5)
     Modified:
     11/5/2018
     15:07(UTC-5)
53   Created:
     10/30/2018
     15:38(UTC-4)
     Modified:
     10/30/2018
     17:20(UTC-4)




                                                                                                   6536
54   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 296 of 387
     10/23/2018
     08:02(UTC-4)
     Modified:
     10/23/2018
     08:06(UTC-4)
                               Bill McGlashan


55   Created:
     10/21/2018
     13:04(UTC-4)
     Modified:
     10/21/2018
     14:08(UTC-4)




56   Created:
     10/21/2018
     00:27(UTC-4)
     Modified:
     10/21/2018
     00:37(UTC-4)
57   Created:
     10/20/2018
     18:30(UTC-4)
     Modified:
     10/23/2018
     07:40(UTC-4)




58   Created:
     10/11/2018
     12:51(UTC-4)
     Modified:
     10/11/2018
     12:51(UTC-4)
59   Created:
     10/11/2018
     12:50(UTC-4)
     Modified:
     10/11/2018
     12:50(UTC-4)
60   Created:                                                                        Yes
     10/11/2018
     12:49(UTC-4)
     Modified:
     10/11/2018
     12:49(UTC-4)
61   Created:
     10/6/2018
     11:10(UTC-4)
     Modified:
     10/6/2018
     11:23(UTC-4)




                                                                                           6537
62   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 297 of 387
     10/5/2018
     22:03(UTC-4)
     Modified:
     10/6/2018
     00:18(UTC-4)




63   Created:                  Title: Sept 29
     10/1/2018                 Summary: Call with John Wilson about the side door plus intro to his friend about helping at Brown for
     12:27(UTC-4)              2019
     Modified:                 Source: Notes
     10/11/2018                Body: Sept 29
     19:41(UTC-4)
                               Call with John Wilson about the side door plus intro to his friend about helping at Brown for 2019

                               Oct 1

                               Called Laura - update on weekend text and call with John Wilson on side door

                               Called Michelle Janavs confirmed            going through subco and 50k payment made once she gets
                               her initial letter of acceptance and the rest of the process

                               Requested expenses from Oct 1 till Oct 4 for              and went to get a copy of cashier check to
                               Niki Williams

                               Called                  explained USC acceptance and 50k payment once conditional Letter sent

                               Oct 2

                               Loud and abrasive call with agents. They continue to ask me to tell a fib and not restate what I told my
                               clients as to where there money was going -to the program not the coach and that it was a donation
                               and they want it to be a payment.
                               I asked for a script if they want me to ask questions and retrieve responses that are not accurate to
                               the way I should be asking the questions. Essentially they are asking me to bend the truth which is
                               what they asked me not to do when working with the agents and

                                   raised her voice to me like she did in the hotel room about agreeing with her that everyone Bribed
                               the schools. This time about asking each person to agree to a lie I was telling them.

                               Spoke to               which is a referral from Gordon Caplon. They want to nail Gordon at all costs.
                                      told me his daughter is a good runner 19 minute 3 mile good enough for recruited walk on or
                               walk on to Wash U and Cornell. Explained the side door but very late and I probably could not do it at
                               this stage.

                               The agents told me to get him to take another school I had a relationship just to entrap him despite
                               him never asking for any other school.

                               When I told them Gordon texted me that              did not get extended time and the reasons why they
                               still wanted me to ask him for a payment to take the SAT through WHCP even when he was not
                               approved just to nail him. I said that is ludicrous as he will not entertain because she was not
                               approved.

                               Spoke with John Vandemoor Stanford Sailing- explained            out but I would provide 100-200k to
                               him as requested by the agents instead of the program as I would say normally and reiterated that I
                               have him 500k for Molly.

                               Spoke to Igor and confirmed receipt of Subject Tests and followed agents request to confirm Mark’s
                               time to show up- where he finishes the test- where Igor would be and the 10k payment to Igor and
                               addressed to WHCP

                               Spoke to Agustin- he wanted to know I was backing           as hard as anyone else. I confirmed I
                               spoke to Donna Heinel and          will be admitted by the 2nd week of Nov- spoke about the fake
                               photo I put on her profile.

                               Spoke to Donna Heinel about           and       going through Subco on Thursday which is now
                               tomorrow- asked about Agustina and she said by 2nd week of Nov. also as requested by agents
                               asked her to put detail on her 20k invoices being sent to the foundation

                               Oct 3

                               Call with       and    - told not to call Donna Heinel till Friday. Asked to wire 300k to Bank America
                               in Boston so I can pay John Vandemoor 100k on Friday and Igor and WHCP 10k based on my calls
                               from Oct 2.

                                                                                                                                          6538
Case 1:19-cr-10080-NMG
                   They wantDocument        1066-1
                            me to call Gordon              Filedthat
                                              again but I rebuffed 04/08/20       Page
                                                                     since he and his      298 of is387
                                                                                      daughter       out of the
                            testing scam.

                            Told       and     -             would call me at 3:10. FBI wants me to offer other schools if he asks
                            despite there not being a chance at this time

                            Spoke to               - either Cornell or Wash U are top choices- I explained what I can do at this
                            point including side door and maybe other schools

                            Oct 4

                            Call with the agents. Discussed my in person wire with

                            Went to the bank to wire 300k - routing number wrong but called agents to get the right one.

                            Recorded               or I hope it recorded - dad and I spoke after volatile session with
                            Went back over process with SC and paying 50k to Donna and Women’s Athletic sand other200 for
                            the Program after final letter.

                            He balked and is going to go forward with schools            can start at or play for right now- TCU,
                            SMU, Santa Clara LMU USD etc... dad Mike thinks               may get in on his own to USC since
                            parents legacy and new test score if he gets 33+

                            Asked for start time of 9:30-10 since I am flying overnight to work out since I am taking the last flight
                            to SFO. But. O they balked

                            Oct 5

                            Went to Bof A with   and        - got two 10k cashiers checks made out to Mark Riddell and West
                            Hollywood College Prep c/o of Igor

                            Then walked to the Post Office from the bank and addressed the envelopes to insert the checks, the
                            agents took pictures of the envelopes and checks. I paid for postage and mailed through the mail
                            person behind the desk.

                            Met with

                            Explained I believe I had Mark take the SAT for both Sidoo kids in Canada

                            Made a series of successful phone calls

                            ALL CALLS stated I was in Boston to set the stage

                            Michael Center UT Tennis coach

                            Per        created a fictional tennis player that was a 2-3 star with a 3.7 and 1300 SAT

                            Asked about our last arrangement- gave about 90k - 15-30k to Men’s Tennis and 60k I brought to him
                            in cash. Asked how the Bar Mitzvah was that part of cash was paying for which he reiterated. Asked
                            for something similar to the past financially for an upcoming junior. We agreed to get back to each
                            other soon.

                            Greg Abbott

                            Left a voicemail thanking him for the 75k and that we will achieve 750+ on the Subject Tests
                            tomorrow in LA.

                            Marcia Abbott

                            Called to check in and make sure she got in ok. Explained Mark the Proctor and Igor the test
                            administrator are ready to go. She said she would be there at 7:45 and be over in 4 hours.

                            Mark Riddell

                            Checked in and Mark informed me all is good. He will score over 750 and go for perfect on the Math
                            and Lit Tests and that I sent the 10k today.

                            Igor Divorskiy

                            Connected and checked in while letting him know the 10k check was on its way.

                            John Vandemoor

                            Left a voicemail to say call me to discuss his request for 160k to pay coaches. Asked for a phone call
                            back.

                            John texted later in the day when I was on the plane to say he was available to speak.

                            I reaffirmed that the 160k wire to him could be a down payment on a kid the following year.
                            Reaffirmed with his ok that we would only pay 340 next year for an sailor.

                            Donna Heinel

                            Called her back based on her text she sent after the Sub Committee meeting on Wednesday

                            Dona stated that both                  and Isabel         were admitted. She agreed for the 50k
                            payments to come at a later date.

                            We spoke about the difficulty of getting Isabel in but her SAT score and her learning disabilities
                            helped persuade the committee.

                            Michelle Merage

                            Called her and explained        got into USC via Beach VB. Spoke about having taken the SAT the
                            way we did was the best investment made because that helped her get over the top with her grades
                            being low but scores high and learning differences sold it



                            Let         know that       got in as a soccer player. Told to keep things quiet because of the
                            jealousy from others and payment will occur in a while not right away



                            Explained that we have Williams, Amherst, Georgetown in the mix. Asked her if she would go over a
                            million dollar investment. She thought I meant 1.5-2 million. I told her 1.1 and she fine no problem and
                            that she has the money available now.
                                                                                                                                        6539
             Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 299 of 387
                               Spoke about next steps internally with       and         Timing of Letter of Intent for a 25 percent
                               scholarship on Nov 14. Soon thereafter we could get some of the money.

                               I would call Ali and or Jorge to make sure all is set - 100k to Jorge, 25k to Ali and 50k to

                               Ali K

                               Called and left a message to get an update on the                 process



                               Called to ask for the address where I could send the 50k check for a referral. Spoke about Williams
                               and Amherst for               and mom willing to go a million dollars.



                               Returned his called about his daughter. Reaffirmed the side door for           and         desire for his
                               daughter to attend USC.

                                                 with        and

                               I explained that     got approval from              to give his spot to              Because Gtown is
                               Early Action you cannot apply to Gtown early and Yale early.

                               They want to push to get money out of          early before acceptance to Yale. I said no way as he will
                               not have an acceptance till April 1 at Yale why would he pay now?

                               Bill McGlashan

                               Spoke about the SAT but want               the son for side door which I explained is no longer as Bill’s
                               friends are helping not only to get           into the Dr Dri program but now helping get into USC. So
                               nothing her but SAT.

                               Gordon Caplon - keep going back to him and daughter          on the Testing. I explained again
                                     is not eligible but they want to get money now as a deposit.

                               Oct 7 - Martin Fox texted he wanted me to know that Michael Center called him and wanted to know
                               why I did not call him first to set up the next deal

                               Oct 8

                               Conference Call with            and FBI and                  - asked to call Mark Riddell and Igor
                               Ask to have a wire for Huneeus family.

                               Call Mark and Igor to confirm test with Abbot went well

                               Told              about Martin Fox text

                               Brought the wire into the Huneeus home. Spent time with Agustin- we spoke about admission to USC
                               and the SAT

                               Agustina came in later and we rehashed my conversation about attending and getting into USC.

                               Oct 9

                               Called the agents and reported back on Huneeus wiring conversation

                               Was asked to make 4 calls                                 , Marci Palatella and                .

                               Called             and spoke about getting new introductions of Chinese families - rehashed                 ’s
                               enrollment and happiness at Stanford using Sailing and a fake profile for 6.5 million

                               Felicity Huffman called me - I confirmed Monday’s meeting with              and family to do applications

                               Spoke with              who was the facilitator for           to work with us and get into Yale. She
                               acknowledged not a strong soccer player and not playing- not a client of her firm.

                               Spoke to Marci Palatella about            Doing great lucky we did SAT and made a payment to get in.
                               Worth the money she said.

                               Called                   left a vm

                               Oct 10

                               Call with       and team

                               Asked to call Bill Ferguson and Martin Fox

                               Call

                               Oct 11

                               Asked to call      Gordon Caplon

                               Tried       by phone and text- sounds by the ring he is in China

                               Spoke to Gordon and he told me theyappealed again for 100 percent time. We spoke about if
                               could get into CMC USC and Wash U if she got 27-29 ACT - I said yes because of ability. He stated
                               he was going to donate to whatever school she goes to so why not side door to confirm acceptance.

                               Got a text from Felicity Huffman - Monday does not work so I have to drive an extra day up and back
                               to appt at 11:30 Tuesday so the agents can wire me for Felicity and     Called the agents and got
                               approval that they could be there too.

                               Texted       and got a reply that he will be in China for another 2 weeks.
64   Created:
     9/30/2018
     22:52(UTC-4)
     Modified:
     9/30/2018
     22:52(UTC-4)



                                                                                                                                                6540
65   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 300 of 387
     9/23/2018
     04:20(UTC-4)
     Modified:
     9/23/2018
     04:26(UTC-4)




66   Created:                  Title: Jorge Salcedo -
     9/22/2018                 Summary:                     about Yale
     10:57(UTC-4)              Source: Notes
     Modified:                 Body: Jorge Salcedo -
     9/22/2018
     10:59(UTC-4)                              about Yale
67   Created:                                                                        Yes
     9/21/2018
     05:43(UTC-4)
     Modified:
     9/21/2018
     05:43(UTC-4)
68   Created:
     9/15/2018
     16:48(UTC-4)
     Modified:
     9/15/2018
     16:48(UTC-4)
69   Created:
     9/12/2018
     08:41(UTC-4)
     Modified:
     9/12/2018
     08:42(UTC-4)
70   Created:
     9/7/2018
     18:01(UTC-4)
     Modified:
     9/7/2018
     18:30(UTC-4)




71   Created:
     8/30/2018
     18:39(UTC-4)
     Modified:
     8/30/2018
     19:26(UTC-4)
72   Created:
     8/28/2018
     00:40(UTC-4)
     Modified:
     8/28/2018
     00:41(UTC-4)



73   Created:
     8/27/2018
     20:51(UTC-4)
     Modified:
     8/29/2018
     10:22(UTC-4)




                                                                                           6541
             Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 301 of 387




74   Created:
     8/26/2018
     12:55(UTC-4)
     Modified:
     8/26/2018
     12:58(UTC-4)




                                                                                     6542
75   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 302 of 387   Yes
     8/26/2018
     12:55(UTC-4)
     Modified:
     8/26/2018
     12:55(UTC-4)
76   Created:
     8/16/2018
     22:11(UTC-4)
     Modified:
     9/10/2018
     00:08(UTC-4)




77   Created:                                                                        Yes
     8/16/2018
     22:08(UTC-4)
     Modified:
     8/16/2018
     22:08(UTC-4)
78   Created:                                                                        Yes
     8/16/2018
     22:08(UTC-4)
     Modified:
     8/16/2018
     22:08(UTC-4)
79   Created:                                                                        Yes
     8/13/2018
     17:38(UTC-4)
     Modified:
     8/13/2018
     17:38(UTC-4)
80   Created:
     8/11/2018
     11:49(UTC-4)
     Modified:
     8/27/2018
     19:13(UTC-4)




81   Created:
     8/9/2018
     21:11(UTC-4)
     Modified:
     10/13/2018
     12:26(UTC-4)




                                                                                           6543
82   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 303 of 387
     8/5/2018
     10:42(UTC-4)
     Modified:
     8/6/2018
     12:28(UTC-4)




83   Created:
     8/2/2018
     15:46(UTC-4)
     Modified:
     8/2/2018
     17:57(UTC-4)
84   Created:
     8/2/2018
     15:34(UTC-4)
     Modified:
     8/2/2018
     15:43(UTC-4)




85   Created:
     7/26/2018
     14:07(UTC-4)
     Modified:
     7/26/2018
     14:16(UTC-4)




86   Created:
     7/23/2018
     10:47(UTC-4)
     Modified:
     7/26/2018
     12:37(UTC-4)




                                                                                     6544
87   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 304 of 387
     7/18/2018
     17:01(UTC-4)
     Modified:
     7/19/2018
     09:38(UTC-4)




88   Created:
     7/16/2018
     12:20(UTC-4)
     Modified:
     7/16/2018
     12:20(UTC-4)

89   Created:
     7/12/2018
     23:42(UTC-4)
     Modified:
     7/13/2018
     10:23(UTC-4)
90   Created:
     7/6/2018
     11:54(UTC-4)
     Modified:
     7/6/2018
     11:54(UTC-4)




                                                                                     6545
91   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 305 of 387
     7/5/2018
     08:59(UTC-4)
     Modified:
     7/5/2018
     09:06(UTC-4)




92   Created:
     7/4/2018
     00:57(UTC-4)
     Modified:
     7/4/2018
     14:11(UTC-4)
93   Created:
     6/28/2018
     10:07(UTC-4)
     Modified:
     6/28/2018
     16:47(UTC-4)




                                                                                     6546
94   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 306 of 387
     6/28/2018
     10:07(UTC-4)
     Modified:
     6/28/2018
     10:27(UTC-4)




95   Created:
     6/20/2018
     19:12(UTC-4)
     Modified:
     6/20/2018
     19:12(UTC-4)
96   Created:
     6/17/2018
     23:22(UTC-4)
     Modified:
     6/18/2018
     17:12(UTC-4)




97   Created:
     6/17/2018
     01:14(UTC-4)
     Modified:
     6/17/2018
     09:50(UTC-4)



98   Created:
     6/11/2018
     11:42(UTC-4)
     Modified:
     6/11/2018
     11:43(UTC-4)




                                                                                     6547
99    Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 307 of 387
      6/8/2018
      15:25(UTC-4)
      Modified:
      6/8/2018
      15:33(UTC-4)




100   Created:
      6/7/2018
      23:45(UTC-4)
      Modified:
      7/5/2018
      20:45(UTC-4)




101   Created:                                                                        Yes
      6/5/2018
      14:14(UTC-4)
      Modified:
      6/5/2018
      14:14(UTC-4)
102   Created:
      5/25/2018
      12:20(UTC-4)
      Modified:
      6/11/2018
      12:35(UTC-4)




                                                                                            6548
103   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 308 of 387
      5/19/2018
      06:34(UTC-4)
      Modified:
      5/19/2018
      07:36(UTC-4)




104   Created:
      5/17/2018
      20:17(UTC-4)
      Modified:
      5/17/2018
      20:26(UTC-4)
105   Created:
      4/27/2018
      22:31(UTC-4)
      Modified:
      4/27/2018
      22:46(UTC-4)




106   Created:
      4/19/2018
      17:17(UTC-4)
      Modified:
      4/19/2018
      17:18(UTC-4)




                                                                                      6549
107   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 309 of 387
      4/18/2018
      21:31(UTC-4)
      Modified:
      4/19/2018
      12:13(UTC-4)




108   Created:                                                                        Yes
      4/18/2018
      11:20(UTC-4)
      Modified:
      4/18/2018
      11:20(UTC-4)
109   Created:                                                                        Yes
      4/14/2018
      19:33(UTC-4)
      Modified:
      4/14/2018
      19:33(UTC-4)
110   Created:
      4/14/2018
      14:15(UTC-4)
      Modified:
      4/14/2018
      14:15(UTC-4)




                                                                                            6550
111   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 310 of 387
      4/9/2018
      20:30(UTC-4)
      Modified:
      4/11/2018
      22:20(UTC-4)




112   Created:                                                                        Yes
      3/5/2018
      21:22(UTC-5)
      Modified:
      3/5/2018
      21:22(UTC-5)
113   Created:                                                                        Yes
      3/5/2018
      21:21(UTC-5)
      Modified:
      3/5/2018
      21:21(UTC-5)
114   Created:
      3/2/2018
      13:17(UTC-5)
      Modified:
      12/8/2018
      01:16(UTC-5)




115   Created:
      3/1/2018
      15:11(UTC-5)
      Modified:
      3/4/2018
      20:44(UTC-5)




116   Created:
      2/25/2018
      14:26(UTC-5)
      Modified:
      2/25/2018
      14:26(UTC-5)




                                                                                            6551
117   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 311 of 387
      2/22/2018
      14:58(UTC-5)
      Modified:
      3/20/2018
      13:33(UTC-4)




118   Created:
      2/21/2018
      19:10(UTC-5)
      Modified:
      2/21/2018
      19:10(UTC-5)
119   Created:
      2/19/2018
      14:48(UTC-5)
      Modified:
      2/19/2018
      14:49(UTC-5)
120   Created:                                                                        Yes
      2/17/2018
      15:35(UTC-5)
      Modified:
      2/17/2018
      15:35(UTC-5)
121   Created:                                                                        Yes
      2/12/2018
      23:50(UTC-5)
      Modified:
      2/12/2018
      23:50(UTC-5)
122   Created:                                                                        Yes
      2/11/2018
      14:43(UTC-5)
      Modified:
      2/11/2018
      14:43(UTC-5)
123   Created:
      2/11/2018
      12:49(UTC-5)
      Modified:
      2/11/2018
      13:10(UTC-5)




124   Created:                                                                        Yes
      2/5/2018
      23:56(UTC-5)
      Modified:
      2/5/2018
      23:56(UTC-5)




                                                                                            6552
125   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 312 of 387
      2/2/2018
      08:37(UTC-5)
      Modified:
      2/5/2018
      23:55(UTC-5)




126   Created:
      2/1/2018
      14:57(UTC-5)
      Modified:
      2/1/2018
      14:59(UTC-5)
127   Created:                                                                        Yes
      1/13/2018
      23:47(UTC-5)
      Modified:
      1/13/2018
      23:47(UTC-5)
128   Created:                                                                        Yes
      1/1/2018
      22:42(UTC-5)
      Modified:
      1/1/2018
      22:42(UTC-5)
129   Created:
      12/22/2017
      01:19(UTC-5)
      Modified:
      12/22/2017
      01:20(UTC-5)
130   Created:
      12/6/2017
      14:30(UTC-5)
      Modified:
      12/6/2017
      15:58(UTC-5)




131   Created:
      12/1/2017
      18:57(UTC-5)
      Modified:
      12/17/2017
      20:02(UTC-5)




                                                                                            6553
132   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 313 of 387
      12/1/2017
      08:47(UTC-5)
      Modified:
      12/12/2017
      17:07(UTC-5)




133   Created:
      11/19/2017
      15:16(UTC-5)
      Modified:
      11/22/2017
      12:36(UTC-5)




134   Created:
      11/18/2017
      12:55(UTC-5)
      Modified:
      11/18/2017
      12:56(UTC-5)




135   Created:
      10/29/2017
      23:25(UTC-4)
      Modified:
      10/29/2017
      23:31(UTC-4)




136   Created:
      10/24/2017
      20:50(UTC-4)
      Modified:
      10/24/2017
      20:50(UTC-4)
137   Created:
      10/23/2017
      08:58(UTC-4)
      Modified:
      10/23/2017
      08:58(UTC-4)




                                                                                      6554
138   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 314 of 387
      10/14/2017
      17:21(UTC-4)
      Modified:
      10/14/2017
      18:08(UTC-4)




139   Created:
      10/11/2017
      10:46(UTC-4)
      Modified:
      10/14/2017
      15:43(UTC-4)

140   Created:
      9/24/2017
      07:22(UTC-4)
      Modified:
      9/24/2017
      07:23(UTC-4)
141   Created:
      9/21/2017
      13:51(UTC-4)
      Modified:
      9/21/2017
      14:58(UTC-4)




142   Created:
      9/4/2017
      21:58(UTC-4)
      Modified:
      9/4/2017
      21:59(UTC-4)
143   Created:
      8/5/2017
      21:33(UTC-4)
      Modified:
      8/5/2017
      21:34(UTC-4)




                                                                                      6555
144   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 315 of 387
      8/5/2017
      17:20(UTC-4)
      Modified:
      8/5/2017
      17:21(UTC-4)
145   Created:
      7/31/2017
      15:14(UTC-4)
      Modified:
      8/5/2017
      20:36(UTC-4)
146   Created:
      7/15/2017
      17:08(UTC-4)
      Modified:
      7/22/2017
      18:50(UTC-4)

147   Created:
      7/4/2017
      17:05(UTC-4)
      Modified:
      7/4/2017
      17:15(UTC-4)




148   Created:
      7/2/2017
      20:16(UTC-4)
      Modified:
      12/4/2018
      15:57(UTC-5)

149   Created:                  Title: Donna - 300
      6/30/2017                 Body: Donna - 300
      11:49(UTC-4)
      Modified:
      6/30/2017
      11:59(UTC-4)

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                                1,410 million minus   and   and Mark




                                                                                      6556
150   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 316 of 387
      6/17/2017
      13:25(UTC-4)
      Modified:
      6/17/2017
      14:08(UTC-4)




151   Created:
      6/8/2017
      20:27(UTC-4)
      Modified:
      6/12/2017
      20:27(UTC-4)




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152   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 317 of 387
      6/8/2017
      20:07(UTC-4)
      Modified:
      7/7/2017
      08:41(UTC-4)




153   Created:                  Title: Attn colon- documentary
      6/6/2017                  Body: Attn colon- documentary
      22:02(UTC-4)
      Modified:                 I mentor
      6/6/2017
      22:10(UTC-4)
                                Tuesday and Thursday 4-6              McClashan and   - August 20




154   Created:                  Title: USC with Donna
      6/5/2017                  Body: USC with Donna
      00:25(UTC-4)
      Modified:                        - 250 -50
      12/15/2017                              250 -50
      23:07(UTC-5)                    alatella-500 -100
                                      Guinnuli 250 -50
                                                350            1460-4.1 HW -300-50
                                          Blake- 250-50

                                               - LMU 200 -50
                                             - 150-50
                                      250 -50
                                    Bizzack 250 50
                                       Aziz 300 -200
                                Kimmel 250 -50


                                             1.2 -400
                                                1.2 - 400


                                                 -400 -200


                                              250 -150


                                       Zangrillo - ask for transfer


                                           - USC
                                                   1-1.2 -



                                4,250 done


                                800k - Game On
                                500 - Pro Sports
                                250 - Versitile


                                4250
                                1550
                                ————-
                                2700 tahoe house with furniture




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155   Created:Case 1:19-cr-10080-NMG
                                 Title: USCDocument
                                           with Donna 1066-1 Filed 04/08/20 Page 318 of 387
      6/5/2017                    Body: USC with Donna
      00:25(UTC-4)
      Modified:                         - 250
      1/26/2018                                250
      00:45(UTC-5)                    Palatella-500
                                       Guinnuli 250
                                                 350            1460-4.1 HW -300
                                          Blake- 250

                                                 - LMU 200
                                         Kimmel -250
                                                -250
                                        Isackson-250
                                           -250


                                                 -250?????




                                        Zangrillo -
                                      Bizzack-250-


                                         Aziz - Gamel daughter- Trojan Transfer 300




                                                 - Georgetown USC 400 or 250


                                           - Stanford 1 mil USC 250


                                          - Brazil 250 NYU - 75




                                                 LMU- 150


                                                -500 Rice




                                                         W -200 -50 to


                                                - Chapman 250




                                                          1.2


                                            - 1.2 Yale




                                                                                              6559
156   Created:Case 1:19-cr-10080-NMG
                                 Title: USCDocument
                                           with Donna 1066-1 Filed 04/08/20 Page 319 of 387
      6/5/2017                    Body: USC with Donna
      00:25(UTC-4)
      Modified:
      12/15/2017                               250 -50
      23:04(UTC-5)                    Palatella-500 -100
                                       Guinnuli 250 -50
                                                 350           1460-4.1 HW -300-50
                                          Blake- 250-50
                                                    tennis transfer
                                                  LMU 200 -50
                                                 150-50
                                        250 -50
                                      Bizzack 250 50
                                         Aziz 300 -200
                                  Kimmel 250 -50


                                               1.2 -400
                                                  1.2 - 400


                                                   -400 -200


                                                250 -150


                                        Zangrillo - ask for transfer


                                           - USC
                                                     1-1.2 -



                                  4,250 done


                                  800k - Game On
                                  500 - Pro Sports
                                  250 - Versitile


                                  4250
                                  1550
                                  ————-


157   Created:
      5/19/2017
      21:36(UTC-4)
      Modified:
      9/6/2017
      00:03(UTC-4)


158   Created:
      5/8/2017
      12:37(UTC-4)
      Modified:
      5/8/2017
      12:40(UTC-4)




159   Created:
      5/6/2017
      17:00(UTC-4)
      Modified:
      5/6/2017
      17:03(UTC-4)




                                                                                              6560
160   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 320 of 387
      4/18/2017
      19:36(UTC-4)
      Modified:
      4/29/2017
      17:08(UTC-4)




161   Created:
      4/11/2017
      00:57(UTC-4)
      Modified:
      4/27/2017
      12:54(UTC-4)




162   Created:
      3/25/2017
      12:41(UTC-4)
      Modified:
      3/25/2017
      22:23(UTC-4)




163   Created:
      3/23/2017
      17:31(UTC-4)
      Modified:
      3/23/2017
      18:11(UTC-4)




                                                                                      6561
164   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 321 of 387
      3/13/2017
      19:36(UTC-4)
      Modified:
      4/9/2017
      12:14(UTC-4)




165   Created:
      3/4/2017
      16:33(UTC-5)
      Modified:
      3/4/2017
      17:02(UTC-5)




166   Created:
      3/3/2017
      14:54(UTC-5)
      Modified:
      3/10/2017
      12:08(UTC-5)




                                                                                      6562
167   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 322 of 387
      2/14/2017
      20:28(UTC-5)
      Modified:
      2/21/2018
      00:12(UTC-5)




168   Created:
      2/11/2017
      19:05(UTC-5)
      Modified:
      2/12/2017
      17:59(UTC-5)




169   Created:
      2/8/2017
      23:19(UTC-5)
      Modified:
      3/1/2017
      00:07(UTC-5)




170   Created:
      1/13/2017
      11:55(UTC-5)
      Modified:
      1/13/2017
      21:39(UTC-5)




                                                                                      6563
171   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 323 of 387
      12/15/2016
      23:45(UTC-5)
      Modified:
      12/15/2016
      23:56(UTC-5)




172   Created:                  Title: 240 Donna
      12/15/2016                Body: 240 Donna30k
      01:08(UTC-5)              40k
      Modified:                 30
      12/15/2016                -----------
      01:11(UTC-5)
                                ----------


173   Created:
      12/5/2016
      09:50(UTC-5)
      Modified:
      12/5/2016
      09:51(UTC-5)
174   Created:
      12/3/2016
      17:24(UTC-5)
      Modified:
      12/5/2016
      09:50(UTC-5)




                                                                                      6564
175   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 324 of 387
      11/27/2016
      21:50(UTC-5)
      Modified:
      11/27/2016
      22:34(UTC-5)




176   Created:
      11/14/2016
      17:17(UTC-5)
      Modified:
      11/14/2016
      17:18(UTC-5)
177   Created:
      11/12/2016
      18:27(UTC-5)
      Modified:
      11/12/2016
      18:27(UTC-5)




                                                                                      6565
178   Created:Case 1:19-cr-10080-NMG
                                 Title: Document
                                         1 million- 400 1066-1 Filed 04/08/20 Page 325 of 387
      10/8/2016                    Body:        1 million- 400
      21:45(UTC-4)                        Semprevivo 550 - 200
      Modified:                          Nielson - 250 -300- 100
      1/20/2017                         Ginunnuli- 250 - 50 Donna
      00:52(UTC-5)                     MacFarlane -USC 250 -50 Donna
                                                   200Chapman -100Chapman
                                            -50k
                                                 -400-200 Gordie
                                       Harris- 300 100 bob           50
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                                                350 200Gordie
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                                                                  Georgia Tech 250 mark 100
                                             100k- NYU
                                               Berkeley-700 - Stanford - 7 million- 4 Stanford- 500k
                                                    1 million 400
                                        Janus - 400- 200 Gordie


                                   100k         150       - 50                    250        and       250
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179   Created:
      9/26/2016
      00:13(UTC-4)
      Modified:
      1/8/2019
      23:55(UTC-5)




180   Created:
      7/13/2016
      19:06(UTC-4)
      Modified:
      5/27/2018
      13:18(UTC-4)




181   Created:
      7/2/2016
      08:39(UTC-4)
      Modified:
      1/6/2017
      23:16(UTC-5)




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182   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 326 of 387
      5/27/2016
      20:11(UTC-4)
      Modified:
      5/27/2016
      20:24(UTC-4)




                                                                                      6567
183   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 327 of 387
      5/15/2016
      07:12(UTC-4)
      Modified:
      5/18/2016
      00:29(UTC-4)




184   Created:
      5/11/2016
      15:33(UTC-4)
      Modified:
      5/11/2016
      15:36(UTC-4)




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185   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 328 of 387
      5/11/2016
      00:11(UTC-4)
      Modified:
      5/11/2016
      00:15(UTC-4)




186   Created:
      4/27/2016
      22:20(UTC-4)
      Modified:
      4/28/2016
      21:52(UTC-4)




187   Created:
      4/27/2016
      00:59(UTC-4)
      Modified:
      4/27/2016
      01:21(UTC-4)




188   Created:
      4/17/2016
      07:35(UTC-4)
      Modified:
      4/17/2016
      09:58(UTC-4)




                                                                                      6569
189   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 329 of 387
      3/31/2016
      16:11(UTC-4)
      Modified:
      3/31/2016
      16:41(UTC-4)




190   Created:
      3/31/2016
      14:54(UTC-4)
      Modified:
      3/31/2016
      14:56(UTC-4)
191   Created:
      3/18/2016
      10:57(UTC-4)
      Modified:
      3/18/2016
      10:59(UTC-4)




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192   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 330 of 387
      11/13/2015
      14:39(UTC-5)
      Modified:
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193   Created:
      9/21/2015
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194   Created:Case 1:19-cr-10080-NMG
                                 Title: Document
                                         -200k chapman1066-1 Filed 04/08/20 Page 331 of 387
      8/26/2015                   Body:       -200k chapmanHenriquez 400 Gtown
      00:54(UTC-4)                       300 Gtown
      Modified:                   Semprevivo 400 Gtown
      4/28/2016                          300 Gtown
      23:09(UTC-4)                           - 250- 100




                                  Feiwell 150 USC
                                  Isackson 250UCSB- 100         20 track


                                       400 each- Berkeley Gtown - 100 Sailing 50 Gordie - 100
                                  Flaxman 250 USD- 100


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                                            -300- Georgetown
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                                            250 UNC- 100         -50 USC


195   Created:                    Title: 2,575,000 + 300 or 200 -    money possible 2.72
      8/26/2015                   Body: 2,575,000 + 300 or 200 -     money possible 2.725= 500   1.1 house
      00:54(UTC-4)
      Modified:
      4/29/2016                   200 house
      12:48(UTC-4)                50
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                                        -200k chapmanHenriquez 400 Gtown
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                                       400 each- Berkeley Gtown - 100 Sailing 50 Gordie - 100
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196   Created:
      7/13/2015
      10:41(UTC-4)
      Modified:
      11/14/2016
      12:04(UTC-5)




                                                                                                             6572
197   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 332 of 387
      7/8/2015
      17:06(UTC-4)
      Modified:
      7/13/2015
      10:44(UTC-4)




198   Created:
      6/24/2015
      11:22(UTC-4)
      Modified:
      7/7/2015
      20:10(UTC-4)




199   Created:
      6/9/2015
      18:40(UTC-4)
      Modified:
      11/27/2016
      19:37(UTC-5)




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200   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 333 of 387
      5/7/2015
      17:10(UTC-4)
      Modified:
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201   Created:
      1/8/2015
      01:36(UTC-5)
      Modified:
      1/8/2015
      01:39(UTC-5)
202   Created:
      8/23/2014
      21:59(UTC-4)
      Modified:
      4/29/2016
      23:04(UTC-4)




203   Created:
      7/26/2014
      18:33(UTC-4)
      Modified:
      7/26/2014
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204   Created:
      7/26/2014
      18:33(UTC-4)
      Modified:
      7/26/2014
      18:49(UTC-4)




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205   Created:Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 334 of 387
      1/31/2013
      10:53(UTC-5)
      Modified:
      6/25/2016
      18:32(UTC-4)




206   Created:
      11/7/2012
      09:58(UTC-5)
      Modified:
      11/7/2012
      11:26(UTC-5)




207   Created:
      2/21/2012
      13:27(UTC-5)
      Modified:
      6/11/2017
      16:12(UTC-4)




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 1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
 2
                                      )
 3   UNITED STATES OF AMERICA,        )
                                      )
 4            Plaintiff,              )
                                      )
 5   v.                               )
                                      )
 6   DAVID SIDOO, GREGORY COLBURN,    )
     AMY COLBURN, GAMAL ABDELAZIZ,    )
 7   DIANE BLAKE, TODD BLAKE,         )
     I-HSIN CHEN, MOSSIMO GIANNULI,   ) Criminal Action
 8   ELIZABETH HENRIQUEZ, MANUEL      ) No. 1:19-cr-10080-NMG
     HENRIQUEZ, DOUGLAS HODGE,        )
 9   MICHELLE JANAVS, ELISABETH       )
     KIMMEL, LORI LOUGHLIN, WILLIAM   )
10   McGLASHAN, JR., MARCI PALATELLA, )
     JOHN WILSON, HOMAYOUN ZADEH,     )
11   ROBERT ZANGRILLO,                )
                                      )
12            Defendants.             )
                                      )
13

14                  BEFORE THE HONORABLE M. PAGE KELLEY
                       UNITED STATES MAGISTRATE JUDGE
15

16                         INITIAL STATUS CONFERENCE

17
                                  June 3, 2019
18

19                John J. Moakley United States Courthouse
                              Courtroom No. 24
20                           One Courthouse Way
                         Boston, Massachusetts 02210
21

22
                            Linda Walsh, RPR, CRR
23                         Official Court Reporter
                  John J. Moakley United States Courthouse
24                      One Courthouse Way, Room 5205
                         Boston, Massachusetts 02210
25                          lwalshsteno@gmail.com
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 1   APPEARANCES:

 2   On Behalf of the Government:

 3        UNITED STATES ATTORNEY'S OFFICE
          By: AUSA Eric S. Rosen
 4            AUSA Justin D. O'Connell
              AUSA Leslie Wright
 5        One Courthouse Way
          Boston, Massachusetts 02210
 6        617-748-3412
          eric.rosen@usdoj.gov
 7
     On Behalf of the Defendant Robert Zangrillo and David Sidoo:
 8
          MARTIN G. WEINBERG, PC
 9        By: Martin G. Weinberg, Esq.
          20 Park Plaza, Suite 1000
10        Boston, Massachusetts 02116
          617-227-3700
11        owlmcb@att.net

12   On Behalf of the Defendants Gregory Colburn and Amy Colburn:

13        HOOPER, LUNDY & BOOKMAN, P.C.
          By: David S. Schumacher, Esq.
14        470 Atlantic Avenue, Suite 1201
          Boston, Massachusetts 02210
15        617-532-2704
          dschumacher@health-law.com
16
     On Behalf of the Defendant Gamal Abdelaziz:
17
          NIXON PEABODY LLP
18        By: Joshua C.H. Sharp, Esq.
              Brian T. Kelly, Esq.
19        Exchange Place
          53 State Street
20        Boston, Massachusetts 02109-2835
          617-345-1135
21        jsharp@nixonpeabody.com

22

23

24

25
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 1   APPEARANCES (Continued):

 2   On Behalf of the Defendants Diane Blake and Todd Blake:

 3        DUANE MORRIS LLP
          By: Stephen H. Sutro, Esq.
 4        Spear Tower
          One Market Plaza, Suite 2200
 5        San Francisco, California 94105-1127
          415-957-3000
 6        shsutro@duanemorris.com

 7        TODD & WELD
          By David E. Meier, Esq.
 8        One Federal Street, 27th Floor
          Boston, Massachusetts 02110
 9        617-720-2626
          dmeier@toddweld.com
10
     On Behalf of the Defendant I-Hsin Chen:
11
          KELLER/ANDERLE LLP
12        By: Reuben Camper Cahn, Esq.
              Jennifer L. Keller, Esq.
13        18300 Von Karman Avenue, Suite 930
          Irvine, California 92612
14        949-476-8700
          rcahn@kelleranderle.com
15
     On Behalf of the Defendant Mossimo Giannulli:
16
          DONNELLY, CONROY & GELHAAR, LLP
17        By: Joshua N. Ruby, Esq.
              George W. Vien, Esq.
18        260 Franklin Street
          Boston, Massachusetts 02110
19        617-720-2880
          jnr@dcglaw.com
20
     On Behalf of the Defendant Elizabeth Henriquez:
21
          ROPES & GRAY LLP
22        By: Aaron M. Katz, Esq.
          Prudential Tower
23        800 Boylston Street
          Boston, Massachusetts 02199-3600
24        617-951-7117
          aaron.katz@ropesgray.com
25
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 1   APPEARANCES (Continued):

 2   On Behalf of the Defendant Manuel Henriquez:

 3        ORRICK, HERRINGTON & SUTCLIFFE LLP
          By: Walter Brown, Esq.
 4        405 Howard Street
          San Francisco, California 94105
 5        415-773-5995
          wbrown@orrick.com
 6
     On Behalf of the Defendant Douglas Hodge:
 7
          ROPES & GRAY
 8        By: Brien T. O'Connor, Esq.
          Prudential Tower
 9        800 Boylston Street
          Boston, Massachusetts 02199-3600
10        617-951-7385
          boconnor@ropesgray.com
11
          PEPPER HAMILTON LLP
12        By: Miranda Hooker, Esq.
          125 High Street, 19th Floor
13        High Street Tower
          Boston, Massachusetts 02110
14        617-204-5160
          hookerm@pepperlaw.com
15
     On Behalf of the Defendant Michelle Janavs:
16
          NUTTER, MCCLENNEN & FISH, LLP
17        By: Jonathan L. Kotlier, Esq.
          Seaport West
18        155 Seaport Boulevard
          Boston, Massachusetts 02210-2604
19        617-439-2000
          jkotlier@nutter.com
20
          BIENERT KATZMAN PLC
21        By: John L. Littrell, Esq.
          903 Calle Amanecer, Suite 350
22        San Clemente, California 92673
          949-369-3700
23        jlittrell@bienertkatzman.com

24

25
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 1   APPEARANCES (Continued):

 2   On Behalf of the Defendant Elisabeth Kimmel:

 3        MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO, PC
          By: Eoin P. Beirne, Esq.
 4            Cory Flashner, Esq.
          One Financial Center, 42nd Floor
 5        Boston, Massachusetts 02111
          617-348-1707
 6        ebeirne@mintz.com

 7   On Behalf of the Defendant Lori Loughlin:

 8        LATHAM & WATKINS LLP
          By: William J. Trach, Esq.
 9        John Hancock Tower, 27th Floor
          200 Clarendon Street
10        Boston, Massachusetts 02116
          617-880-4514
11        william.trach@lw.com

12   On Behalf of the Defendant William McGlashan, Jr.:

13        SIDLEY AUSTIN LLP
          By: Jack W. Pirozzolo, Esq.
14        60 State Street, 34th Floor
          Boston, Massachusetts 02109
15        617-223-0304
          jpirozzolo@sidley.com
16
     On Behalf of the Defendant Marci Palatella:
17
          SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
18        By: Michael K. Loucks, Esq.
          500 Boylston Street
19        Boston, Massachusetts 02116
          617-573-4840
20        michael.loucks@skadden.com

21   On Behalf of the Defendant John Wilson:

22        WHITE & CASE, LLP
          By: Michael Kendall, Esq.
23        75 State Street
          Boston, Massachusetts 02109
24        617-939-9310
          michael.kendall@whitecase.com
25
Case 1:19-cr-10080-NMG
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 1   APPEARANCES (Continued):

 2   On Behalf of the Defendant Homayoun Zadeh:

 3        MINER ORKAND SIDDALL LLP
          By: Megan A. Siddall, Esq.
 4        470 Atlantic Avenue, 4th Floor
          Boston, Massachusetts 02210
 5        617-273-8406
          msiddall@mosllp.com
 6
     On Behalf of the Defendant Robert Zangrillo:
 7
          FOLEY HOAG LLP
 8        By: Nicholas C. Theodorou, Esq.
          155 Seaport Boulevard
 9        Seaport World Trade Center West
          Boston, Massachusetts 02210
10        617-832-1163
          ntheodorou@foleyhoag.com
11
          BOIES SCHILLER FLEXNER
12        By: Matthew L. Schwartz, Esq.
          55 Hudson Yards, 20th Floor
13        New York, New York 10001
          212-303-3646
14        mlschwartz@bsfllp.com

15

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17              Proceedings recorded by sound recording and
                  produced by computer-aided stenography
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 1             THE COURT:    Good morning.     Okay.   That's everyone.

 2             All right.    So I have the parties' joint initial

 3   status report, which is 388 on the docket, and I've read it.

 4   And what I think I'll do is just go through the matters that

 5   are here, and if anyone wants to be heard on any particular

 6   issue, just try to stand up and start talking.

 7             So with regard to the pending discovery requests, I

 8   understand the parties are conferring on more comprehensive

 9   indices, and I think I'll just leave it up to the parties to

10   keep talking about that.

11             Anyone want to say anything about that?

12             (No response.)

13             THE COURT:    Okay.    So with regard to number two,

14   additional discovery, I know the Government has its Brady

15   obligations, and I think they understand those.          If someone

16   would like to be heard on why they think a certification is

17   necessary, I'm happy to hear you.

18             Yes?

19             MR. KATZ:    Good morning, Your Honor.

20             THE COURT:    If we could just have everyone identify

21   themselves just for the record.

22             MR. KATZ:    Sure.    Aaron Katz for Elizabeth Henriquez.

23   I think I probably speak for many of the defendants, if not all

24   of them here.

25             I think the issue is that the Government may have a
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 1   different conception of what constitutes Brady in this case as

 2   the Defendants.     Normally, you know, you get 302s.          You see the

 3   interview reports.      We can make the call on our own about

 4   whether certain information is exculpatory both as to guilt or

 5   punishment and sentencing, which also comes within the

 6   definition of Brady.

 7              Here during the meet and confer, and, Mr. Rosen, I

 8   apologize if I am misstating anything, but part of our

 9   conversation was about interviews the Government may have had

10   with other parents that were clients of Rick Singer that have

11   not been charged in this case, and particularly whether any of

12   those parents told investigators, told the prosecutors that

13   Rick Singer essentially told them that their money was going to

14   be going to athletic programs or to schools and not in them --

15   in the pocket of a coach who had been bribed and corrupted.

16              If Rick Singer was telling other parents that the

17   money that they were giving to Key Worldwide was going to go to

18   the athletic programs, we think that's exculpatory.             I think

19   that goes to the heart of one of the critical elements of the

20   honest services fraud charge, which is whether someone has

21   actually been bribed in exchange for breaching his or her

22   fiduciary duty.

23              We have seen already some e-mails from Rick Singer

24   that did make such representations to certain parents who have

25   not been charged in this case, but we think that there's going
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 1   to be more of that in 302s.        And the new policy at the office

 2   apparently is that we are not going to get 302s unless the

 3   Government determines if there is Brady in them.             Again, I

 4   don't question that the prosecutors understand their Brady

 5   obligations.     If there's something that's exculpatory, they

 6   have to produce it.      Mr. Rosen represented that they are not

 7   going to be sitting on Brady until we get 30 days out from

 8   trial; they are going to produce it on a rolling basis.                And we

 9   appreciate that very much.        But I do think that there is going

10   to be a difference of opinion, a significant one, about what is

11   Brady and what is not.       And a good faith disagreement but one

12   that's critically important.

13              THE COURT:    I'm still not sure -- I guess this is the

14   reference including the Government's policy regarding FBI

15   reports on the first page?

16              MR. KATZ:    Correct.

17              THE COURT:    Okay.    I'm still not sure why, if the

18   Government doesn't think certain materials are Brady, why

19   having them certify that they have given you all the Brady

20   would really cured that.       I mean, I think I'll address your

21   point, but I still don't know that the certification is

22   necessary, but --

23              MR. KATZ:    You know, it may not be.        It certainly

24   won't be sufficient to resolve this disagreement.             I mean, this

25   may be something where the future discovery requests that go to
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 1   Your Honor are going to actually tease out what's Brady.               What

 2   also makes this case a little bit unique, as I read the

 3   indictment, it's a three or a four object conspiracy count, and

 4   so I think the prosecutors may feel like, well, we have got

 5   powerful evidence on one of the objects, and this exculpatory

 6   evidence only goes to another object that doesn't really affect

 7   guilt on the charge.       But it does go to certainly sentencing,

 8   you know, if there were a conviction.          But also there are

 9   certain legal and sort of legal infirmities arguably of certain

10   of the objects, and those are different, right?            And so all of

11   the exculpatory evidence on any of the objects is critically

12   important to have.      But if Your Honor would like to deal with

13   that with the discovery requests after we set deadlines, that

14   may make more sense.       That may be what we have to do.

15              THE COURT:    Okay.    Does anyone else want to be heard

16   on this point that Mr. Katz was just raising?

17              Okay.   Mr. Rosen?

18              MR. ROSEN:    Just briefly, Your Honor.        The Government

19   is aware of its obligations and will continue to review and

20   disclose our discovery as a trigger for a massive amount of

21   discovery, I think approximately 3 million pages of discovery,

22   along with the wiretap calls, consensual calls, you know,

23   millions of e-mails, lots of documents, applications and

24   everything like that.

25              First of all, a certification is completely unworkable
Case 1:19-cr-10080-NMG
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 1   in terms of, you know, the nature of discovery can change as

 2   the case progresses as more is discovered.           We are aware of our

 3   obligations.     We are working through them.        It's good enough in

 4   every other case.      There's no, I don't think, any rule that

 5   requires some type of Government certification.            Even there,

 6   defense counsel, although there's different opinions on what

 7   constitutes a bribe or not, has not identified any exculpatory

 8   evidence.    It doesn't -- it simply doesn't matter whether the

 9   money went to a coach's program or whether it went to a -- the

10   coach's pocket directly.       A bribe is simply a quid pro quo with

11   the intent to defraud, and all the Defendants have been charged

12   with that.

13               I think the best practice is for Defendants first to

14   review the discovery and then we can meet, confer.             We are very

15   good about getting back to Defendants.          And if they have, you

16   know, an issue later on, we can address that, but we're not

17   going to hand over all of our 302s willy-nilly because the

18   Defendants feel like they have some theory about why certain

19   things could be exculpatory to them or not.

20               MR. WEINBERG:    I think Mr. Rosen has just put his

21   finger on one of the chasms between the Government's

22   understanding of Brady and the defense.           If money went to a

23   school, whatever the discussions, it's not a bribe, at least

24   not a bribe within the ambit of the Government's allegations in

25   this case that there were bribes paid to specific people for
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 1   specific performance or a breach of services.            So we would want

 2   to reserve for a time that Your Honor felt it was appropriate

 3   to tee up and crystallize this issue where we claim that is

 4   exculpatory evidence and the Government has just said it's not.

 5              THE COURT:    Okay.    That was Mr. Weinberg speaking.

 6              Since we don't have a stenographer here, we have just

 7   got to identify yourself.

 8              MR. WEINBERG:     Sorry, Judge.

 9              THE COURT:    Okay.    I hear you all, and I think it's a

10   good idea what everyone is saying, that we wait and let this

11   issue kind of develop, and then I'm happy to take it up.               And

12   it may be we want to take it up before the next status hearing,

13   but I think -- you know, I would just urge the Government if

14   the Defendants can show you any arguable reason why they think

15   something is exculpatory, you might as well turn it over if you

16   can bring yourself to do that, but otherwise, I'm happy to hear

17   it.

18              So -- okay.     So let's just get into the discovery and

19   if you want to try to further persuade the Government, if that

20   doesn't work, then come back.         Okay?

21              MR. WEINBERG:     Thank you.

22              THE COURT:    Okay.    I'm not going to require the

23   Government to certify at this time.

24              With regard to the timing issues, I know the rules set

25   pretty firm deadlines on discovery motions, but I'm just not
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 1   going to do that because there's so much discovery, and I know

 2   the Government is producing it on a rolling basis here.                And I

 3   think as issues arise and you want to be heard on them, I'm

 4   happy for you to request it from the Government and then file a

 5   motion as the rules require.        I do really think I'm going to

 6   strictly enforce the rule that says you have to confer before

 7   filing motions, so please do that.

 8              And I agree with the proposal at the bottom of Page 2

 9   that Defendants can confer and exchange letter requests, and

10   there are no deadlines on that at this time.            I think at the

11   next status hearing, if discovery is substantially complete, I

12   will set some deadlines for making additional discovery

13   requests, but I'm not going to do that now.            So I will not set

14   a pretrial motion schedule at this time and perhaps, depending

15   on people's progress in making their way through the discovery

16   and the Government's giving over all the discovery, perhaps it

17   will be appropriate for everyone to provide a proposed briefing

18   schedule when you file your next status conference report prior

19   to the interim status conference.

20              With Mr. Schumacher's agreement, I will request the

21   resolution of the motion to dismiss be stayed as requested, and

22   I'm going to suspend the Government's deadline for responding.

23              MR. SCHUMACHER:     Thank you, Your Honor.

24              THE COURT:    Okay.    That was Mr. Schumacher

25   saying -- okay.
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 1                      CERTIFICATE OF OFFICIAL REPORTER

 2

 3                    I, Linda Walsh, Registered Professional Reporter

 4   and Certified Realtime Reporter, in and for the United States

 5   District Court for the District of Massachusetts, do hereby

 6   certify that the foregoing transcript is a true and correct

 7   transcript of the stenographically reported proceedings held in

 8   the above-entitled matter to the best of my skill and ability.

 9                          Dated this 5th day of June, 2019.

10

11

12                          /s/ Linda Walsh_______________

13                          Linda Walsh, RPR, CRR

14                          Official Court Reporter

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 1                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS
 2
                                      )
 3   UNITED STATES OF AMERICA,        )
                                      )
 4            Plaintiff,              )
                                      )
 5   v.                               )
                                      )
 6   DAVID SIDOO, GREGORY COLBURN,    )
     AMY COLBURN, GAMAL ABDELAZIZ,    )
 7   DIANE BLAKE, TODD BLAKE,         ) Criminal Action
     I-HSIN CHEN, MOSSIMO GIANNULLI, ) Nos. 1:19-cr-10080-NMG
 8   ELIZABETH HENRIQUEZ,             )
     MANUEL HENRIQUEZ, DOUGLAS HODGE, )
 9   MICHELLE JANAVS, ELISABETH       )
     KIMMEL, LORI LOUGHLIN, WILLIAM   )
10   MCGLASHAN, JR., MARCI PALATELLA, )
     JOHN WILSON, HOMAYOUN ZADEH,     )
11   ROBERT ZANGRILLO,                )
                                      )
12            Defendants.             )
                                      )
13

14                  BEFORE THE HONORABLE M. PAGE KELLEY
                       UNITED STATES MAGISTRATE JUDGE
15

16                        INTERIM STATUS CONFERENCE

17
                                 October 2, 2019
18

19                John J. Moakley United States Courthouse
                              Courtroom No. 24
20                           One Courthouse Way
                         Boston, Massachusetts 02210
21

22
                            Linda Walsh, RPR, CRR
23                         Official Court Reporter
                  John J. Moakley United States Courthouse
24                      One Courthouse Way, Room 5205
                         Boston, Massachusetts 02210
25                          lwalshsteno@gmail.com
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 1   APPEARANCES:

 2   On Behalf of the Government:

 3        UNITED STATES ATTORNEY'S OFFICE
          By: AUSA Eric S. Rosen
 4            AUSA Justin D. O'Connell
          One Courthouse Way
 5        Boston, Massachusetts 02210
          617-748-3412
 6        eric.rosen@usdoj.gov

 7   On Behalf of the Defendant David Sidoo:

 8        MARTIN G. WEINBERG, PC
          By: Martin G. Weinberg, Esq.
 9        20 Park Plaza, Suite 1000
          Boston, Massachusetts 02116
10        617-227-3700
          owlmcb@att.net
11
     On Behalf of the Defendants Gregory Colburn and Amy Colburn:
12
          HOOPER, LUNDY & BOOKMAN, P.C.
13        By: David S. Schumacher, Esq.
          470 Atlantic Avenue, Suite 1201
14        Boston, Massachusetts 02210
          617-532-2704
15        dschumacher@health-law.com

16   On Behalf of the Defendant Gamal Abdelaziz:

17        NIXON PEABODY LLP
          By: Brian T. Kelly, Esq.
18            Joshua C.H. Sharp, Esq.
          100 Summer Street
19        Boston, Massachusetts 02110
          617-345-1000
20        bkelly@nixonpeabody.com
          617-345-1135
21        jsharp@nixonpeabody.com

22

23
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 1   APPEARANCES (Continued):

 2   On Behalf of the Defendants Diane Blake and Todd Blake:

 3        TODD & WELD
          By: David E. Meier, Esq.
 4        One Federal Street, 27th Floor
          Boston, Massachusetts 02110
 5        617-720-2626
          dmeier@toddweld.com
 6
     On Behalf of the Defendant I-Hsin Chen:
 7
          KELLER/ANDERLE LLP
 8        By: Reuben Camper Cahn, Esq.
          18300 Von Karman Avenue, Suite 930
 9        Irvine, California 92612
          949-476-8700
10        rcahn@kelleranderle.com

11   On Behalf of the Defendant Mossimo Giannulli:

12        DONNELLY, CONROY & GELHAAR, LLP
          By: George W. Vien, Esq.
13        260 Franklin Street
          Boston, Massachusetts 02110
14        617-720-2880
          gwv@dcglaw.com
15
          LATHAM & WATKINS LLP
16        By: William J. Trach, Esq.
          John Hancock Tower, 27th Floor
17        200 Clarendon Street
          Boston, Massachusetts 02116
18        617-880-4514
          William.trach@lw.com
19
     On Behalf of the Defendant Elizabeth Henriquez:
20
          ROPES & GRAY LLP
21        By: Aaron M. Katz, Esq.
          Prudential Tower
22        800 Boylston Street
          Boston, Massachusetts 02199-3600
23        617-951-7117
          aaron.katz@ropesgray.com
24
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 1   APPEARANCES (Continued):

 2   On Behalf of the Defendant Douglas Hodge:

 3        ROPES & GRAY
          By: Brien T. O'Connor, Esq.
 4            Joan McPhee, Esq.
          Prudential Tower
 5        800 Boylston Street
          Boston, Massachusetts 02199-3600
 6        617-951-7385
          boconnor@ropesgray.com
 7        617-951-7535
          jmcphee@ropesgray.com
 8
     On Behalf of the Defendant Michelle Janavs:
 9
          BIENERT KATZMAN PLC
10        By: John L. Littrell, Esq.
          903 Calle Amanecer, Suite 350
11        San Clemente, California 92673
          949-369-3700
12        jlittrell@bienertkatzman.com

13        NUTTER, MCCLENNEN & FISH, LLP
          By: Jonathan L. Kotlier, Esq.
14        Seaport West
          155 Seaport Boulevard
15        Boston, Massachusetts 02210-2604
          617-439-2000
16        jkotlier@nutter.com

17   On Behalf of the Defendant Elisabeth Kimmel:

18        MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO, PC
          By: Eoin P. Beirne, Esq.
19            Cory S. Flashner, Esq.
          One Financial Center, 42nd Floor
20        Boston, Massachusetts 02111
          617-348-1707
21        ebeirne@mintz.com
          csflashner@mintz.com
22

23
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 1   APPEARANCES (Continued):

 2   On Behalf of the Defendant William McGlashan, Jr.:
          HUESTON HENNIGAN
 3        By: John C. Hueston, Esq.
          620 Newport Center Drive, Suite 1300
 4        Newport Beach, California 90014
          949-226-6740
 5        jhueston@hueston.com

 6        SIDLEY AUSTIN LLP
          By: Jack W. Pirozzolo, Esq.
 7        60 State Street, 34th Floor
          Boston, Massachusetts 02109
 8        617-223-0304
          jpirozzolo@sidley.com
 9
     On Behalf of the Defendant Marci Palatella:
10        SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
          By: Michael K. Loucks, Esq.
11        500 Boylston Street
          Boston, Massachusetts 02116
12        617-573-4840
          michael.loucks@skadden.com
13
     On Behalf of the Defendant John Wilson:
14        WHITE & CASE, LLP
          By: Michael Kendall, Esq.
15            Yakov Malkiel, Esq.
          75 State Street
16        Boston, Massachusetts 02109
          617-939-9310
17        michael.kendall@whitecase.com
          617-407-0117
18        yakov.malkiel@whitecase.com

19   On Behalf of the Defendant Homayoun Zadeh:
          MINER ORKAND SIDDALL LLP
20        By: Tracy A. Miner, Esq.
          470 Atlantic Avenue, 4th Floor
21        Boston, Massachusetts 02210
          617-273-8421
22        tminer@mosllp.com

23

24              Proceedings recorded by sound recording and
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 1   speaking with Judge Gorton, two things:        Judge Gorton has a

 2   strong preference that the case be tried in 2020.          So just to

 3   give you some idea of the schedule that he has in mind, he

 4   would like the trial or trials to be in the coming year.

 5             And, secondly, like Judge Talwani, he is amenable to

 6   the defendants filing a dispositive motion on the scope of the

 7   conspiracy prior to the filing of other dispositive motions,

 8   and what I think we'll do is give defendants time to digest the

 9   discovery sufficiently so that you feel that you can file such

10   a motion, but then we'll go ahead and file the motions, get

11   them up to him, and he will rule on those before the case goes

12   up for trial.

13             So -- and another thing you should just be thinking

14   about, which this may be somewhat premature, is for those who

15   are going to trial, whether such a motion is allowed or not,

16   there will probably not be only one trial.         So you might just

17   want to be thinking in your planning for the case about the

18   grouping of the defendants for trial.

19             Okay.   So with that having been said, I think I'll

20   hear from the Government concerning the status of the

21   production of discovery.

22             MR. ROSEN:    Judge, I think we've made a lot of

23   progress in terms of producing discovery.         The last production

24   was at the end of August.      We're continuing to make

25   productions.    We're at a very sort of limited -- the amounts
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 1   have been getting, you know, much smaller since the initial

 2   tranche.   You know, we do anticipate producing limited amounts

 3   more.   We did a series of search warrants back in July.            We're

 4   currently processing this evidence and working with the

 5   defendants on privilege and things like that, and we anticipate

 6   having it done in the next two months.        I do note that, though,

 7   you know, given that it was defendants' own e-mail accounts for

 8   the parents, that they do have access to what we have seized.

 9   So there shouldn't be any surprises for them, at least within

10   that discovery.

11              We've produced about two million documents, I think

12   just under two million documents thus far, and we've had

13   continued discussions with multiple defense counsel.           I know I

14   received a general discovery letter from the defendants

15   next -- last -- earlier this week, or I think at the end of

16   last week.   And, you know, we'll respond sort of in due course.

17              I did meet with counsel for Mr. McGlashan just before

18   this meeting.    We did have, I think, a very productive meeting,

19   and I do think it's helpful when, you know, going through these

20   discovery exercises that counsel at least set up a time so we

21   can meet together and discuss, meet and confer in person, as

22   it, I think, can alleviate a lot of issues in the sort of

23   back-and-forth communication amongst the parties.

24              Pursuant to our meeting, I said we would respond to

25   the various things we agreed upon, and we will do that in due
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 1   course, hopefully fairly soon.

 2             So that's about it from my perspective.         I don't know

 3   if the Court has any additional questions on that?

 4             THE COURT:    So with regard to the e-mail accounts that

 5   were seized, do the defendants -- the affected defendants know

 6   precisely what was seized?

 7             MR. ROSEN:    Well, they should know that their e-mail

 8   address -- that their e-mail address was seized by the

 9   Government because we've produced the affidavit and everything

10   in discovery.

11             THE COURT:    Okay.

12             MR. ROSEN:    They actually get notice from the service

13   provider where there's no nondisclosure order, and we have

14   since been reached out to every defendant who this has

15   affected, and we have gotten from them a list of potential

16   privileged e-mail addresses, and we sort of wiped all those

17   away from any type of review or anything like that to avoid any

18   type of privileged review, and then we're -- we have

19   contractors that are beginning to sort through the

20   nonprivileged e-mails to comply with Attachment B, which is

21   what we're trying to do now, just to make sure we only turn

22   over and retain stuff related to the criminal activity.

23             THE COURT:    Okay.   So thank you.     And anything from

24   defense counsel concerning the issue of discovery?          Yes?

25             MR. WEINBERG:     No criticisms of discovery, but just an
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 1   alert, if I can, you know, that we would request that all of

 2   the deadlines that the Government has proposed be deferred for

 3   discussion on January 17.        I think I speak for defense counsel

 4   to say that although we appreciate Judge Gorton's, you know,

 5   receiving, you know, some takeout motions or motions that

 6   comprehensively challenge the cornerstones of the Government's

 7   theory of prosecution and whether or not facially they charge

 8   properly the different criminal statutes that they've alleged,

 9   we'd like Your Honor to set a date on January 17 for the filing

10   of that motion as well as the filing of discovery motions.

11              I have told Mr. Rosen we'll try to get letters to the

12   Government about open discovery issues before the January 17

13   status conference so that we can at least identify for the

14   court on that date, you know, what issues remain between the

15   defense, you know, counsel and the Government.

16              But the search warrants are quite important because

17   they were our clients' own statements by e-mail, and I'd like

18   to, you know, work with the Government.           Perhaps if they would

19   give us their search terms, then we can do the same search

20   terms on our clients' e-mails because otherwise we're dealing

21   with just dozens of thousands of e-mails, and to review our

22   clients' e-mails if the Government is only going to search and

23   download a subset, along with all of the other

24   responsibilities, with over 2,000 audios and that three million

25   pages of discovery, make it hard even by January 17th for us to
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 1   finish the first-level job of reviewing the whole universe of

 2   materials that the Government has provided us in their rolling

 3   discovery.

 4              THE COURT:    Okay.    So stop right there.       You can still

 5   talk but -- so does anyone have a problem, any of the

 6   defendants, with filing the motion concerning the conspiracy by

 7   January 17th or does anyone feel that that's too far in the

 8   future?

 9              DEFENSE COUNSEL:      Your Honor, I think I may be wrong,

10   but I thought he suggested not setting a date for the motion to

11   be filed January 17th.

12              MR. WEINBERG:     That's right.     What I would ask Your

13   Honor --

14              THE COURT:    Oh, until the 17th.       I see.

15              MR. WEINBERG:     Give us to the 17th to continue --

16   we've only had literally four and a half months to go through

17   three million pages of materials and thousands of audios.              Give

18   us to January 17th so that when we make our challenges that

19   Judge Gorton is inviting, you know, we'll make them shortly

20   after the 17th.     Your Honor will set a date for the pleadings

21   that will not jeopardize the desire to have the trials, in the

22   plural, occur in the last part of 2020.

23              THE COURT:    So I'm kind of fascinated that, you know,

24   we had another group in yesterday who want to file that motion

25   this month because they're -- I think what counsel stated, it's
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 1   not dependent on discovery.        So -- which seemed like a curious

 2   thing to me, but okay.       But you say it is dependent on the

 3   discovery, so you would like to review the millions of pages of

 4   discovery in the next three months and then set a date for

 5   filing the motion concerning the conspiracy?

 6              MR. WEINBERG:     And here's why, Judge.       You know,

 7   there's two levels of challenge to the Government's theory of

 8   prosecution.     You know, one is strictly facial, and we all know

 9   that with the Government not stipulating to facts, the courts

10   are disinclined to dismiss indictments if there's any

11   hypothetical factual scenario that would legitimize the

12   Government's pleading.       They take the pleading at face value,

13   and if the Government says fraud or bribery or property crime

14   or obtaining money, it ordinarily survives the facial

15   challenge, and they've charged a single conspiracy, or at least

16   they've attempted to.

17              What we're trying to do, or at least I'm trying to do,

18   is represent in a pleading that goes one level below the facial

19   allegations that there's simply no evidence that, for instance,

20   my client knows this gentlemen's client or any of our clients

21   know each other.      It is the absolute classic, going back to the

22   old drug cases, you know, I started with in the 1970s, you have

23   a hub, Mr. Singer; you have spokes, the parents; and you have

24   an absolute absence of evidence of a rim, a rim being defined

25   as interdependence.      But I can't -- I can make that argument
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 1   better if I could represent that I have examined the evidence

 2   and the interdependence of Mr. Zangrillo and any of the other

 3   co-counsel's clients doesn't exist, and if they can do the same

 4   with me, hopefully the Government will at least agree to that

 5   level of fact.     And they will argue, well, we have Singer and

 6   Singer's team, and that's enough to make everybody a single

 7   conspiracy, and then we can present to Judge Gorton a motion

 8   that can't be simply adjudged on the face of it, which has

 9   problems, but we can really address to Judge Gorton in this

10   first pleading a pleading that will raise the issues that are

11   of pivotal significance to all of us as we go forward.

12              THE COURT:    Okay.    So I don't know what your view is,

13   Mr. Rosen?

14              MR. ROSEN:    My view is that there's, you know, there's

15   no summary judgment motions in criminal practice.             It would

16   just simply be a jury issue.        So I don't think it's relevant

17   to -- I don't think it's relevant to look beneath the facts,

18   especially when they're skewed in a particular direction.              I'm

19   not going to address that now, Judge, but I'm happy with the

20   January date or whatever.        We don't need that, that's fine.

21   Whether the motion improperly incorporates facts that

22   cherry-pick from discovery, that's another issue that Judge

23   Gorton will deal with.

24              THE COURT:    Okay.    So I will not set a date for the

25   filing of that particular motion until January 17th.              But it
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 1   would be very helpful if on the 17th counsel have some idea of

 2   by what date they want to file the motion, and if you could

 3   work on a date together.       And if you have an outlier, you

 4   could -- and you're filing a separate motion, you could just

 5   propose your separate dates.

 6               I do think it's in your interest to consolidate as

 7   much as possible, although I know it may not be possible for

 8   everyone.    And also on the 17th, absent some really good

 9   reasons, I think those dates will be set in fairly short order.

10   I wouldn't expect more than 45 to 60 days to file those motions

11   by then, although I'll hear you on that.

12               So, okay, so what about -- I guess the Government was

13   asking for a briefing schedule for discovery motions, and I

14   think I won't do that at this time, but I would really urge

15   counsel, as you are going through the discovery, to send

16   letters to the Government periodically and not hold off until

17   you have all your discovery requests at once, because I do

18   think on the 17th we will also shorten up those dates, and

19   you'll need to have reviewed the discovery.            I know it's very

20   voluminous, but if you're going to go to trial soon after that,

21   you're going to need to have reviewed it.           So you need to have

22   reviewed the discovery and know what it is that you want from

23   the Government, and we'll set dates at that time, too, to try

24   to get you to a motions date, if you need one.

25               So I'm not going -- I'm not going to enforce a strict
Case 1:19-cr-10080-NMG
  Case  1:19-cr-10080-NMGDocument 1066-1
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 1   deadline for the letters, but let's get them rolling so the

 2   Government isn't deluged with them at the end.            And I don't

 3   want to see that as a tactic either.          So when things occur to

 4   you, send them a letter.

 5              Yes, sir?

 6              MR. HUESTON:     John Hueston on behalf of William

 7   McGlashan.    So the letters have been coming.          There's been one

 8   that's been sent collectively and then there has been some

 9   individual letters and there has been some meet and conferring

10   happening along those lines.

11              I guess what I want to prepare Your Honor for is I

12   think the Government has been working, from my perspective, in

13   good faith to try to resolve issues, but as of today, a Brady

14   review is not complete, they've acknowledged.            It's not just a

15   matter of getting out a couple of final productions, and

16   there's going to be additional meet and confers necessary.              And

17   then we're going to be relying on them producing the remainder

18   of discovery far enough in advance of that January 17th hearing

19   so that everything is teed up and we can then have a better

20   sense of how we can actually schedule any necessary discovery

21   motions.

22              So my point being, maybe an urging of the Government

23   to complete its process both in meeting with us, and we have

24   not let grass grow under our feet.          There's no tactic here.

25   There are millions of pages of documents.           People are working
Case 1:19-cr-10080-NMG
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 1                      CERTIFICATE OF OFFICIAL REPORTER

 2

 3                    I, Linda Walsh, Registered Professional Reporter

 4   and Certified Realtime Reporter, in and for the United States

 5   District Court for the District of Massachusetts, do hereby

 6   certify that the foregoing transcript is a true and correct

 7   transcript of the stenographically reported proceedings held in

 8   the above-entitled matter to the best of my skill and ability.

 9                          Dated this 6th day of October, 2019.

10

11

12                          /s/ Linda Walsh_______________

13                          Linda Walsh, RPR, CRR

14                          Official Court Reporter

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Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 369 of 387




Exhibit MMM
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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS

    ***************************

    UNITED STATES OF AMERICA,
             Plaintiff

    vs.                                    Case No. 1:19-cr-10080-NMG

    DAVID SIDOO ET AL,
             Defendants

    ***************************



                   TRANSCRIPT OF INTERIM STATUS CONFERENCE
                     BEFORE THE HONORABLE M. PAGE KELLEY
                          AT BOSTON, MASSACHUSETTS
                            ON JANUARY 17, 2020



    APPEARANCES:

    For the Government:
    Eric S. Rosen, Assistant United States Attorney
    Justin D. O'Connell, Assistant United States Attorney
    Kristen A. Kearney, Assistant United States Attorney
    Leslie Wright, Assistant United States Attorney
    United States Attorney's Office
    1 Courthouse Way, Suite 9200
    Boston, Massachusetts 02210
    617-748-3412




    Prepared by:     Karen M. Aveyard,
                     Approved Federal Court Transcriber

          -----------------------------------------------------

                              TRANSCRIPTION PLUS
                                1334 ELM STREET
                       LEOMINSTER, MASSACHUSETTS 01453
                                (978) 466-9383
                            k.aveyard@comcast.net
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 371 of 387
                                                                        2




    APPEARANCES (continued):

    For Defendant David Sidoo:
    Martin G. Weinberg, Esquire
    20 Park Plaza, Suite 1000
    Boston, Massachusetts 02116
    617-227-3700

    For Defendant Amy and Gregory Colburn:
    David S. Schumacher, Esquire
    Hooper Lundy & Bookman, PC
    470 Atlantic Avenue, Suite 1201
    Boston, Massachusetts 02210
    617-532-2704

    For Defendant Gamal Abdelaziz:
    Brian T. Kelly, Esquire
    Nixon Peabody, LLP
    100 Summer Street
    Boston, Massachusetts 02110
    617-345-1000

    Joshua C.H. Sharp, Esquire
    Nixon Peabody, LLP
    53 State Street,
    Boston, Massachusetts 02109
    617-345-1135

    For Defendant Diane Blake:
    David E. Meier, Esquire
    Todd & Weld
    1 Federal Street, 27th Floor
    Boston, Massachusetts 02110
    617-720-2626

    Stephen H. Sutro, Esquire
    Duane Morris, LLP
    1 Market Plaza, Suite 2200
    San Francisco, California 94105
    415-957-3000

    For Defendant I-Hsin Chen:
    Janice Bassil, Esquire
    Bassil & Budreau
    20 Park Plaza, Suite 1005
    Boston, Massachusetts 02116
    617-366-2200
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 372 of 387
                                                                        3




    APPEARANCES (continued):

    For Defendants Lori Loughlin and Mossimo Giannulli:
    George W. Vien, Esquire
    Donnelly Conroy & Gelhaar, LLP
    260 Franklin Street
    Boston, Massachusetts 02110
    617-720-2880

    Sean M. Berkowitz, Esquire
    Latham & Watkins, LLP
    330 North Wabash Avenue, Suite 2800
    Chicago, Illinois 60611
    312-777-7016

    For Defendant Elisabeth Kimmel:
    Cory S. Flashner, Esquire
    R. Robert Popeo, Esquire
    Eoin P. Beirne, Esquire
    Mark E. Robinson, Esquire
    Mintz Levin Cohn Ferris Glovsky & Popeo, PC
    1 Financial Center, 42nd Floor
    Boston, Massachusetts 02111
    617-542-6000

    For Defendant William McGlashan, Jr.:
    John C. Hueston, Esquire
    Hueston Hennigan
    620 Newport Center Drive, Suite 1300
    Newport Beach, California 90014
    949-226-6740

    Jack W. Pirozzolo, Esquire
    Sidley Austin, LLP
    60 State Street, 34th Floor
    Boston, Massachusetts 02109
    617-223-0304

    For Defendant Marci Palatella:
    Michael K. Loucks, Esquire
    Skadden Arps Slate Meagher & Flom, LLP
    500 Boylston Street
    Boston, Massachusetts 02116
    617-573-4840
Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 373 of 387
                                                                        4




    APPEARANCES (continued):

    For Defendant John Wilson:
    Michael Kendall, Esquire
    Yakov Malkiel, Esquire
    White & Case, LLP
    75 State Street
    Boston, Massachusetts 02109
    617-939-9310

    For Defendant Homayoun Zadeh:
    Tracy A. Miner, Esquire
    Miner Orkand Siddall, LLP
    470 Atlantic Avenue, 4th Floor
    Boston, Massachusetts 02210
    617-273-8421
 Case 1:19-cr-10080-NMG Document 1066-1 Filed 04/08/20 Page 374 of 387
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 1                             P R O C E E D I N G S

 2

 3              THE CLERK:    Today is Friday, January 17, 2020, and we

 4   are on the record in Criminal Case No. 19-10080, the United

 5   States versus David Sidoo et al, the Honorable M. Page Kelley

 6   presiding.

 7              Would counsel please identify themselves for the

 8   record.

 9              MR. ROSEN:    Good morning, your Honor.      Eric Rosen,

10   Kristen Kearney, Leslie Wright and Justin O'Connell for the

11   Government.

12              THE COURT:    Good morning.

13              MR. WEINBERG:    Good morning, your Honor.      Martin

14   Weinberg on behalf of both David Sidoo and Robert Zangrillo.

15              THE COURT:    Good morning.

16              MR. HUESTON:    Good morning, your Honor.      John Hueston

17   on behalf of William McGlashan.

18              MR. POPEO:    Good morning, your Honor.      Robert Popeo on

19   behalf of Elisabeth Kimmel, and I'm here with Corey Flashner

20   and Eoin Beirne.

21              THE COURT:    Okay.   Good morning to everyone.

22              MS. MINER:    Good morning, your Honor.      Tracy Miner for

23   Homayoun Zadeh.

24              MR. KELLY:    Good morning, your Honor.      Brian Kelly and

25   Josh Sharp on behalf of Mr. Gamal Abdelaziz.
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                                                                              6




 1              THE COURT:    Good morning.

 2              MR. BERKOWITZ:    Good morning, your Honor.      Sean

 3   Berkowitz on behalf of Lori Loughlin and Mossimo Giannulli.

 4              THE COURT:    Good morning.

 5              MR. PIROZZOLO:    Good morning, your Honor.      Jack

 6   Pirozzolo on behalf of Bill McGlashan.

 7              MR. VIEN:    Good afternoon, your Honor.      George Vien on

 8   behalf of Mossimo Giannulli.

 9              MS. BASSIL:    Good morning, your Honor.      Janice Bassil

10   standing in for Ruben Cahn for I-Hsin Chen.

11              THE COURT:    Okay.

12              MR. ROBINSON:    Mark Robinson, Mintz Levin, for

13   Elisabeth Kimmel.

14              THE COURT:    Good morning.

15              MR. KENDALL:    Good morning, your Honor.      Mike Kendall

16   and Yakov Malkiel for John Wilson.

17              MR. SCHUMACHER:    Good morning, your Honor.       David

18   Schumacher on behalf of Amy and Gregory Colburn.

19              THE COURT:    Good morning.

20              MR. LOUCKS:    Good morning.    Mike Loucks for Marci

21   Palatella.

22              THE COURT:    Good morning.

23              Okay, that's everyone.      That's enough.

24              So I have a few housekeeping matters and then I'm

25   going to go over the Joint Status Report that the parties
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                                                                              16




 1   confer on a date.     I'm going to exclude the time between now

 2   and the next date under the Speedy Trial Act.

 3              So what else can I do for you?

 4              Wow, no one has any complaint?

 5              MR. WEINBERG:    I guess I would say one thing.          I think

 6   it's probably more a subject for a later status conference or

 7   even more a status conference with Judge Gorton, but we have

 8   received an enormous amount of discovery.         It's almost

 9   unquantifiable between the audio tapes, the document discovery,

10   the e-mail discovery, the discovery that comes in from third

11   parties.    We received on January 9 another rather significant

12   production of both new and old discovery, and we will be asking

13   the Court to consider requiring the Government to file a real

14   exhibit list well before any trial is scheduled by Judge

15   Gorton.    It's simply impossible for us to put our hands around,

16   you know, literally millions of e-mails, millions of documents,

17   thousands of audios, and prepare a meaningful targeted defense

18   without the Government being required at a time that's more in

19   advance than usual in a narrower case with less discovery.             We

20   simply need to know what the Government is choosing from this,

21   you know, I hate to say millions of pages of discovery, so that

22   we can respond and target our defenses, and have a manageable

23   trial and a manageable multi-defendant trial.

24              So we will be asking the Court at the May conference

25   to consider asking the Government, whether it's 90 days or 120
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                                                                            17




 1   days before trial, to be required to give us their exhibit

 2   list.   Obviously, it's not fixed in stone if they change

 3   strategies.    They could supplement the list.       But at least we

 4   can begin to zero in on the documents, e-mails and audios that

 5   we need to master to be able to crystalize a defense to give

 6   them responsive discovery that is not their discovery, but our

 7   discovery, and will they prepare for a streamline trial that's

 8   not, you know, completely chaotic.

 9              THE COURT:    Okay.   Mr. Rosen, do you want to respond

10   to that?

11              MR. ROSEN:    I mean, Judge, we will of course provide

12   an exhibit list, you know, prior to trial.         We obviously change

13   the exhibits significantly as you approach trial, figure out

14   who is pleading guilty, who is not pleading guilty, who is

15   going forward and we streamline our case.         I think 90 or 120

16   days would be impossible to do, but we're open to a resolution,

17   provided that the defendants of course provide reciprocity to

18   that in their own exhibit list and we get some -- we get what

19   we believe is deserved to us as well, including the Rule 16(b)

20   reciprocal discovery.

21              So we're hoping to a resolution.       I think we can work

22   together with the parties to come up with a date for an exhibit

23   list, but I do want it to be reciprocal.

24              THE COURT:    Okay.   So I'll just table that for now and

25   it seems like there's some room for the parties to negotiate
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                           C E R T I F I C A T I O N



               I, Karen M. Aveyard, Approved Federal Court

    Transcriber, do hereby certify that the foregoing transcript,

    consisting of 20 pages, is a correct transcript prepared to the

    best of my skill, knowledge and ability from the official

    digital sound recording of the proceedings in the

    above-entitled matter.




    /s/ Karen M. Aveyard

    Karen M. Aveyard



    February 9, 2020

    Date
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  Exhibit NNN
     Case 1:19-cr-10080-NMG
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 1                   IN THE UNITED STATES DISTRICT COURT

 2                     FOR THE DISTRICT OF MASSACHUSETTS

 3

 4
        * * * * * * * * * * * * *            19CR10080-NMG
 5      UNITED STATES OF AMERICA *
                                 *
 6      VS.                      *           SEPTEMBER 18, 2019
                                 *           2:23 P.M.
 7      ROBERT ZANGRILLO         *
                                 *
 8      * * * * * * * * * * * * *            BOSTON, MA

 9

10                   BEFORE THE HONORABLE M. PAGE KELLEY

11                                MAGISTRATE JUDGE

12                                (Motion Hearing)

13

14      APPEARANCES:

15
        FOR THE GOVERNMENT:           ERIC S. ROSEN, AUSA;
16                                    KRISTEN A. KEARNEY, AUSA
                                      JUSTIN D. O'CONNELL, AUSA
17                                    United States Attorney's Office
                                      1 Courthouse Way
18                                    Suite 9200
                                      Boston, MA 02210
19
        FOR THE DEFENDANT:            MARTIN G. WEINBERG, ESQ.
20                                    Martin G. Weinberg, PC
                                      20 Park Plaza
21                                    Suite 1000
                                      Boston, MA 02116
22
                                      MICHAEL PABIAN, ESQ.
23                                    Michael Pabian Law Office, LLC
                                      20 Park Plaza
24                                    Suite 1000
                                      Boston, MA 02116
25
     Case 1:19-cr-10080-NMG
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                                                                              2



 1      APPEARANCES (Cont'd):

 2      FOR THE MOVANT:               DOUGLAS FUCHS, ESQ.
                                      Gibson, Dunn & Crutcher LLP
 3                                    333 South Grand Avenue
                                      Los Angeles, CA 90071
 4
                                      ANTHONY E. FULLER, ESQ.
 5                                    Hogan Lovells US LLP
                                      125 High Street
 6                                    Suite 2010
                                      Boston, MA 02110
 7

 8      Court Reporter:               Debra D. Lajoie, RPR-FCRR-CRI-RMR
                                      One Courthouse Way
 9                                    Boston, MA 02210

10
                    Proceeding reported and produced
11                    by computer-aided stenography

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 1      18 SEPTEMBER 2019 -- 2:23 P.M.

 2                THE CLERK:     Today is Wednesday, September 18th,

 3      2019, and we are on the record in Criminal Case

 4      No. 19-10080, the United States v. Robert Zangrillo,

 5      the Honorable M. Page Kelley presiding.

 6                Will counsel please identify themselves for

 7      record.

 8                MR. FUCHS:     Yes.    Good afternoon, Your Honor.

 9                Doug Fuchs from Gibson, Dunn & Crutcher on

10      behalf of third party University of Southern

11      California.      And with me at counsel table is

12      Anthony Fuller who I'm sure you know well.

13                THE COURT:     Yes.    Good afternoon.

14                MR. WEINBERG:      Good afternoon, Your Honor.

15      Martin Weinberg with Michael Pabian who filed a notice

16      of appearance today as my co-counsel on behalf of

17      Defendant, Robert Zangrillo.

18                THE COURT:     Okay.     And good afternoon to you.

19                We're starting a few minutes early, but I was

20      just standing out there and you're just sitting in

21      here, so I thought we might as well get going.

22                So I did ask the Government to join us because I

23      noticed in the pleadings there are some representations

24      about the Government's position on certain matters, and

25      I didn't know if we might want them to chime in or not.
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        Case                 Document
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 1      So that's why they're sitting there.

 2                So we're here for oral argument on No. 532 on

 3      the docket, which is USC's motion to quash Defendant

 4      Zangrillo's subpoena.         And this matter has its origins

 5      in No. 432, which was Defendant Zangrillo's motion for

 6      a Rule 17(c) subpoena.          That was filed under seal, but

 7      I think it was subsequently unsealed, at least some --

 8      I think it's still redacted, parts of it, on the

 9      docket in which Defendant set out parts of his defense,

10      but that should be on the docket now.              So I allowed

11      that motion, and USC moved to quash, and then the

12      parties have filed several responsive and opposing

13      pleadings since that time.

14                And one thing I want to make clear before I hear

15      argument is that I allowed the Defendant's motion for a

16      subpoena, but I did so with the understanding that USC

17      would have the opportunity to confer with Mr. Weinberg

18      and to file a motion to quash if they were not able to

19      reach an agreement, and both of those things were

20      obviously done.        So that's why we're here.          But I don't

21      think there is a presumption that, because I originally

22      allowed the subpoena, that I'm not open to USC's

23      arguments.      There was some suggestion of that I think

24      in the pleadings.

25                So okay.     I think I would first really like to
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 1      nothing to do with their case, as charged.

 2                MR. ROSEN:       I'll be brief.        I know we want to

 3      get out of here.

 4                Judge, Mr. Fuchs is exactly right.               The VIP

 5      process has absolutely nothing to do with this case

 6      because he's been charged with conspiracy to commit

 7      wire fraud and mail fraud, and that relies solely on

 8      his intent and his good faith.              He had no --

 9      Mr. Zangrillo had no idea at all his daughter,

10      Amber Zangrillo, was getting tagged as a VIP applicant.

11                The only thing that he believed was that there

12      was phony crew credentials being made up and put on the

13      application, and by the way, that's on the application.

14      The very first activity is that                    Amber Zangrillo

15      spent 44 hours a week doing crew at                the LA Rowing

16      Club, which is patently false.              And then he was never

17      told at all during the case that Amber Zangrillo was

18      admitted as a VIP or anything like that or a special

19      interest.

20                I think -- and we haven't heard any evidence to

21      the contrary -- that the only time Mr. Zangrillo

22      actually learned about that was after his arrest when

23      he figured it out, and now he's trying to back-door and

24      cobble together a defense of good faith based on

25      information and emails he was not on, he had no
     Case 1:19-cr-10080-NMG
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 1      knowledge of, and there's nothing showing any

 2      communications between himself, Rick Singer,

 3      Donna Heinel or anyone else showing that this is how he

 4      thought she was going to get in.

 5                There's been a lot of time spent on the USC

 6      admissions process and everything like that.                   There's

 7      been no time spent on his state of mind.                  All we've

 8      seen is one email or one document that's been provided

 9      solely to the Court, not to the Government, despite our

10      request for Rule 16(b) discovery, that they claim he

11      was aware, aware generally of the VIP process,

12      nothing to say he was aware of it in the context of

13      Amber Zangrillo's admission.

14                The entirety of Amber Zangrillo's admission was

15      a complete fraud.         There were classes that

16      Mr. Zangrillo was paying Michaela Sanford from The Key

17      Worldwide to take and then put and submit it to USC so

18      that she could go to Europe.             He wanted Rick Singer to

19      fix an F.

20                Mr. Weinberg brought up about how some parents

21      were brought in kicking and screaming into this.                     Not

22      Mr. Zangrillo.        Mr. Zangrillo encouraged, aided,

23      abetted and paid for that fraud on multiple, multiple

24      occasions.       Even after he was admitted into -- even

25      after Ms. Amber Zangrillo was admitted into USC,
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 1      Mr. Zangrillo, in an October 25th, 2018, call admitted

 2      he had no idea why the $200,000 payment to KWF, The Key

 3      Worldwide Foundation was made.              He said -- he's asking

 4      Rick to come up with a story for why that payment was

 5      made.     He says, "Rick, what was the Amber payment for,

 6      just so I know we have the story straight?"

 7                This isn't a guy acting in good faith about the

 8      VIP program; he's getting his story straight to lie to

 9      the IRS about the $200,000 funneled through the -- for

10      the charity.        They talked about the $50,000 to USC.

11      What about the $200,000 that he paid out to Rick

12      Singer?      Where was that going?          We'd have to believe

13      that USC, one of the largest research institutions

14      on the planet, set up some secret agreement with

15      Rick Singer and his fake charity to funnel donations

16      through that charity that served underserved kids in

17      order to legitimize anything good faith about

18      Zangrillo's actions.

19                It's ridiculous.         This is a complete side show,

20      completely unrelated to the issues at hand, and we

21      intend fully, if any of the documents are gotten, to

22      file a motion in limine to admit.

23                The sole question is:           Did Mr. Zangrillo know

24      about that?       And there's been -- know about this

25      process of getting in?           And there's been absolutely no
     Case 1:19-cr-10080-NMG
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 1

 2                                 C E R T I F I C A T I O N

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 9                     I, Debra D. Lajoie, RPR-FCRR-CRI-RMR, do

10      hereby certify that the foregoing pages are a true and

11      accurate transcription of my stenographic notes in the

12      above-entitled case.

13

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18                            /s/ Debra D. Lajoie

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23                             9/23/19

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